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  20-4238-cv
      United States Court of Appeals
                                     for the

                       Second Circuit

  MARCIA MELENDEZ, JARICAN REALTY INC., 1025 PACIFIC LLC,
   LING YANG, TOP EAST REALTY LLC, HAIGHT TRADE LLC,
       ELIAS BOCHNER, 287 7TH AVENUE REALTY LLC,

                                                             Plaintiffs-Appellants,

                                     – v. –

 CITY OF NEW YORK, a municipal entity, MAYOR BILL DE BLASIO, as
  Mayor of the City of New York, COMMISSIONER LOUISE CARROLL,
  Commissioner of New York City Department of Housing Preservation &
   Development, COMMISSIONER JONNEL DORIS, Commissioner of
          New York City Department of Small Business Services,

                                                            Defendants-Appellees.
                    ––––––––––––––––––––––––––––––
        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF NEW YORK


                      JOINT APPENDIX
             Volume 8 of 16 (Pages A-1906 to A-2180)


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       Districts Turn Into Ghost Towns, dated
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                                                                Small Business Committee Staff:
                                                                         Stephanie Jones, Counsel
                                                                   Noah Meixler, Policy Analyst
                                                             Aliya Ali, Principal Finance Analyst

                                       Consumer Affairs and Business Licensing Committee Staff:
                                                                 Balqees Mihirig, Senior Counsel
                                                                  Leah Skrzypiec, Policy Analyst
                                                        Sebastian Bacchi, Senior Finance Analyst




                    THE COUNCIL OF THE CITY OF NEW YORK


 BRIEFING PAPER AND COMMITTEE REPORT OF THE GOVERNMENTAL AFFAIRS
                                       DIVISION
                            Jeffrey Baker, Legislative Director
                 Rachel Cordero, Deputy Director for Governmental Affairs


                        COMMITTEE ON SMALL BUSINESS
                                 Hon. Mark Gjonaj, Chair


         COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS LICENSING
                         Hon. Andrew Cohen, Chair



                                     April 29, 2020




     OVERSIGHT: The Impact of COVID-19 on Small Businesses in New York City



INT. NO. 1846:                                   By Council Members Torres and Chin


TITLE:                                           A Local Law to amend the administrative
                                                 code of the city of New York, in relation to
                                                 the disclosure of gratuity policies for delivery
                                                 workers


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INT. NO. 1895:                                 By Council Members Gjonaj,            Kallos,
                                               Constantinides, and Brannan

TITLE:                                         A Local Law to amend the administrative
                                               code of the city of New York, in relation to
                                               food service establishments' packaging of
                                               food for delivery



INT. NO. 1896:                                 By Council Members Gjonaj, Kallos,
                                               Constantinides, Brannan, and Gibson

TITLE:                                         A Local Law to amend the administrative
                                               code of the city of New York, in relation to
                                               the disclosure of commissions charged by
                                               third-party food delivery services



INT. NO. 1897:                                 By Council Members Gjonaj, Constantinides,
                                               Brannan, and Gibson

TITLE:                                         A Local Law to amend the administrative
                                               code of the city of New York, in relation to
                                               the licensing of third-party food delivery
                                               services



INT. NO. 1898:                                 By    Council Members        Gjonaj,  Moya,
                                               Constantinides, Brannan,     Rosenthal and
                                               Gibson

TITLE:                                         A Local Law to amend the administrative
                                               code of the city of New York, in relation to
                                               telephone order charges by third-party food
                                               delivery services



INT. NO. 1907:                                 By   Council Members       Moya,      Gjonaj,
                                               Brannan, Rosenthal and Gibson

TITLE:                                         A Local Law to amend the administrative
                                               code of the city of New York, in relation to
                                               prohibiting third-party food delivery services
                                               from limiting the purchase prices covered

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                                               establishments may    charge   on   food   and
                                               beverage orders



PROPOSED INT. NO. 1908-A:                      By Council Members Moya, Gjonaj, Kallos,
                                               Brannan, Rosenthal, Gibson, Ayala, Van
                                               Bramer, Rivera and Cohen

TITLE:                                         A Local Law to amend the administrative
                                               code of the city of New York, in relation to
                                               fees charged by third-party food delivery
                                               services



INT. NO. 1914:                                 By Council Member Adams and the Speaker
                                               (Council Member Johnson)

TITLE:                                         A Local Law to amend the administrative
                                               code of the city of New York, in relation to
                                               harassment of commercial tenants impacted
                                               by COVID-19



INT. NO. 1916:                                 By Council Member Cohen

TITLE:                                         A Local Law in relation to requiring the
                                               department of consumer affairs to waive and
                                               refund all fees related to sidewalk cafe
                                               licenses that are due on or after January 1,
                                               2020 until December 31, 2020, and providing
                                               for the repeal of such provision upon the
                                               expiration thereof



INT. NO. 1921:                                 By Council Members Gjonaj and Louis

TITLE:                                         A Local Law to amend the administrative
                                               code of the city of New York, in relation to
                                               requiring third-party food delivery services
                                               and food service establishments to display
                                               sanitary inspection letter grades online



INT. NO. 1932:                                 By Council Member Rivera and the Speaker
                                               (Council Member Johnson)

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TITLE:                                             A Local Law to amend the administrative
                                                   code of the city of New York, in relation to
                                                   personal liability provisions of leases for
                                                   commercial tenants impacted by COVID-19

PRECONSIDERED INT. NO.           .                 By Council Member Matteo

TITLE:                                             A Local Law in relation to requiring the
                                                   mayor to issue a guidance on license and
                                                   permit renewal deadline extensions, and
                                                   requiring that no such licenses or permits be
                                                   required to be renewed within 90 days after
                                                   the COVID-19 emergency has ended, and
                                                   providing for the repeal of such provision
                                                   upon the expiration thereof



RES. NO. 1049:                                     By the Public Advocate (Mr. Williams) and
                                                   Council Members Levin and Cabrera

TITLE:                                             A Resolution calling upon the United States
                                                   Congress and the New York State Legislature
                                                   to pass legislation to prohibit the use of a
                                                   confession ofjudgment in business loans




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I.     INTRODUCTION


       On April 29, 2020, the Committee on Small Business, chaired by Council Member Mark

Gjonaj, and the Committee on Consumer Affairs and Business Licensing, chaired by Council

Member Andrew Cohen, will hold aremote oversight hearing on "The Impact of COVID-19 on

Small Businesses in New York City." The Committees will also hear apackage of thirteen pieces

of legislation designed to help small businesses in the City weather the negative impacts of the

COVID-19 outbreak. Those invited to testify include representatives from the New York City

Department of Small Business Services (SBS), representatives from the Department of

Consumer and Worker Protection (DCWP) (formerly the Department of Consumer Affairs),

representatives from the Office of Nightlife at the Mayor's Office of Media and Entertainment,

representatives from third-party delivery platforms, small business advocates, chambers of

commerce, Business Improvement Districts (BIDS), and other community-based non-profit

organizations.


       The package of legislation includes the following bills: (1)    Int. No. 1846 by Council

Member Torres, a local law to amend the administrative code of the city of New York, in

relation to the disclosure of gratuity policies for delivery workers; (2) Int. No. 1895 by Council

Member Gjonaj, a local law to amend the administrative code of the city of New York, in

relation to food service establishments' packaging of food for delivery; (3) Int. No. 1896 by

Council Member Gjonaj, alocal law to amend the administrative code of the city of New York,

in relation to the disclosure of commissions charged by third-party food delivery services; (4)

Int. No. 1897 by Council Member Gjonaj, alocal law to amend the administrative code of the

city of New York, in relation to the licensing of third-party food delivery services; (5) Int. No.
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1898 by Council Members Gjonaj and Moya, alocal law to amend the administrative code of the

city of New York, in relation to telephone order charges by third-party food delivery services; (6)

Int. No. 1907 by Council Members Moya and Gjonaj, alocal law to amend the administrative

code of the city of New York, in relation to prohibiting third-party food delivery services from

limiting the purchase prices covered establishments may charge on food and beverage orders; (7)

Proposed Int. No. 1908-A by Council Members Moya and Gjonaj, a local law to amend the

administrative code of the city of New York, in relation to fees charged by third-party food

delivery services; (8) Int. No. 1914 by Council Member Adams and the Speaker (Council

Member Johnson), a local law to amend the administrative code of the city of New York, in

relation to harassment of commercial tenants impacted by COVID-19; (9) Int. No. 1916 by

Council Member Cohen, alocal law in relation to requiring the department of consumer affairs

to waive and refund all fees related to sidewalk cafe licenses that are due on or after January 1,

2020 until December 31, 2020, and providing for the repeal of such provision upon the

expiration thereof, (10) Int. No. 1921 by Council Members Gjonaj and Louis, a local law to

amend the administrative code of the city of New York, in relation to requiring third-party food

delivery services and food service establishments to display sanitary inspection letter grades

online; (11) Int. No. 1932 by Council Member Rivera and the Speaker (Council Member

Johnson), alocal law to amend the administrative code of the city of New York, in relation to

personal liability provisions of leases for commercial tenants impacted by COVID-19; (12)

Preconsidered Int. No._ by Council Member Matteo, in relation to requiring the mayor to issue

a guidance on license and permit renewal deadline extensions, and requiring that no such

licenses or permits be required to be renewed within 90 days after the COVID-19 emergency has

ended, and providing for the repeal of such provision upon the expiration thereof, and (13) Res.

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No. 1049 by The Public Advocate (Mr. Williams), aresolution calling upon the United States

Congress and the New York State Legislature to pass legislation to prohibit the use of a

confession of judgment in business loans.


II.        BACKGROUND


           In late December of 2019, anew virus, SARS-CoV-2, was detected in Wuhan, China and

by January 30, 2020, the World Health Organization (WHO) declared that COVID-19, the

disease caused by the SARS-CoV-2 virus, was now aPublic Health Emergency of International

Concern (PHEIC). t SARS-CoV-2 is not the first virus to pose a serious threat to modern

civilization in recent decades. In 2003, the severe acute respiratory syndrome (SARS) was

labelled the "first pandemic of the 21" century", because it spread quickly across continents,

infected more than 8,000 people and killed nearly 800. 2 By comparison, COVID-19 has infected

2.5 million people across 210 countries, and has killed nearly 800,000 people as of April 22,

2020. 3


           The ease with which the virus spreads has caused governments across the globe to shut-

down businesses, schools, religious and cultural institutions, and mandate various levels of social

isolation. While this has helped to limit the spread of the virus, stay-at-home orders have had a

catastrophic impact on economic markets and particularly small businesses.


           1.    The Impact on Small Businesses Amid the COVID-19 Crisis




1   World Health Organization "Rolling updates on coronavirus disease (COVID-19)", last updated April 18, 2020,
available at: https://www.who.int/emergencies/diseases/novel-coronavirus-2019/events-as-they-happen.
z James W.      DeLuc and M. Anita Barry "SARS, the first pandemic of the 21st century", Emerging Infectious Diseases,
 November 2004, vol. 10(11), e26, available at: https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3329048/.
3   Worldometer "Countries where COVID-19 has spread", April 22, 2020, available at:
 https://www.worldometers.info/coronavirus/countries-where-coronavirus-has-spread/.
                                                            -7-
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         In New York, Governor Andrew Cuomo issued an executive order —New York State on

PAUSE (PAUSE) —that closed all on-site, non-essential businesses, effective March 22, 2020, to

help stop the spread of SARS- CoV-2. 4 The list of essential businesses that are still permitted to

operate, to some degree, include:


            • Health care operations — such as hospitals, medical labs, walk-in clinics, home

                healthcare, elder care, veterinaries, nursing homes, licensed mental health

                providers, and medical billing support personnel.


            • Infrastructure — such as airports, public utilities, hotels, commercial shipping

                ports, and telecommunications.


            • Manufacturing        — such     as   food processing,     pharmaceuticals,     automobiles,

                household paper products, and chemicals.


            • Retail — such as grocery stores, pharmacies, framer's markets, gas stations,

                restaurants (for take-out and delivery only), and convenience, hardware and pet

                food stores.


            • Services — such as laundromats, postal services, trash and recycling collection,

                bicycle and automotive repair, funeral homes, and animal shelters.


            • Financial Institutions — such as banks              and lending institutions, insurance

                companies, and accounting firms.




°Governor Andrew Cuomo "Governor Cuomo signs the `New York State on PAUSE' executive order", March 20,
2020, available at: https://www.governor.nv.gov/news/governor-cuomo-signs-new-York-state-pause-executive-
order.
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               • Human Services Providers — such as food banks, homeless shelters and

                   community care programs.


               • Construction —insofar that it supports affordable housing, hospitals, roads, transit

                   facilities, homeless shelters or schools.


               • Public Health and Safety — such as law enforcement, fire and emergency services,

                   building cleaners or janitors, and residential moving services.


               • Logistical, Technological and Child Care Services — such as technology support

                   for online services, child care programs, government owned or leased buildings

                   and essential government services.


               • Recreation — such as parks and open spaces (not including playgrounds), and

                   boatyards and marinas.


               • Professional Services —such as lawyers and real estate services.


               • News Media; and


               • Defenses


          Although this list covers a range of industries that are permitted to operate during

PAUSE, alarge proportion of New York's small (and large) businesses have still had to severely

reduce their capacities. According to an analysis by the NYC Comptroller, the City's hotels are

projected to only maintain an occupancy rate of 20 percent, while restaurant sales are expected to




5   Empire State Development "Guidance for determining whether abusiness enterprise is subject to aworkforce
reduction under recent executive orders", April 19, 2020, available at: https://esd.nv.gov/guidance-executive-
order-2026, last accessed April 22, 2020.
                                                        -9-
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drop by astaggering 80 percent. Real estate and retail sales are both expected to decline by 20

percent. 6


            These figures for the restaurant industry reflect the results of arecent survey by the New

York State Restaurant Association. According to their findings, sales have declined by 79

percent, and New York State restaurants are expected to lose $3.6 billion in sales revenue, in

April alone. Just over half (51 percent) of all restaurants have been able to move their operations

online, and unemployment rates in this sector have skyrocketed, as 80 percent of restaurant

workers have lost their jobs. 8


            Restrictions similar to PAUSE have been implemented across the country, which has

caused amassive reduction in the number of small businesses operating. In their survey of small

businesses (under 500 employees), the National Bureau of Economic Research found that 43

percent of businesses had closed due to COVID-19 and that they had reduced their staff by about

40 percent since January 2020. 9 The results were more severe in the Mid-Atlantic region, which

includes New York, where 57 percent of businesses were closed, and staff employment

decreased by 47 percent. 10 According to the survey's conclusion, about 20 percent of the nation's




6    New York City Comptroller Scott M. Stringer "Comptroller Stringer: City must take immediate action to prepare
for economic impacts of COVID-19 and protect vital services for most vulnerable New Yorkers", March 16, 2020,
available at: https://comptroller.nyc.gov/newsroom/comptroller-stringer-city-must-take-immediate-action-to-
prepa re-fo r-econ om ic-impacts-of-covid-l9-a nd-protect-vita I-servi ces-fo r- most-vu In era ble-new-Yorkers/.
     New York State Restaurant Association "Restaurant industry impact survey: New York State", April, 2020,
available at:
https://www.nvsra.org/uploads/l/2/l/3/121352550/restaurant industry impact survey                   new York state   2.
pdf.
8    Id.
9   Alexander W. Bartik et al. "How are small businesses adjusting to Covid-19? Early evidence from asurvey",
National Bureau of Economic Research, April 2020, available at: https://www.nber.org/papers/w26989.pdf.
10    https://www.nber.org/papers/w26989.pdf.
                                                            -10-
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employees work in "retail trade, leisure and hospitality and these sectors are particularly

vulnerable to the current pandemic. "11


           2.   Federal, State and Local Government Response to Help Small Businesses


           The nation's economy is dependent on its small businesses. There are approximately 27

million of these businesses across the country and they are responsible for employing 57 million

workers. 12 When including the owners of these businesses, in addition to employees, that total

comes to an estimated 85 million people. 13 According to the Small Business Administration,

small businesses are responsible for creating two-thirds of the Country's new jobs. 14 Given their

vital role, it is crucial that they are either given alternative means to operate, in as lucrative a

manner as possible, throughout the COVID-19 crisis, and/or are provided the necessary support

to restart their operations once social distancing measures have been lifted.


           a.   Federal Government Assistance


           During this crisis, small businesses in New York City may apply for various assistance

programs including funding distributed by the federal government through its Small Business

Administration (SBA). These programs include the Paycheck Protection Program (PPP), 15 the

Economic Injury Disaster Loan and Advance (EIDL) and the SBA Express Bridge Loans and



11   Id.
12   Information Station "How important are small businesses?", January 3, 2017, available at:
https:Hinformationstation.org/video/how-important-are-small-
businesses/?utm source=google&utm medium=cpk&gclid=EAlalQobChMl-
Ymy3df86AIVGozIChOQRQPrEAAYASAAEgl7ivD_BwE.
13
     id.
14   United States Small Business Administration "Small Businesses generate 44 percent of U.S. economic activity",
January 30, 2019", available at: https:Hadvocacy.sba.gov/2019/01/30/small-businesses-generate-44-percent-of-u-
s-economic-activity/.
" United States Small Business Administration "Paycheck Protection Program", available at:
https://www.sba.gov/funding-programs/loans/coronavirus-relief-options/paycheck-protection-program-ppp (last
visited on April 9, 2020).
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Debt Relief programs. The federal government has also temporarily increased the unemployment

insurance stipend that laid-off or furloughed workers may receive, which may have implications

for the workforce of some small businesses.


Paycheck Protection Program


           The Coronavirus, Aid, Relief, and Economic Security Act (CARES ACT) originally

allocated about $349 billion in federal funds for PPP, with an additional $322 billion authorized

by Congress in late April. 16 The program provides various types of employers, including small

businesses, nonprofits, self-employed individuals and independent contractors, access to loans to

cover payroll costs of up to $100,000 per employee, rent and mortgage interest prior to February

15, 2020, and utilities. Loans are calculated per employer or per location, and may be as high as

2.5 times the average monthly payroll for the one-year period before the loan application is

submitted, to a cap of $10 million. Loans are calculated differently for seasonal and new

employers. Employers of fewer than 500 workers may apply for these loans through anetwork of

banks ranging from large to smaller banks. 17 Banks may not require applicants to supply

collateral or personal guarantees, and applicants may only apply for one PPP loan.


           PPP loans can be forgiven up to the value of eight weeks of payroll costs of up to

$100,000 per employee, rent and mortgage interest prior to February 15, 2020, and utilities. To

qualify for loan forgiveness, however, 75 percent of the amount loaned must be used for payroll



" Emily Cochrane and Jim Tankersley "Senate approves aid for small-business loan program, hospitals and testing",
April 21, 2020, New York Times, available at: https://www.nvtimes.com/2020/04/21/us/politics/congress-
business-relief-ppp.html.
17   In the recent funding allocation, $60 billion was set aside for lenders with less than $50 billion in assets. See
Aaron Gregg and Renae Merle "How to get asmall-business loan under the new $484 billion coronavirus aid
package", April 23, 2020, The Washington Post, available at:
https://www.wash i
                 ngton post.com/busi ness/2020/04/22/sma I
                                                         I-business-loan-faq.
                                                   -12-
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costs, and employee and salary levels must be maintained, or else the forgiven amount will be

reduced. If not forgiven, PPP loans accrue at aone percent interest rate and must be paid back

within two years, with an optional deferral of up to six months. There are no loan fees or

prepayment penalties.


Economic Irjury Disaster Loan and Advance rs


           Small businesses may apply for the SBA's existing Economic Injury Disaster Loan

program (EIDL), which the CARES Act expanded upon. The existing program provides

economic relief for small businesses of fewer than 500 employees or otherwise meets SBA size

standards, self-employed persons, independent contractors and nonprofits in the form of loans of

up to $2 million. To be eligible, entities must also demonstrate the ability to repay the loan.

Interest rates are low (3.75 percent for small businesses and 2.75 percent for nonprofits) and

feature long-term repayment plans of up to 30 years.


           The CARES Act expanded upon this program to provide aloan advance. Eligible entities

that can show a temporary loss of revenue can receive an advance of up to $10,000 upon

successful application for an EIDL loan. That advance may be forgiven by the federal

government.


SBA Express Bridge Loans 19 and Debt Relhilo




18   United States Small Business Administration "Economic injury disaster loan emergency advance", available at:
https://www.sba.gov/funding-programs/loans/coronavirus-relief-options/economic-injury-disaster-loan-
emergency-advance (last visited on April 9, 2020).
19   United States Small Business Administration "SBA Express Bridge Loans", available at:
https://www.sba.gov/funding-programs/loans/coronavirus-relief-options/sba-express-bridge-loans (last visited on
April 9, 2020).
20   United States Small Business Administration "SBA debt relief", available at: https://www.sba.gov/funding-
programs/loans/coronavirus-relief-options/sba-debt-relief (lasted visited on April 9, 2020).
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           The CARES Act allocated funds for SBA's Express Bridge Loan program and their Debt

Relief program. The Express Bridge Loan program quickly provides funds of up to $25,000 for

businesses eligible for SBA's 7(a) loans to overcome atemporary loss of revenue. SBA's Debt

Relief program allows businesses that are eligible for SBA's 7(a), 504 and microloans to receive

limited payment of principal, interest and fees on these loans. The 7(a), 504 and microloans are

SBA's standard small business loan programs, which were established before the onset of

COVID-19. The 7(a) loans are available for general business purposes, such as working capital,

equipment, furniture, and land and building. 21 They are provided through a lender. 22 The 504

loans are issued by Certified Development Companies for long-term, fixed-asset financing for

small businesses, such as the purchase and improvement of land and buildings. 23 Microloans are

temporary, short-term loans of up to $50,000 to small businesses for general business purposes,

and are offered by nonprofits.


           The federal government's PPP program, although heavily utilized, has raised some

concerns. As of April 13, 2020, the program had issued about 1,661,367 loans totaling over $342

billion, with over 4,975 lenders participating. 2s However, a recent ranking of businesses

receiving loans as apercentage of each state's eligible payroll revealed that New York State

placed second to last, with only 23.1 percent of eligible businesses receiving a loan. 26 By




21   United States Small Business Administration Office of Financial Assistance: Resources, 7(a) Loans", available at:
https://www.sba.gov/offices/headquarters/ofa/resources/11428 (last visited on April 9, 2020).
22   Id.
21   United States Small Business Administration "Office of Financial Assistance: Resources, 504 Loans", available at:
https://www.sba.gov/offices/headquarters/ofa/resources/4049 (last visited on April 9, 2020).
24   See 13 CFR §120.2 for the definition of this and other, traditional SBA loan programs.
21   United States Small Business Administration "Paycheck Protection Program (PPP) Report: Approvals through
4/16/20", available at: https://www.sba.gov/sites/default/files/2020-04/PPP%20Deck%20copy.pdf.
26   Zachary Mider and Cedric Sam "Small-business rescue shows not all states are created equal", updated April 20,
2020, Bloomberg, available at: https://www.bloomberg.com/graphics/2020-sba-paycheck-protection-program/.
                                                           -14-
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contrast, Nebraska and North Dakota reached 74.7 percent and 71.5 percent respectively. 27

Further, some industries fared better than others, with the construction industry receiving the

highest percentage of loans (13 percent) and restaurants receiving less than nine percent, 28

despite representing about 14 percent of companies employing under 500 people .29 Of the

restaurants who received loans, some reports allege that too many have gone to large chains, and

a handful of these companies have received blowback for accepting loans. A Reuters article

claimed that 25 percent of the initial $350 billion allocated to SBA loan programs went to fewer

than two percent of the firms that got relief, with some of these being large, publicly-traded

companies with "thousands of employees and hundreds of millions of dollars in annual sales. ,30

Among these companies is the Ruth's Hospitality Group (owns 150 Ruth's Chris Steak Houses),

Potbelly ($409.7 million in sales and 6,000 employees) and Shake Shack (8,000 employees).

Both Ruth's Hospitality Group 31 and Shake Shack have agreed to return their loans, the latter of

which citing an ability to raise the funds through other means. 32 Similarly, dozens of large

companies with financial or legal problems have reportedly received significant loans through

the program, according to an analysis of 200 publicly-traded companies that reported receiving a




27   Id.
21    United States Small Business Administration "Paycheck Protection Program (PPP) Report: Approvals through
4/16/20", available at: https://www.sba.gov/sites/default/files/2020-04/PPP%20Deck%20copy.pdf.
29   Andy Sullivan, Howard Schneider and Ann Saphir "Main street bailout rewards U.S. restaurant chains, firms in
rural states", April 17, 2020, Reuters, available at: https://www.reuters.com/article/us-health-coronavirus-usa-
lending-analys/main-street-bailout-rewards-us-restaurant-chains-firms-in-rural-states-idUSKBN21Z3FL.
30
     id.
31   Peter Rudegeair, Heather Haddon and Ruth Simon "Ruth's Chris to repay loan amid outcry over rescue
program", updated April 23, 2020, The Wall Street Journal, available at: https://www.wsi.com/articles/public-
co m pa ni
         es-h ave-to-repay-sm al
                               l-busi ness-resc ue-loa ns-11587670442.
32   Luisa Beltran "Restaurant chains received many of the biggest PPP loans, updated April 23, 2020, Barron's,
available at: https://www.barrons.com/articles/restaurant-chains-received-many-of-the-biggest-ppp-loans-
51587573556.
                                                          -15-
         Case 20-4238, Document 41, 02/11/2021, 3035102, Page38 of 296
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total of $750 million through PPP. 33 Since it became known that large companies had been

benefitting from PPP, the SBA published additional guidance emphasizing that businesses may

only apply for the loan if, in good faith, they can certify that "[c]urrent economic uncertainty

makes this loan request necessary to support the ongoing operations of the Applicant," and that

public companies with "substantial market value" are unlikely to be able to make such a

certification. 34 Companies who received the loan before this guidance and repay it before May 7,

2020 will be deemed to have certified in good faith. 35


         The manner in which PPP was offered to the public and the complexity of its terms and

conditions may have contributed to alack of success for many small business owners. Although

the program began accepting applications on Friday, April 3, 2020, some large banks refused to

participate at first, citing alack of guidance from the federal government. 36 When more banks

did begin to accept applications, there was confusion regarding what conditions the banks could

apply. SBA authorized a last-minute raise from half apercent to a one percent interest rate,

reportedly to address concerns from banks about being unable to service the loans at an interest

rate of only half apercent. 37 Further, some large banks attached unexpected conditions to their




"Jessica Silver-Greenberg, David Enrich, Jesse Drucker and Stacy Cowley "Large, troubled companies got bailout
money in small-business loan program", April 26, 2020, The New York Times, available at:
https://www.nytimes.com/2020/04/26/business/coronavirus-small-business-loans-large-companies.html.
" United States Small Business Administration "Paycheck Protection Program Loans: Frequently Asked Questions
(FAQs)" updated April 23, 2020, https:Hhome.treasury.gov/system/files/136/Paycheck-Protection-Program-
Frequently-Asked-Questions.pdf.
3s Id.
36 Brian Thompson "No small-business relief yet: False start on Paycheck Protection Program loans", April 3, 2020,
Forbes, available at: https://www.forbes.com/sites/brianthompsonl/2020/04/03/no-small-business-relief-yet-
fa Ise-sta rt-on-paycheck-protection-program-loans/#163172d034c4.
37 'SBA increases rate, clarifies terms on   Paycheck Protection Program loans", ABA Banking Journal, April 2, 2020,
https://bankingiournal.aba.com/2020/04/treasury-sba-to-increase-rate-on-paycheck-protection-program-loans/;
Michela Moscufo "How to get, and give, Paycheck Protection Program loans through the SBA", April 3, 2020,
Forbes, available at: https://www.forbes.com/sites/michelamoscufo/2020/04/03/how-to-get-and-give-paycheck-
protection-progra m-loans-th rough-the-sba/#3f766faa27e8.
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           Case 20-4238, Document 41, 02/11/2021, 3035102, Page39 of 296
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applications, like having aprevious banking relationship with them before February 15, 2020. 38

A few weeks after the lending program began, it ran out of funds, 39 seemingly validating

concerns from some experts that the program was not sufficiently well-funded, or disbursing

funds quickly enough. 40


           The federal government's EIDL program quickly experienced funding shortages as well.

For many applicants, acap of $2 million per borrower was significantly reduced to $15,000. 41

Furthermore, although the program was touted as featuring a quick turnaround on payments,

many applicants waited weeks for approval and found that the amount disbursed to them was

much less than the initial approval amount. 42 In asurvey of 885 small business owners conducted

by the National Federation of Independent Business the day after the SBA's EIDL and PPP

programs ran out of funds, 80 percent were still waiting to hear about their loan applications. 43


           Immigrant communities in NYC may have had even more difficulty applying to and

obtaining federal funds, which would considerably impact the City's economy. Immigrant



38   See e.g. Bank of America "Small Business Administration Paycheck Protection Program application" available at:
https://about.bankofamerica.com/promo/assistance/latest-updates-from-bank-of-america-coronavirus/small-
business-assistance, (last visited April 8, 2020); JPMorgan Chase & Co "Paycheck Protection Programs FAQs &
useful tips", available at: https:Hrecovery.chase.com/caresl/ppp-fags#accordion-1586386467723-1-panel, (last
visited April 8, 2020); and Wells Fargo "Small Business Administration Paycheck Protection Program", available at:
https:Hupdate.wf.com/coronavirus/paycheckprotectionprogram/, (last visited April 8, 2020).
39   Stephen Gandel "Paycheck Protection Program out of money: Thousands of small businesses shut out", CBS
News, April 16, 2020, available at: https://www.cbsnews.com/news/paycheck-protection-program-out-of-money-
sm aI
    I-busi nesses-sh ut-o ut.
40   Jim Tankersley "Virus throws millions out of work, and Washington struggles to keep pace", April 9, 2020 The
New York Times, available at: https://www.nvtimes.com/2020/04/09/business/coronavirus-unemplovment-
washington.html?action=click&module=Top%20Stories&pgtVpe=Homepage.
"Stacy Cowley "Small Businesses Wait for Cash as Disaster Loan Program Unravels", April 9, 2020, The New York
Times, available at: https://www.nvtimes.com/2020/04/09/business/smallbusiness/small-business-disaster-loans-
coronavirus.html.
42   1d.

43   National Federation of Independent Business "80% of PPP applicants are still urgently waiting for financial
assistance" April 20, 2020, available at: https://www.nfib.com/content/press-release/economy/80-of-ppp-
applicants-are-still-urgently-waiting-for-financial-assistance.
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workers make up 45 percent of the city's workforce44 and own one-half of New York City's

businesses. 45 In some neighborhoods, immigrant-owned businesses employ up to 42 percent of

the          neighborhood      population. 46   Yet,   there    have    been    questions     surrounding      whether

undocumented immigrants can be eligible for the PPP program, since it requires an Employee

Identification Number or Social Security Number on its program application. 47 The application

originally required business owners to be U.S. citizens or permanent residents. 48 In the past, SBA

placed additional restrictions and requirements on access to loans for non-citizens. 49


              In   addition,    certain   features     of the      federal   government's      PPP    program         may

disproportionately disadvantage minority business owners from obtaining loans. A loophole

allowing bank servicers to prefer businesses with aprevious lending relationship may lead to the

exclusion of many minority businesses .
                                      50 Many microbusinesses in New York City may have not



previously applied for loans or lines of credit, and therefore may not have relationships with

local banks. 51 The Congressional Black Caucus has recognized the "history and legacy" of racial

inequality in the banking system, and as banks default to lending to businesses to which they


0.0.   Mayor's Office of Immigrant Affairs "State of Our Immigrant City: Annual Report", March 15, 2018, available at:
https://wwwl.nyc.gov/assets/immigrants/down loads/pdf/a nnua I-report-2018.pdf.
4s
       id.
46     Lena Afridi "The Displacement Crisis of Immigrant-Owned Small Businesses", February 15, 2018, Shelter Force,
available at: https://shelterforce.org/2018/02/15/displacement-crisis-immigrant-owned-small-businesses/.
4' United      States Small Business Administration "Paycheck Protection Program: Borrower application form",
effective April 3, 2020, available at: https://www.sba.gov/sites/default/files/2020-04/PPP-Borrower-Application-
Form-Fillable.pdf.
48     See Emily Guerin "Massive Federal Loan Program for Small Businesses Off to Rocky Start", April 3, 2020, LAist,
https:Hlaist.com/2020/04/03/small_business_ppp_paycheck_protection_program_loans_stimulus_coronavirus.ph
P.
49     See United States Small Business Administration "SBA Eligibility Questionnaire, for Standard 7(a) Guaranty",
available at: https://www.sba.gov/sites/default/files/bank_eligibility_questionnaire_O.pdf; and Kimberly Rotter
and Dawn Papandrea "What Are SBA Loan Requirements?", February 28, 2020, U.S. News & World Report,
available at: https://Ioans.usnews.com/complete-list-of-sba-loan-requirements.
so Mary Alice Parks "Minority-owned small businesses face unique, steep hurdles amid coronavirus cash crunch",
April 8, 2019, ABC News, available at: https:Habcnews.go.com/Health/minority-owned-small-businesses-face-
unique-st eep- hur
                 dles/st ory? i
                              d=70011898.
51Id.
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have lent money before, minority-owned businesses could be disproportionately denied and

excluded. s2


           For those with access to COVID-19 funding programs, there are drawbacks to consider.

Although the federal government's PPP program offers loan forgiveness, there are significant

conditions to satisfy. Seventy-five percent of the PPP loan's forgiven amount must be spent on

payroll costs, acondition that appears to have taken shape late in the process. 53 If 75 percent of

the forgiven amount must be spent on payroll costs, that may leave less for businesses to spend

on obligations such as rent and utilities, which may be disproportionately higher in our City. 54

Some businesses may decide, and some have decided, that the program is too risky, or that it is

more valuable to their employees to lay them off, so that employees may collect ahigher salary

through the federal government's expanded unemployment insurance program. 55 If abusiness

does not qualify for full forgiveness of the loan, PPP requires the small business owner to pay off

the loan within two years, after a six-month deferral. 56 Small businesses in the City may be

concerned about being able to pay back these loans, and about being burdened with more debt.


           For many small businesses in the City, dealing with an unpredictable and contagious

virus that has already significantly disrupted the ability of many to earn revenue makes


52   Id.
5s   United States Small Business Administration "Interim Final Rule: Business Loan Program Temporary Changes;
Paycheck Protection Program", Issued April 2, 2020, available at:
https:Hhome.treasu ry.gov/system/files/136/PPP--I FRN%20FI NAL.pdf.
54   Greg lacurci "Your Forgivable Loan May Be Undercut by This Provision of the Paycheck Protection Program",
updated April 9, 2020, CNBC, available at: https://www.cnbc.com/2020/04/07/this-part-of-paycheck-protection-
program-could-reduce-forgivable-loans.html.
55   Jim Tankersley "Virus Throws Millions Out of Work, and Washington Struggles to Keep Pace", April 9, 2020, The

New York Times, available at: https://www.nytimes.com/2020/04/09/business/coronavirus-unemployment-
washington.html?action=click&module=Top%20Stories&pgtype=Homepage.
56   United States Small Business Administration "Paycheck Protection Program", available at:
https://www.sba.gov/funding-programs/loans/coronavirus-relief-options/paycheck-protection-program.
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           Case 20-4238, Document 41, 02/11/2021, 3035102, Page42 of 296
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borrowing money arisky endeavor. With the exception of SBS's Employee Retention Grant

Program, which was only available for the smallest of City businesses (1-4 employees), almost

all the funding available to businesses have taken the form of loans. There are concerns about

whether the City's economy will strengthen quickly enough to satisfy the terms of these loans,

and businesses might struggle to pay off additional debt (even at low or no interest rates) after

this sustained period of closure and reduced income. A 2019 survey conducted by the Federal

Reserve found that as many as 70 percent of small businesses have outstanding debt. 57 Similarly,

a2016 JPMorgan study concluded that most small businesses did not have enough cash reserves

to carry them through asignificant economic downturn, with the median independent restaurant

having only enough extra cash to last them 16 days. 58


           b.   New York State Assistance


           In addition to closing 100 percent of non-essential businesses statewide, the PAUSE

executive order provides a90-day moratorium on residential and commercial evictions .
                                                                                    59 Since



commercial rent is typically the largest cost and greatest concern for business owners, 60 the 90-

day moratorium provides short-term relief to businesses. The Governor's moratorium on




57   Federal Reserve Banks "Small Business Credit Survey: 2019 Report on Employer Firms", available at:
https://www.fedsmallbusiness.org/medialibrary/fedsmallbusiness/files/2019/sbcs-employer-firms-report.pdf. Also
see Bridget Bartolini "City's Small Businesses Need Rent Stabilization to Survive COVID-19, Advocates Say", April 6,
2020, City Limits, available at: https://citvlimits.org/2020/04/06/citvs-small-businesses-need-rent-stabilization-to-
survive-covid-l9-advocates-say.
"See Bridget Bartolini, id.
" Governor Andrew M. Cuomo "Video, Audio, Photos & Rush Transcript: Governor Cuomo Signs the "New York
State on Pause" Executive Order", March 20, 2020, https://www.governor.nv.gov/news/video-audio-photos-rush-
transcript-governor-cuomo-signs-new-york-state-pause-executive-order.
60   Association for Neighborhood & Housing Development "The Forgotten Tenants: New York City's Immigrant Small
Business Owners", March, 2019), available at: https:Hanhd.org/report/forgotten-tenants-new-york-citys-
immigrant-small-business-owners.
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commercial rent is only for a90-day period, however, and there is currently little guidance over

whether evictions will resume after the 90 days is over.


           Beyond the Governor's Executive Order pausing commercial evictions, New York State

is not currently administering any specific programs to provide relief to small businesses. NYS's

Empire State Development (ESD) has information on its website about the SBA's COVID-19

loan programs, including resources on how businesses can apply for relief. 61 ESD's website

directs businesses to other existing relief efforts as well, such as apro bono legal advice service

for small businesses applying for the Paycheck Protection Program. 62


           c.   New York City Assistance


           Support for New York City's small businesses from local government has been provided

in numerous ways. Financial aid, through loans and grants programs, has been offered through

the Department for Small Business Services (SBS). Meanwhile, the Department of Consumer

and Worker Protection (DCWP) has also provided assistance by reducing regulatory burdens

through pausing some of the fees that it administers and extending deadlines for various

renewals.


Small Business Services


           On March 8th, Mayor de Blasio announced that SBS would create two financial relief

programs, the Employee Retention Grant Program and Small Business Continuity Loan Fund, to




61   Empire State Development "Apply for Small Business Administration (SBA) COVID-19 Loans", available at:
https:Hesd.ny.gov/small-business-administration-sba-covid-19-loans.
62 Id.



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provide financial relief to small businesses during the crisis. 63 To qualify for either program,

businesses were required to provide documentation proving that over a two-month period in

2020 their revenues decreased by 25 percent due to COVID-19. 64 Businesses with fewer than

five employees were eligible for the Employee Retention Grant Program, which provided agrant

covering up to 40 percent of abusiness's payroll for two months, with amaximum amount of

$27,000. 65 On April 3rd, SBS stopped accepting applications to the grant program. 66 The Small

Business Continuity Loan Fund provided azero-interest loan to businesses with fewer than 100

employees for up to $75,000. 67 As of April 8th, SBS paused application intake for the loan fund

due to an overwhelming number of applications. Accordingly, small businesses in NYC can

now only apply to the SBA programs to receive necessary financial relie£ 68


           According to SBS, the NYC Employee Retention grant program provided assistance

to 1,200 small businesses. SBS allocated $10 million to the program, and small businesses

received an average amount of $7,800. 69 SBS is expecting to give out $20 million in loans

through the Small Business Continuity Loan Fund. Before the fund closed online applications on




"Office oft he Mayor "Mayor de Blasio Provides Updates on New York City's COVID-19 Response", March 8, 2020,
available at: https://wwwl.nvc.gov/office-of-the-mayor/news/124-20/mayor-de-blasio-provides-on-new-vork-
city-s-covid-l9-response.
64 Id.



65   NYC Department of Small Business Services "NYC Employee Retention Grant Program", (as of April 2, 2020),
available at: https://wwwl.nvc.gov/nycbusiness/article/nyc-employee-retention-grant-program. Program
information is still available at: https://www.paulweiss.com/media/3979874/nvc2-employee-retention-grant-
pr
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   am-s um m ary_4-6. pdf.
66   Id.

67   NYC Department of Small Business Services "NYC Small Business Continuity Loan Program", (as of April 7, 2020)
available at: https://wwwl.nvc.gov/nycbusiness/article/nyc-small-business-continuity-loan-program. Program
Information still available at: https://www.natlawreview.com/article/nyc-financial-assistance-businesses-
impacted-covid-19
68
     id.
69   Sophia Chang, "Funds Are Coming For Small Businesses, But Some Will Have To Wait", April 1, 2020, Gothamist,
available at: https:Hgothamist.com/news/funds-are-coming-small-businesses-some-will-have-wait.
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April      5`h, over      15,000    businesses     initially      applied,   and   8,500      businesses   completed

applications. 70


            However, some city advocates have raised concerns about access to these funds. SBS

was swift to offer their grant and loan programs, acting quickly to bridge an important funding

gap before the federal government established their own, but the rollout was flawed. The

program initially required business owners to supply documentation demonstrating a drop in

revenue in the two consecutive months of 2020, when the full effects of COVID-19 were not yet

felt by many businesses .
                        71 The program eventually allowed business owners to supply

information for March 2020, which may have allowed many more business to be eligible .72 It

was also unclear whether non-profit organizations were eligible for SBS's programs, until the

website reflected that non-profits were eligible for the Employee Retention Grant Program, but

not the Small Business Continuity Loan Fund. 73 While applications were quickly accepted for

the Employee Retention Grant Program, the Fund was not available for weeks afterward, and the

website confusingly displayed a"Pre-Application" form that did not actually register anyone for

consideration to receive funds. 74 Some users felt that SBS had not provided clear information on



70   Id.
71   Moshe Schulman, Alexis Percival and Patrick Cournot "The Paycheck Protection Program Is Failing: Small
Businesses Such as Ours Won't Survive without aLot More Help", April 16, 2020, The Atlantic, available at:
https://www.theatlantic.com/ideas/archive/2020/04/relief-small-business/610066/, ("Last month, de Blasio
announced a$75,000 interest-free loan available to local businesses that could prove a25 percent decrease in
sales over atwo-month period in comparison with sales in the same two months in 2019. Only recently did we
meet the threshold, since our drop-off was so sudden, starting in the second week of March, unlike restaurants in
Chinatown, for instance, that closed in February. As of last week, applications were closed. Our attorneys think
they can push ours through since they created an account in time, but the money is presumed to have dried up. )    "



72   See NYC Department of Small Business Services "Participation Affidavit", available at:
https://wwwl.nvc.gov/htmI/sbs/downloads/pdf/COVID19 SBCL participation affidavit form.pdf.
73   See NYC Department of Small Business Services "Assistance & Guidance for Businesses Impacted Due to Novel
Coronavirus", available at: https://wwwl.nvc.gov/site/sbs/businesses/covid19-business-financial-assistance.page
(last viewed on April 24, 2020). Page has since been updated to reflect the fact that the programs are no longer
being offered.
74See id.
                                                           -23-
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the terms of their programs, and that the online application process contained many technical

glitches.' s One user claimed to have lost her application entirely after the SBS website crashed. 76


           Small business owners who are not conversant in English may have had difficulty

understanding the terms and conditions, and how to apply to the programs, without materials

available in other languages. SBS took weeks to translate application materials on their website,

and even then only translated certain materials, with text on the website being translated by

browser tools." Further, it is unknown how much outreach was done to immigrant communities

through representative organizations or otherwise.


           Some critics felt that the requirements for the Employee Retention Grant Program were

not inclusive enough. Eligibility was limited, with only the very smallest businesses employing

1-4 people able to receive agrant. 7g This may have excluded many restaurants, since they may

typically employ more than four personnel, such as a manager, servers, bus staff, cooks and

hosts.




75   Sophia Chang, "Funds Are Coming For Small Businesses, But Some Will Have To Wait", April 1, 2020, Gothamist,
available at: https://gothamist.com/news/funds-are-coming-small-businesses-some-will-have-wait.
76 Id.



77   See NYC Department of Small Business Services "Assistance & Guidance for Businesses Impacted Due to Novel
Coronavirus", available at: https://wwwl.nvc.gov/site/sbs/businesses/covid19-business-financial-assistance.page
(last viewed on April 24, 2020). Page has since been updated to reflect the fact that the programs are no longer
being offered, but materials had not been translated as of March 20, 2020. See also atweet publicizing an SBS
guide in languages other than English from NYC Mayor's Office of Immigrant Affairs, March 24, 2020, available at:
https://twitter.com/NYCImmigrants/status/1242484476057354240. Re-tweeted by NYC Department of Small
Business Services on March 24, 2020, available at: https:Htwitter.com/nvc_sbs.
78   NYC Department of Small Business Services "NYC Employee Retention Grant Program", (as of April 2, 2020),
available at: https://wwwl.nvc.gov/nvcbusiness/article/nvc-emplovee-retention-grant-program. Program
information is still available at: https://www.paulweiss.com/media/3979874/nvc2-emplovee-retention-grant-
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           In the midst of struggles and confusion regarding SBS's grant and loan programs, the

programs abruptly ended without much notice .79 This may have closed the door on many small

businesses who had intended to apply for the programs, but did not have achance to do so, or

were not yet able to gather the necessary documentation materials. Some users claimed that SBS

failed to communicate the most basic aspect of the programs: that funds were limited and that

time was of the essence. 80 One user termed it a"lottery" and expressed frustration that business

decisions were made based upon the programs' promises. 81 According to one SBS loan

processer, the programs may have had as much as half abillion dollars in loan requests, and only

$20 million in funds to provide. 82 Despite getting at least 600 applications for the SBS loan

program, the funding may have only been enough to provide loans for 250 to 400 businesses. 83

Council Speaker Corey Johnson has called for an expansion of the program from amaximum of

$75,000 per business to $250,000 per business. 84


Department (f Consumer and Worker Protection


           In addition to financial assistance through loans and grants, City support for small

businesses has also come through DCWP. DCWP licenses more than 75,000 businesses in more

than 50 industries and enforces key consumer protection, licensing, and workplace laws that




79   Rachel Holliday Smith "Half aBillion Dollars' Needed from $20M City Small Business Loan Pool", April 16, 2020,
The City, available at: https://thecitv.nvc/2020/04/de-blasios-usd2Om-nvc-small-business-loan-program-falls-
short.html.
80Id.
81   Id.
82   Id.
83   Id.
84   New York City Council "New York City Council Speaker Corey Johnson Proposes $12 Billion Relief Plan to Help
Workers and Businesses Impacted by COVID-19", March 19, 2020, available at:
https:Hcouncil.nvc.gov/press/2020/03/19/1888/.
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apply to countless more. DCWP regularly plays akey role in city initiatives involving small

businesses.


           As the COVID-19 crisis continues to unfold, DCWP has announced several measures to

assist small businesses by alleviating various regulatory burdens. In March 2020, DCWP ceased

collecting sidewalk cafe consent fees that were due and, shortly thereafter, commenced refunds

for restaurants that had already paid their fees. 85 Though sidewalk cafe consent fees vary

depending on the size, location, and whether it is enclosed or unenclosed, they typically cost

restaurants thousands of dollars. 86 There are approximately 1,400 sidewalk cafes in the City,

representing an annual revenue of between $11 million to $12 million. Most restaurants pay

these fees in afour-part installment plan over aone-year period at amonthly interest rate of 1.5

percent. 87 Three installments remain for the year, and restaurants could still be required to pay

the remaining installments if the state of emergency is lifted. Given the significant losses many

restaurants have suffered; some restaurants may not have the ability to cover any remaining

payments that come due.


           DCWP also extended renewal deadlines for most licenses that expire during the pendency

of the state of the emergency. 88 The Mayor subsequently issued an emergency executive order




85   Mayor's Executive Emergency Order No. 105, April 4, 2020, available at:
https://wwwl.nyc.gov/assets/home/down loads/pdf/executive-orders/2020/eeo-105.pdf.
86See NYC Department of Consumer Affairs "2018 consent fees for street space: For unenclosed and small
unenclosed sidewalk caf6", available at: httPs://wwwl.nvc.gov/assets/dca/downloads/pdf/businesses/Sidewalk-
Cafe-Consent-Fees.pdf.
87   R.C.N.Y. §2-45.
88   NYC Department of Consumer Affairs "Does your consumer affairs license expire February through June 2020?",
available at: https://wwwl.nvc.gov/assets/dca/downloads/pdf/businesses/Does-Your-Consumer-Affairs-License-
Expire-February-through-June-2020.pdf.
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           Case 20-4238, Document 41, 02/11/2021, 3035102, Page49 of 296
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extending deadlines for all city licenses and permits. 89 However, some city agencies still appear

to be requiring businesses to renew their permits, creating some confusion in certain industries. 90


           The declaration of the state of emergency has also led to an uptick of businesses and

workers alike reaching out to DCWP for assistance with regard to the City's worker protection

laws, including the Fair Workweek Law, Paid Safe and Sick Leave Law, and the Temporary

Schedule Change Law. In response, DCWP published guidance specific to addressing employer

obligations during the COVID-19 state of emergency. The guidance also included information

on state and federal employment laws. 91 However, some industries have criticized the Mayor for

not suspending enforcement of the Fair Workweek and Temporary Schedule Change Laws

entirely. The National Restaurant Association argued that businesses cannot afford premium pay

for last minute schedule changes, which are necessary in light of employees falling ill and

sudden decreased staffing needs. 92


           On March 17, 2020, DCWP promulgated an emergency Rule under the City's Consumer

Protection Law that makes price gouging illegal for any personal or household good or any

service that is needed to prevent or limit the spread of or treat COVID-19. 93 Leading up to the

state of emergency, the agency received almost 1,000 complaints of price gouging on items such


" Mayor's Emergency Executive Order No. 107, §4, April 14, 2020, available at:
https://wwwl.nyc.gov/assets/home/down loads/pdf/executive-orders/2020/eeo-107.pdf.
90   See e.g. Department of Buildings, "COVID-19 Response: Administrative Enforcement (AEU)
and Licensing Units Updates," available at: https://wwwl.nyc.gov/assets/buildings/pdf/covidl9_aeu-
licensing_response_sn.pdf.
91   NYC Department of Consumer and Worker Protection "Update about Workplace Laws as NYC Seeks to Stop the
Spread of the New Coronavirus (COVID-19)", available at:
https://wwwl.nyc.gov/assets/dca/downloads/pdf/workers/Complying-with-NYC-Workplace-Laws-During-COVI D-
19.pdf.
92   Letter from Keith Stephenson, National Restaurant Association, to Mayor de Blasio (March 20, 2020), on file.
93   NYC Department of Consumer Affairs "Department of Consumer and Worker Protection issues emergency rule
that makes price gouging illegal for any item or service needed to limit the ppread of Coronavirus", March 17,
2020, available at: https://wwwl.nyc.gov/site/dca/media/pr03l720-DCWP-Emergency-Rule-Price-Gouging-
Illegal.page.
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as hand sanitizer and masks. By April 8•', the Department had received more than 7,200

complaints and had issued 2,700 violations. 94 While many of these violations have been issued to

egregious offenders, 95 some businesses have raised concerns that DCWP is failing to address

price gouging in the supply chain by wholesalers. 96


           3.    Industry Challenges During COVID-19


           The various governmental approaches to support small businesses during this crisis have

provided some measure of relief for small business owners and their employees; however, there

are range of outstanding issues that continue to make operating abusiness during the pandemic

particularly difficult. The vast array of departments and agencies have made it difficult for

businesses to navigate and, as discussed, there have been numerous limitations to the

government programs that are further compounded by the technological and language barriers

that some small business owners also face. This comes on top of the other issues that small

businesses have to navigate during this crisis range from trying to make rent and payroll, finding

suppliers and moving retail online, to negotiating insurance claims, delivery commissions, and

bank loans.


           a.    Debt Collection


           Businesses who experience a drop in revenue due to COVID-19 may face added legal

pressure to meet financial obligations. Commercial leases may contain provisions imposing

94 Priscilla   DeGregory "NYC files law suits against stores for coronavirus price gouging", April 8, 2020 ,New York
Post available at: https:Hnypost.com/2020/04/08/nyc-files-lawsuits-against-stores-for-coronavirus-price-
gouging/.
9' Andrew Denney "Coronavirus in NY: UES pharmacy fines for drastically marking up face masks", March 25, 2020,
available at: https://nypost.com/2020/03/25/coronavirus-in-ny-ues-pharmacy-fined-for-drastically-marking-up-
face-masks/.
96 Priscilla DeGregory "NYC files law suits against stores for coronavirus price gouging", April 8, 2020,New York
Post, available at: https://nypost.com/2020/04/08/nyc-files-lawsuits-against-stores-for-coronavirus-price-
gouging/.
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           Case 20-4238, Document 41, 02/11/2021, 3035102, Page51 of 296
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personal liability on the tenant for non-payment of rent. These personal guarantees can make the

business, which may otherwise shield the owner from liability due to its corporate structure,

answerable in acourt of law for any unpaid debts or damages. 97 Similarly, businesses who have

signed confessions of judgment in exchange for cash advances may be on the hook for unpaid

debts. In these documents, businesses sign away their legal right to contest claims against them

for non-payment, and these documents may be used to effectuate ajudgment against them. 98

Although the dangers of this practice were brought to light last year during an examination of

taxi medallion loans, 99 and New York State subsequently banned the practice for out-of-state

debtors, 10° the issue remains for New York City businesses. 101 Without recourse, landlords and

debt servicers may resort to threats, which continues to make protecting businesses from

harassment an important issue as the City grapples with the effects of COVID-19.


           b.    Third-Party Delivery Platforms

           Before the spread of COVID-19, online food delivery services were becoming an

increasingly popular way for consumers to dine. Online restaurant orders have grown 23 percent




97   See NYC Department of Small Business Services "Comprehensive Guide to Commercial Leasing in New York City"
available at: https://wwwl.nyc.gov/assets/sbs/downloads/pdf/about/reports/commercial-lease-guide-
accessible.pdf, p. 22; and Hayden Field "5 most common red flags entrepreneurs should know before signing a
commercial real estate lease in New York", June 6, 2019, Entrepreneur, available at:
https://www.entrepreneur.com/article/334848.
98   See Rachel Holliday Smith, Christine Chung, Gabriel Sandoval and Josefa Velasquez "New York businesses
struggle with debts after reform left them out", February 25, 2020, The City, available at:
https:Hthecity.nyc/2020/02/ny-busi nesses-struggle-with-debts-after-reform-sh ut-them-out. htm I.
99   Brian M. Rosenthal "`They were conned': How reckless loans devastated ageneration of taxi drivers", May 19,
2019, The New York Times, available at: https://www.nytimes.com/2019/05/19/nyregion/nyc-taxis-medallions-
suicides.html.
'00 See N.Y.    CPLR §3218; Dan M. Clark "NY Gov. Cuomo Signs Measure to Curb Creditors' Abuse of Confessions of
Judgment", August 30, 2019, Law.com, available at: https://www.law.com/newyorklawjournal/2019/08/30/ny-
gov-cuomo-signs-measure-to-curb-creditors-abuse-of-confessions-of-judgment/.
'0'   Rachel Holliday Smith, Christine Chung, Gabriel Sandoval and Josefa Velasquez "New York businesses struggle
with debts after reform left them out", February 25, 2020, The City, available at: https:Hthecity.nyc/2020/02/ny-
businesses-struggle-with-debts-after-reform-shut-them-out.html.
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annually from 2013 to 2017, 102 and UBS predicts that by 2030, the global online food ordering

market could grow to $365 billion, up from $35 billion in 2018. 103 A 2019 survey conducted by

the National Restaurant Association found that 60 percent of consumers ordering takeout used a

third-party delivery service. 104

           The four major third-party delivery platforms utilize different commission models to

remain profitable in this overcrowded and competitive marketplace. Grubhub is the largest

platform operating in New York City, accounting for over 60 percent of meal delivery sales. 105

Grubhub charges restaurants a 10 percent fee for all orders delivered by aGrubhub courier, 106

and charges restaurants higher commissions in exchange for increased visibility on their

platform. 107 Uber Eats and DoorDash account for around 17 percent of City meal delivery

sales. 108 Uber Eats charges restaurants a30 percent fee for orders delivered by Uber couriers, 109

and a 15 percent fee for orders that are made on the Uber Eats website but delivered by a




102   The NPD Group "Feeding the growing appetite for restaurant apps,
htt ps://www. npd.co m/wps/portal/n pd/us/news/i nfogra phi
                                                          cs/2018/feed i
                                                                       ng-the-growing-a ppetite-for-resta ura nt-
apps/.
103   USB Investment Bank "Is The Kitchen Dead?", June 18, 2018, available at:
https://www.ubs.com/global/en/investment-bank/in-focus/2018/dead-kitchen.html
104   Hudson Riehle and Melissa Wilson "Harnessing Technology to Drive Off-Premises Sales", 2019, National
Restaurant Association, available at:
https://www. resta ura nt.org/Down loads/PDFs/Research/resea rch_off Premises 201910.
105   Kathryn Roethel Rieck, "Which company is winning the food delivery war?", April 21, 2020, Second Measure,
available at: https://secondmeasure.com/datapoints/food-delivery-services-grubhub-uber-eats-doordash-
postmates/
10'   Grubhub "Grubub Pricing", available at: https://Iearn.grubhub.com/wp-
content/uploads/2018/08/Grubhub_One-Pager_Pricing-Overview_Final.pdf
107   David Yaffe-Bellany, "New York vs. Grubhub", September 30, 2019, The New York Times, available at:
https://www.nvti mes.com/2019/09/30/business/gru bh ub-sea mless-restaurants-del ivery-apps-fees.htm I
108   Kathryn Roethel Rieck, "Which company is winning the food delivery war?", April 21, 2020, Second Measure,
available at: https://secondmeasure.com/datapoints/food-delivery-services-grubhub-uber-eats-doordash-
postmates/.
109   Julie Littman "Delivery by the numbers: How top third-party platforms compare", October 3, 2019, Restaurant
Dive, available at: https://www.restaurantdive.com/news/delivery-by-the-numbers-how-top-third-party-
platforms-com pa re/564279/.
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restaurant's delivery worker. t10 Doordash charges restaurants promotion fees, marketing fees,

and subscription fees."' Similar to Grubhub, DoorDash charges restaurants acommission fee "in

exchange for promoting and featuring the Merchant... on the DoorDash Platform," and for all

orders delivered by DoorDash couriers (know as "Dashers"). 112 Postmates accounts for just

under five percent of delivery sales in the City. 113 Under the Postmates model, restaurants do not

pay afee for using Postmates couriers, but pay astandard commission fee "based on the contract

signed" by the restaurant upon joining the platform. 114

            While third-party delivery platforms provide restaurants aunique marketing and delivery

service, small businesses have accused these platforms of acting in apredatory manner. In 2018,

a class action lawsuit was filed in the United States District Court for the Eastern District of

Philadelphia against Grubhub. According to the plaintiff, an owner of alocal Indian restaurant

chain, Grubhub had committed wrongful conduct, including, but not limited to, "withholding

commissions for sham telephone food orders, depriving more than 80,000 restaurants of

revenues and profits that rightfully belong to them." 115 Another class action lawsuit was filed in

the United States District Court for the Southern District of New York in April 2020 against all

four third-party delivery platforms. 116 The lawsuit alleges that all third-party delivery platforms

have violated U.S. antitrust law by requiring restaurants to charge delivery customers and dine-in


110   Uber "How do fees work on Uber Eats", available at: https://help.uber.com/ubereats/article/how-do-fees-
work-on-u ber-eats?node) d=65d229e2-a2b4-4fa0-b10f-b36c9546cf55
111   DoorDash "Terms of Service -United States DoorDash Merchants", available at:
https://help.doordash.com/merchants/s/terms-of-service-us?language=en US#payment-fees-and-taxes
112 Id.


113   Id.
114   Postmates "Payment FAQ", available at: https://support.postmates.com/merchant/articles/226618648-article-

Payment-FAQ
115   TIFFIN EPS, LLC v. GrubHub, Inc, 2:18-cv-05630-PD, Complaint, p. 21.5., available at: https://cdn.vox-
cdn.com/uploads/chorus_asset/file/16288289/Grubhub_lawsuit.pdf.
116 The four   platforms are Grubhub Inc. (which also does business as Seamless), DoorDash Inc., Postmates Inc., and
Uber Technologies, Inc., which is the parent company of Uber Eats.
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customers the same price for each menu items, while imposing "exorbitant" fees of 10 percent to

40 percent of revenue to process delivery orders. 117 The City Council has conducted two

oversight hearings this legislative session on the rise of third-party delivery platforms in the

City. 118    During these hearings, small businesses and advocates have highlighted issues they

experienced from using these platforms, including high commission fees, restrictions on menu

pricing, and erroneous fees they are forced to pay from consumer phone calls that do not result in

orders. 119

            Due to the stay-at-home orders issued across the country and the inability for customers

to dine-in at restaurants, third-party delivery services are likely to further increase their profits

during the COVID-19 pandemic. Governor Cuomo's Executive Order 202.6 limited restaurants

to take-out and delivery only, 120 leading restaurants to join third-party delivery platforms to

maintain business. The administration issued an updated COVID-19 related guidance sheet for

business owners on March 16`h,advising restaurants and food services to join food delivery

platforms. 12 1 The issues restaurants typically experience while operating on athird-party delivery

platform are likely to become more common as restaurants shift their businesses to this model.




117 Jonathan Stempel,   "Grubhub, DoorDash, Postmates, Uber Eats are sued over restaurant prices amid pandemic"
April 13 t,2020, Reuters, available at: https://www.reuters.com/article/us-health-coronavirus-food-delivery-laws-
idUSKCN21V2C1.
11s   New York City Council "Oversight —The Changing Market for Food Delivery", June 6, 2019, available at:
https:Hlegistar.council.nvc.gov/MeetingDetail.aspx?I D=705634&GUID=OBC09A92-5DB4-496B-90EE-
BF75DF712131&Options=info I
                          &Search=; and New York City Council "Oversight: `Ghost Kitchens' `Virtual
Restaurants' and the Future of the Restaurant Industry", February 6, 2020, available at:
https:Hlegistar.council.nvc.gov/MeetingDetail.aspx?I D=759804&GUI D=B42220FE-417A-484C-B7CF-
51725F784A71&Options=info I
                          &Search=
119   Id.
120   Empire State Development "Guidance for determining whether abusiness enterprise is subject to aworkforce
reduction under recent executive orders," available at: https:Hesd.nv.gov/guidance-executive-order-2026
121   Flatiron District "Guidance for business owners — Updated March 16, 2020: Tips for addressing changes in
customer behavior due to the Novel (New) Coronavirus (COVIDI9)", available at:
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            Third-party platforms have acknowledged that high commission fees are unsustainable

for restaurants during COVID-19. During an interview with MarketWatch, Grubhub CEO Matt

Maloney was asked whether restaurants could survive on deliveries alone during the pandemic.

Maloney responded, "Not in the long-term. The industry isn't large enough for all restaurants to

survive just on delivery, but they can survive for amatter of weeks potentially. It's definitely not

along-term solution to bridge across restaurants." 122 Maloney meanwhile acknowledged that the

pandemic has led Grubhub to expand their business: "We've received 10 to 15 times our usual

new restaurant leads. This interest has led to four to five times more new restaurant go-lives

compared to our previous record-breaking day." 123

            While third-party delivery platforms may profit from the global health pandemic, they

have implemented COVID-19 related programs to help benefit local businesses. Grubhub

announced a program deferring commission fees for impacted independent restaurants to

increase restaurants' cash flow. 124 Uber Eats has waived the delivery fee on all orders for over

100,000 independent restaurants. 125 Doordash is reducing commission fees by 50 percent for

over 150,000 restaurants in the U.S., Canada and Australia, 126 and offering new restaurants the




https://www.fIatirondistrict.nvc/uploaded/files/COVI D-19/COVID-
19%20Gu ida nce%20for%20Busi ness%200wners%20%XXX-XX-XXXX.pdf
122   Elisabeth Buchwald, "Restaurants can't survive on delivery alone, says Grubhub CEO Matt Maloney", March 23,
2020, MarketWatch, available at: https://www.marketwatch.com/story/restaurants-wont-be-able-to-survive-on-
del ivery-on I
             V- says-gru bhub-ceo- matt- ma I
                                            on ey-2020-03-21
123   Id.
124 Grubhub "COVID-19     Impact, Delivery Safety and Supporting Local Restaurants", March 18, 2020, available at:
https:Hblog.grubhub.com/health-and-safety
121   Uber "A company that moves people is asking you not to move", available at:

https://www.0 ber.com/a u/en/coronavi rus/?_ga=2.191168042.1434603565.1587677057-
1914018361.1587677057
126   DoorDash "The latest on Coronavirus (COVID-19)", available at: https://get.doordash.com/covid-
updates#businesses
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ability to join their platform and pay zero commissions for 30 days. 127 Postmates is temporarily

waiving commission fees for businesses in the San Francisco Bay Area, LA, Sacramento and

Detroit. 121


           While each platform has developed programs to aid restaurants during the pandemic, it

remains unclear whether these campaigns are providing restaurants relief. Grubhub announced a

program in early April, Supper for Support, offering customers $10 off on orders over $30 every

day from 5:00-9:00 pm. 129 However, Grubhub continued to charge restaurants during this

promotion "on the non-discounted product rather than the amount paid by the customer." 130

           To ensure restaurants can remain profitable throughout the pandemic while operating on

these platforms, municipalities sought to cap the fees third-party delivery platforms charge

restaurants. Chicago City Council Member Scott Waguespack introduced an ordinance making it

unlawful for a third-party food delivery service to charge a covered establishment a fee that

totals more than five percent of per online order. 131 Mayor London Breed of San Francisco

similarly issued amayoral declaration making it unlawful for athird-party delivery service to

charge restaurants "a fee per online order for the use of its service that totals more than 15

percent of the purchase price of such online order." 132 The Mayor's cap will remain in effect



127   DoorDash "COVID-19 merchant financial assistance", available at:
https:Hhelp.doordash.com/merchants/s/article/COVID-19-Merchant-Financial-Assistance?language=en_US
121   Postmates "Postmates Coronavirus (COVID-19) Response", March 16 2020, available at:
https:HbIog.postmates.com/postmates-coronavirus-covid-19-response-94eef5b1bbc2
129 Grubhub "Supper for support", April     3, 2020, available at: https:Hblog.grubhub.com/support-local-restaurants
130 Grubhub "Grubhub for      restaurants", available at: https:Hlp.grubhub.com/supper-for-support-terms-
conditions-4-15-f/
131 City of Chicago Office of the   City Clerk "Ordinance", April 22, 2020, available at:
https:Hfi les.consta ntcontact.com/58ea69d3101/e5850lfO-4a68-4625-b689-fl457Of4cde6.pdf
132 Office of the Mayor San   Francisco, London N. Breed "Ninth Supplement to Mayoral Proclamation Declaring the
Existence of aLocal Emergency Dated February 25, 2020", available at:
https:Hsfmayor.org/sites/default/files/NinthMayoralSupplement.pdf
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through the remainder of the local emergency, or until businesses are permitted to reopen for

dine-in services, whichever comes first. 133 The Hospitality Alliance has similarly been calling for

New York City to cap commission fees on third-party delivery platforms to 10 percent per

order. 134


III.        CONCLUSION


            While many of SBS and DCWP's COVID-19 initiatives are positive steps serving the

interests of consumers, workers and small businesses, this hearing represents an opportunity for

both departments and industry representatives alike to address concerns and potential areas for

improvement. The Council seeks to gain abetter understanding of the issues City small business

owners are experiencing as aconsequence of COVID-19, and how effective the Administration

has been in offering support. The Council is also interested in learning about what the future

small business landscape may look like in the City after social restrictions are lifted, and what

types of relief will be necessary to ensure this sector of the City's economy remains vibrant.


IV.         BILL ANALYSIS

            Int. No. 1846

            Int. 1846 requires food service establishments, retail stores and other commercial

businesses that deliver goods, to disclose to consumers such establishments' gratuity policies for

delivery personnel. Section one of this bill adds anew Subchapter 7to Title 20 of Administrative

Code titled "Delivery Workers." New section 20-1271 sets out the definitions. New section 20-



133   Eve Batey "San Francisco Emergency Order says delivery apps must cap restaurant fees at 15 percent", April 10,
2020, Eater San Francisco, available at: https:Hsf.eater.com/2020/4/10/21216546/san-francisco-delivery-cap-
doordash-grubhub-uber-eats-postmates-caviar.
134   See NYC Hospitality Alliance "Restaurant rescue & save nightlife plan", available at:
https:HthenycaIliance.org/information/updated-9-point-mitigation-and-support-plan (last viewed on April 27,
2020).
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        Case 20-4238, Document 41, 02/11/2021, 3035102, Page58 of 296
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1272 requires food, retail and commercial establishments to disclose the following information

in relation to delivery worker gratuities prior to the consumer placing an order:


        1.     The proportion or fixed amount of each gratuity that is distributed to the worker

               who delivered the goods purchased, including whether such gratuity is required to

               be shared with other workers;


       2.      How gratuities are distributed to delivery workers, whether immediately or

               otherwise, and in what form of payment, whether cash or otherwise; and


       3.      The amount of each gratuity that is used to compose each delivery worker's base

               wage.


       Where an establishment employs the services of athird-party delivery company, they are

required to provide the abovementioned information to such company to ensure compliance with

the gratuity disclosure requirements of this bill. New section 20-1273 prohibits establishments

and   third-party   delivery   companies   from providing    inaccurate   information   in   gratuity

disclosures. To prove accuracy and compliance,          subdivision b of this section requires

establishments and third-party delivery companies to maintain records demonstrating the gratuity

disclosure was provided to the customer and the content of such disclosure. Such records must be

maintained for three years for each customer transaction. The civil penalties for any violations of

this bill are between $250 and $1,000 for each violation. Each calendar day during which a

person is found to have violated this subchapter shall be considered aseparate violation, even if

such violation affects more than one customer. Civil penalties are recoverable at the Office of




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Administrative Trials and Hearings. If enacted, this local law would take effect 180 days after it

becomes law.


       Int. No. 1895

       This bill would require DOHMH to establish rules requiring restaurants to package food

destined for delivery in tamper-evident packaging to decrease the risk that food is tampered with

before reaching the customer. Violations would be punishable by acivil penalty of up to $100

for each violation.


       Int. No. 1896

       This bill would require that third-party delivery services, entities that provide restaurants

with online order and delivery services, disclose to consumers any commission, fees, or other

monetary payments imposed on participating restaurants, except that restaurants may decline the

disclosure of such information. Violations would be punishable by acivil penalty of not less than

$250 nor more than $1000 for each violation, which would accrue daily.

       Int. No. 1897

       This bill would require third-party delivery services, entities that provide restaurants with

online order and delivery services, to obtain a license in order to provide their service to

restaurants in the City. Application terms and fees would be determined by DCWP. The

department could refuse to issue or renew alicense, or suspend or revoke alicense, if the third-

party food delivery services violates the conditions of the license, including engaging in

misleading advertising or deceptive trade practices. Third-party delivery services who violate

license conditions may also be subject to penalties determined by the department.

       Int. No. 1898


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       The bill would prohibit third-party delivery services, entities that provide restaurants with

online order and delivery services, from charging restaurants for telephone orders with customers

that did not actually occur. Violations would be punishable by a civil penalty of not less than

$250 and not more than $1,000 for each prohibited action that affects arestaurant.

       Int. No. 1907

       This bill would prohibit third-party delivery services, entities that provide restaurants

with online order and delivery services, from limiting the menu prices restaurants may charge on

food and beverage orders. Violations of this prohibition would result in civil penalties of not less

than $1,000 per violation. Civil penalties would accrue for each day in violation.

       Proposed Int. No. 1908-A

       This bill would prohibit third-party food delivery services, entities that provide

restaurants with online order and delivery services, from charging restaurants more than a 10%

fee per order for the use of their service. During a declared emergency, when a state of

emergency is in effect in the city and restaurants are prohibited from offering food for

consumption on-premises, third-party food delivery services would be limited to charging

restaurants delivery fees only, up to atotal of 10% per order. All other types of fees, such as

advertising or processing fees, would be prohibited. Violations of these prohibitions would be

subject to civil penalties of not less than $1,000 per violation, with the amount determined by the

Commissioner of DCWP. Civil penalties would accrue for each day and for each restaurant

charged afee in violation of aprohibition.

       Int. No. 1914




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       This bill provides additional commercial tenant protections in the law by making

threatening a commercial tenant based on their status as a COVID-19 impacted business or

person aform of harassment punishable by acivil penalty of $10,000 to $50,000.

       Int. No. 1916

       Int. 1916 requires the Department of Consumer Affairs to waive all sidewalk cafe fees,

including consent fees, that are due on or after January 1, 2020 until December 31, 2020. If fees

were already paid, the Department is required to issue a full refund. If enacted, this bill takes

effect immediately and is retroactive to January 1, 2020.


       Int. No. 1921

       Int. 1921 creates a new subchapter 22 in chapter 5 of the Administrative Code titled

"THIRD-PARTY        FOOD      DELIVERY        SERVICES."       This   bill   requires   food   service

establishments and third-party food delivery services to display online the sanitary inspection

letter grades assigned by the Department of Health and Mental Hygiene. New section 20-845

sets out the relevant definitions. New section 20-846 requires third-party delivery services to

display sanitary inspection letter grades whenever afood service establishment appears in alist

of results from which aconsumer may select. The letter grades are also required to be displayed

whenever afood service establishment's menu or menu items are displayed to aconsumer. Food

service establishments that operate their own websites, mobile applications or other internet-

based services that offer online ordering capabilities are also required to display their sanitary

inspection grades. New section 20-847 creates apenalty of $100 per violation. Each failure to

display a letter grade assigned to a food service establishment in violation of this subchapter

shall be considered aseparate violation. If enacted, this bill takes effect one year after it becomes

law.
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       Int. No. 1932

       This bill would prohibit the enforcement of personal liability provisions in commercial

leases or rental agreements involving aCOVID-19 impacted tenant where the default or other

trigger event happened during the COVID-19 state of emergency. Threatening to or attempting

to enforce such aprovision would also be considered aform of harassment.

       Preconsidered Int. No.

       This bill requires the Mayor to publish guidance online listing all City licenses and

permits covered by section four of his Emergency Executive Order Number 107 issued on April

14, 2020. Such guidance would confirm exactly which licenses are not required to be renewed

during the COVID-19 state of emergency. This bill also requires the Mayor to publish guidance

on renewal dates and procedures for such licenses and permits no later than 14 days before the

state of emergency ends, with no renewal deadlines until 90 days after the emergency has ended.


       Res. No. 1049

       This resolution calls upon the United States Congress and the New York State

Legislature to pass legislation to prohibit the use of aconfession of judgment in business loans.

Confessions of judgment, which are documents some businesses sign as acondition of receiving

abusiness loan, can be used by alender to obtain ajudgement against aborrower for any unpaid

debts without any further notification. Although New York State has recently prohibited the use

of confessions of judgment for out-of-state businesses, they may still be used for New York

businesses, and confessions of judgment have been filed in New York courts since the onset of

the COVD-19 outbreak, when some businesses have been unable to make loan payments due to

closures or decreases in revenue.



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                                             Int. No. 1846

By Council Members Torres, Chin and Ayala

A Local Law to amend the administrative code of the city of New York, in relation to the
disclosure of gratuity policies for delivery workers

Be it enacted by the Council as follows:

       Section 1. Chapter 12 of title 20 of the administrative code of the city of New York is

amended by adding anew subchapter 7to read as follows:

                                             Subchapter 7

                                           Delivery Workers

       §20-1271 Definitions. As used in this subchapter, the following terms have the following

meanings:

       Base wage. The term "base wage" means money paid, whether by the hour or otherwise,

to adelivery worker by an employer in exchange for work performed, not including gratuities,

bonuses, allowances, shift differentials or other monetary payments that may contribute to such

worker's total compensation.

       Covered establishment. The term "covered establishment" means any food service

establishment, retail store or other commercial business that offers, in a single commercial

transaction over the internet, whether directly or through athird-party application, the sale and

same-day delivery of goods to customers from one or more retail locations within the city.

       Food   service   establishment.     The   term    "food   service   establishment"   means   any

establishment inspected pursuant to the restaurant grading program established pursuant to

subdivision aof section 81.51 of the health code of the city of New York.


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       Goods. The term "goods" means any merchandise, product or ware offered for sale,

including but not limited to food products, groceries, meals and non-food products.

       Gratuity. The term "gratuity" means a sum of money, paid voluntarily by a customer,

when or after ordering goods for delivery from acovered establishment, in addition to the price

of such goods and other mandatory charges such as taxes and fees, where such voluntary sum is

paid through a third-party application that allows the customer to choose the amount of the

voluntary sum and that refers to the sum as a gratuity or tip, or by another, similar name that

would suggest to areasonable person that the sum, or a substantial portion thereof, would be

received by the worker delivering the order in addition to the worker's base wage.

       Third-party application. The term "third-party application" means aperson who provides

awebsite, mobile application or other internet service that allows acustomer to order goods from

acovered establishment and arranges for the delivery of those goods to such customer.

         20-1272 Disclosure. a. Before or at the same time as a gratuity is solicited from a

customer in connection with the purchase and delivery of agood from acovered establishment

through a third-party application, such third-party application shall disclose the following

information, in plain and simple language and in aconspicuous manner, to such customer about

its policies and the policies of such covered establishment regarding gratuities for delivery

workers in connection with the delivery of purchased goods:

       1. The proportion or fixed amount of each gratuity that is distributed to the worker who

delivered the goods purchased, including whether such gratuity is required to be shared with

other workers;

       2. How gratuities are distributed to delivery workers, whether immediately or otherwise,




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and in what form of payment, whether cash or otherwise; and

       3. The amount of each gratuity that is used to compose each delivery worker's base wage.

       b. Each covered establishment shall provide such disclosure to each third-party

application through which such goods are being offered for delivery to customers to allow

compliance with subdivision a.

       § 20-1273 Accuracy of representations; recordkeeping. a. No covered establishment or

third-party application may misstate or misrepresent any information in the disclosure required

by section 20-1272.

       b. Such covered establishments and third-party applications shall maintain records

demonstrating the provision of such disclosure to customers, and substantiating all the

information therein, for three years from the date of each customer's transaction.

       §20-1274 Penalties. Any person that violates any provision of this subchapter or any rule

promulgated pursuant to this subchapter is liable for a civil penalty of not less than $250 nor

more than $1,000 for each violation. A proceeding to recover any civil penalty authorized

pursuant to this subchapter may be brought in any tribunal established within the office of

administrative trials and hearings or within any agency of the city designated to conduct such

proceedings. For the purposes of this section, each calendar day during which aperson is found

to have violated this subchapter shall be considered aseparate violation, even if such violation

affects more than one customer.

       § 2. This local law takes effect 180 days after it becomes law, except that the

commissioner of consumer affairs        shall take such measures      as   are necessary for the

implementation of this local law, including the promulgation of rules, before such date.


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                                           Int. No. 1895

By Council Members Gjonaj, Kallos, Constantinides, Brannan, Perkins, Louis and Ayala

A Local Law to amend the administrative code of the city of New York, in relation to food
service establishments' packaging of food for delivery

Be it enacted by the Council as follows:

       Section 1. Chapter 15 of title 17 of the administrative code of the city of New York is

amended by adding anew section 17 -1508 to read as follows:

       § 17 -1508 Packaging food for delivery. a. For purposes of this section, the term "tamper-

evident packaging" means apackage having one or more indicators or barriers to entry which, if

breached or missing, can reasonably be expected to provide visible evidence to consumers that

tampering has occurred.

       b. The department shall by rule establish standards and procedures to decrease the risk

that food packaged by food service establishments for delivery is tampered with in transit. Such

procedures may include, but need not be limited to, requiring food service establishments to use

tamper-evident packaging when packaging food for delivery.

       c.   The department shall by rule establish civil penalties          for any food service

establishment that does not meet the standards established pursuant to this section and the rules

promulgated hereunder. Such penalties shall not exceed $100 for each violation.

       §2. This local law takes effect 120 days after it becomes law, except that the department

shall take such measures as are necessary for implementation of section 17 -1508 of the

administrative code of the city of New York, as added by section one of this local law, including

the promulgation of rules, before such date.



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                                            Int. No. 1896

By Council Members Gjonaj, Kallos, Constantinides, Brannan, Gibson Perkins and Ayala

A Local Law to amend the administrative code of the city of New York, in relation to the
disclosure of commissions charged by third-party food delivery services

Be it enacted by the Council as follows:

       Section 1. Chapter 5 of title 20 of the administrative code of the city of New York is

amended by adding anew subchapter 22 to read as follows:

                                            Subchapter 22

                                Third Party Food Delivery Services

         20-845 Definitions. As used in this subchapter, the following terms have the following

meanings:

       Covered establishment. The term "covered establishment" means any food service

establishment that offers, in asingle commercial transaction over the internet, whether directly or

through athird-party application, the sale and same-day delivery of food to customers from one

or more retail locations within the city.

       Food service establishment. The term "food service establishment" has the same meaning

as provided in subdivision sof section 81.03 of the health code of the city of New York.

       Third-party food delivery service. The term "third-party food delivery service" means

any website, mobile application or other internet service that offers or arranges for the sale of

food and beverages prepared by, and the same-day delivery or same-day pickup of food and

beverages from, no fewer than 20 separately owned and operated food service establishments.

          20-846 Commission disclosure. a. When afinal price is disclosed to acustomer, and

before a transaction occurs, for the purchase and delivery food from a covered establishment


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through a third-party delivery service, such third-party delivery service shall disclose to such

customer, in plain and simple language and in aconspicuous manner, any commission, fee, or

any other monetary payment imposed by the third-party delivery service on such covered

establishment as aterm of a contract or agreement between the parties in connection with the

covered establishment utilizing the third-party delivery service.

       b. Any covered establishment may decline to disclose to customers the commission

charged by athird-party delivery service. If acovered establishment has declined to have such a

commission disclosed to customers, the requirement of subdivision a of this section shall not

apply with respect to such covered establishment.

       § 20-847 Penalties. Any person that violates any provision of this subchapter or any rule

promulgated pursuant to this subchapter is liable for a civil penalty of not less than $250 nor

more than $1,000 for each violation. A proceeding to recover any civil penalty authorized

pursuant to this subchapter may be brought in any tribunal established within the office of

administrative trials and hearings or within any agency of the city designated to conduct such

proceedim4s. For the purposes of this section, each calendar day during which aperson is found

to have violated this subchapter shall be considered aseparate violation, even if such violation

affects more than one customer.

       § 20-848 Injunctive relief. In addition to any other relief available by law, the

commissioner may seek any relief available under article 63 of the civil practice law and rules in

aproceeding against any person alleged to be in violation of any provision of this subchapter.

       §2. This local law takes effect 1year after it becomes law, except that the commissioner

of consumer affairs shall take such measures as are necessary for the implementation of this local

law, including the promulgation of rules, before such date.

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                                           Int. No. 1897

By Council Members Gjonaj, Constantinides, Brannan, Gibson, Perkins, Louis and Ayala

A Local Law to amend the administrative code of the city of New York, in relation to the
licensing of third-party food delivery services

Be it enacted by the Council as follows:

       Section 1. Chapter 2 of title 20 of the administrative code of the city of New York is

amended by adding anew subchapter 36 to read as follows:

                                               Subchapter 36

                                  Third-Party Food Delivery Services

         20-565 Definitions. As used in this subchapter, the following terms have the following

meanings:

       Food service establishment. The term "food service establishment" has the same meaning

as provided in subdivision sof section 81.03 of the health code of the city of New York.

       Third-party food delivery service. The term "third-party food delivery service" means

any website, mobile application or other internet service that offers or arranges for the sale of

food and beverages prepared by, and the same-day delivery or same-day pickup of food and

beverages from, no fewer than 20 separately owned and operated food service establishments.

         20-565.1 License required. It shall be unlawful for any person to operate athird-party

food delivery service without first having obtained a license thereof issued pursuant to this

subchapter.

       § 20-565.2 Application and fees. a. An application for any license required under this

subchapter or for any renewal thereof shall be made to the commissioner in such form or manner

as the commissioner shall prescribe by rule.


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       b. There shall be abiennial fee for alicense to operate athird-party food delivery service.

Such fee shall be no less than $500, as determined by the commissioner.

          20-565.3 Issuance of license. A license to operate athird-party food delivery service

shall be granted in accordance with the provisions of this subchapter and any rules promulgated

by the commissioner thereunder. The commissioner may refuse to issue to an applicant any

license required under this subchapter based upon a determination made after due notice and

opportunity to be heard that such applicant has engaged in conduct which would constitute a

basis for license suspension or revocation as set forth in section 20-565.4 of this subchapter.

         20-565.4 Renewal, suspension and revocation of license. In addition to any powers of

the commissioner and not in limitation thereof, the commissioner may, after due notice and

opportunity to be heard, refuse to renew any license required under this subchapter and may

suspend or revoke such license if the person holding such license, or, where applicable, any of its

officers, principals, directors, members, managers, employees, or stockholders owning more than

ten percent of the outstanding stock of the corporation, has been found to have:

       a. Repeated violation of any provision of this subchapter or any rules promulgated

thereunder; or

       b. Made amaterial false statement or concealed amaterial fact in connection with the

filing of any application pursuant to this subchapter or have been found to have committed fraud

or misrepresentation upon acustomer; or

       c. Engaged in untrue, misleading or deceptive advertising, or deceptive or unconscionable

trade practices as described in chapter five of title twenty of this code and any rules promulgated

thereunder; or




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        d. Not paid, within the time permitted by law, any civil penalty or judgment duly imposed

pursuant to the provisions of this subchapter or any rule promulgated thereunder.

        § 20-565.5 Penalties and enforcement. a. Any person who violates, or causes another

person to violate, a provision of this subchapter or any rule promulgated pursuant to such

subchapter, shall be guilty of an offense punishable by fines and civil penalties imposed by the

commissioner.

        b. A proceeding to recover any civil penalty pursuant to this section shall be commenced

by the service of a summons or notice of violation which shall be returnable to the office of

administrative trials and hearings.

        §2. This local law takes effect 1year after it becomes law, except that the commissioner

of consumer affairs shall take such measures as are necessary for the implementation of this local

law, including the promulgation of rules, before such date.


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2/21/20




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                                            Int. No. 1898

By Council Members Gjonaj, Moya, Constantinides, Brannan, Rosenthal, Gibson, Perkins, Louis
and Ayala

A Local Law to amend the administrative code of the city of New York, in relation to telephone
order charges by third-party food delivery services

Be it enacted by the Council as follows:

       Section 1. Chapter 5 of title 20 of the administrative code of the city of New York is

amended by adding anew subchapter 22 to read as follows:

                                            Subchapter 22

                                Third Party Food Delivery Services

       § 20-845 Definitions. As used in this subchapter, the following terms have the following

meanings:

       Covered establishment. The term "covered establishment" means any food service

establishment that offers, in asingle commercial transaction over the internet, whether directly or

through athird-party application, the sale and same-day delivery of food to customers from one

or more retail locations within the city.

       Food service establishment. The term "food service establishment" has the same meaning

as provided in subdivision sof section 81.03 of the health code of the city of New York.

       Third-party food delivery service. The term "third-party food delivery service" means

any website, mobile application or other internet service that offers or arranges for the sale of

food and beverages prepared by, and the same-day delivery or same-day pickup of food and

beverages from, no fewer than 20 separately owned and operated food service establishments.

          20-846 Telephone orders. No third-party delivery service may charge a commission

from acovered establishment for atelephone order that does not result in an actual transaction

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between the covered establishment and a customer during such telephone call, or that exceeds

the   established commission rate between       the third-party delivery   service   and covered

establishment.

        §20-847 Penalties. Any person that violates any provision of this subchapter or any rule

promulgated pursuant to this subchapter is liable for a civil penalty of not less than $250 nor

more than $1,000 for each violation. A proceeding to recover any civil penalty authorized

pursuant to this subchapter may be brought in any tribunal established within the office of

administrative trials and hearings or within any agency of the city designated to conduct such

proceedings. For the purposes of this section each instance in which aprohibited action affects a

covered establishment shall constitute aseparate violation.

        § 20-848 Injunctive relief. In addition to any other relief available by law, the

commissioner may seek any relief available under article 63 of the civil practice law and rules in

aproceeding against any person alleged to be in violation of any provision of this subchapter.

        §2. This local law takes effect 1year after it becomes law, except that the commissioner

of consumer affairs shall take such measures as are necessary for the implementation of this local

law, including the promulgation of rules, before such date.


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2/21/2020




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                                           Int. No. 1907

By Council Members Moya, Gjonaj, Brannan, Rosenthal, Gibson, Perkins, Louis and Ayala

A Local Law to amend the administrative code of the city of New York, in relation to prohibiting
third-party food delivery services from limiting the purchase prices covered establishments may
charge on food and beverage orders

Be it enacted by the Council as follows:

       Section 1. Chapter 5 of title 20 of the administrative code of the city of New York is

amended by adding anew subchapter 22 to read as follows:

                                              Subchapter 22

                                   Third-Party Food Delivery Services

       § 20-845 Definitions. For the purposes of this subchapter, the following terms have the

following meanings:

       Covered establishment. The term "covered establishment" means any food service

establishment that offers, in asingle commercial transaction over the internet, whether directly or

through athird-party food delivery service, the sale and same-day delivery of food to customers

from one or more retail locations within the city.

       Food service establishment. The term "food service establishment" has the same meaning

as provided in subdivision sof section 81.03 of the health code of the city of New York.

       Online order. The term "online order" means an order placed by a customer through a

platform provided by athird-party food delivery service.

       Purchase price. The term "purchase price" means the menu price of afood order from a

covered establishment. Such term therefore excludes taxes, gratuities and any other fees that may

make up the total cost to the customer of afood order.




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       Third-party food delivery service. The term "third-party food delivery service" means

any website, mobile application or other internet service that offers or arranges for the sale of

food and beverages prepared by, and the same-day delivery or same-day pickup of food and

beverages from, no fewer than 20 separately owned and operated food service establishments.

       § 20-846 Prohibited limits on purchase prices. It shall be unlawful for third-party food

delivery services to, by contract or any other means, impose on covered establishments any

requirement regarding the purchase prices that covered establishments may charge for food or

beverages ordered through such application or through any other means.

       §20-847 Penalties. Any person that violates any provision of this subchapter or any rule

promulgated pursuant to this subchapter shall be subject to acivil penalty of not less than $1,000

per violation. A proceedim4 to recover any civil penalty authorized pursuant to this subchapter

may be brought in any tribunal established within the office of administrative trials and hearings

or within any agency of the city designated to conduct such proceedings. For the purposes of this

section, each calendar day during which aperson is found to have violated this subchapter shall

be considered a separate violation, even if such violation affects more than one covered

establishment.

       § 20-848 Injunctive relief. In addition to any other relief available by law, the

commissioner may seek any relief available under article 63 of the civil practice law and rules in

aproceeding against any person alleged to be in violation of any provision of this subchapter.

       §2. This local law takes effect 1year after it becomes law, except that the commissioner

of consumer affairs shall take such measures as are necessary for the implementation of this local

law, including the promulgation of rules, before such date.


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                                    Proposed Int. No. 1908-A

By Council Members Moya, Gjonaj, Kallos, Brannan, Rosenthal, Gibson, Ayala, Van Bramer,
Rivera, Cohen, Perkins and Louis

A Local Law to amend the administrative code of the city of New York, in relation to fees
charged by third-party food delivery services

Be it enacted by the Council as follows:

       Section 1. Chapter 5 of title 20 of the administrative code of the city of New York is

amended by adding anew subchapter 22 to read as follows:

                                              Subchapter 22

                                   Third-Party Food Delivery Services

       § 20-845 Definitions. For the purposes of this subchapter, the following terms have the

following meanings:

       Covered establishment. The term "covered establishment" means any food service

establishment that offers, in asingle commercial transaction over the internet, whether directly or

through athird-party food delivery service, the sale and same-day delivery of food to customers

from one or more retail locations within the city.

       Declared emergency. The term "declared emergency" means any time during which a

state of emergency has been declared by the president of the United States, the governor of the

state of New York or the mayor of the city, and is in effect in the city, and during which all food

service establishments in the city are prohibited from providing food for consumption on-

premises.

       Delivery fee. The term "delivery fee" means afee charged by athird-party food delivery

service to cover the cost of providing acovered establishment with aservice that delivers food

from such establishment to customers. The term does not include any other fee that may be

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        Case 20-4238, Document 41, 02/11/2021, 3035102, Page81 of 296
                                  A-1965


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charged by athird-party food delivery service to acovered establishment, such as fees for listing

or advertising the covered establishment on the third-party food delivery service platform or fees

related to processing the online order.

       Food service establishment. The term "food service establishment" has the same meaning

as provided in subdivision sof section 81.03 of the health code of the city of New York.

       Online order. The term "online order" means an order placed by a customer through a

platform provided by athird-party food delivery service.

       Purchase price. The term "purchase price" means the menu price of an online order. Such

term does not include taxes, gratuities and any other fees that may make up the total cost to the

customer of an online order.

       Third-party food delivery service. The term "third-party food delivery service" means

any website, mobile application or other internet service that offers or arranges for the sale of

food and beverages prepared by, and the same-day delivery or same-day pickup of food and

beverages from, no fewer than 20 separately owned and operated food service establishments.

       § 20-846 Service fees. a. It shall be unlawful for athird-party food delivery service to

charge acovered establishment afee for the use of their service that totals more than 10% of the

purchase price of each online order.

       b. Subdivision aof this section notwithstanding, during adeclared emergency it shall be

unlawful for any third-party food delivery service to charge acovered establishment adelivery

fee that totals more than 10% of the purchase price of each online order, and it shall be unlawful

during such declared emergency for a third-party food delivery service to charge a covered

establishment any fee for the use of their services other than adelivery fee.




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        § 20-847 Penalties. Any person that violates any provision of this subchapter or any rule

promulgated pursuant to this subchapter shall be subject to acivil penalty of not less than $1,000

per violation, with the exact amount determined by arule promulgated by the commissioner of

consumer affairs. Violations shall accrue on a daily basis for each day and for each covered

establishment charged afee in violation of this subchapter or any rule promulgated pursuant to

this subchapter. A proceeding to recover any civil penalty authorized pursuant to this subchapter

may be brought in any tribunal established within the office of administrative trials and hearings

or within any agency of the city designated to conduct such proceedings.

        § 20-848 Injunctive relief. In addition to any other relief available by law, the

commissioner may seek any relief available under article 63 of the civil practice law and rules in

aproceeding against any person alleged to be in violation of any provision of this subchapter.

        §2. This local law takes effect immediately.


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LS #9163
4/20/20 10:30 AM




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        Case 20-4238, Document 41, 02/11/2021, 3035102, Page83 of 296
                                  A-1967


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                                            Int. No. 1914

By Council Members Adams, the Speaker (Council Member Johnson), Kallos, Van Bramer,
Chin, Louis and Ayala

A Local Law to amend the administrative code of the city of New York, in relation to harassment
of commercial tenants impacted by COVID-19

Be it enacted by the Council as follows:

        Section 1. Paragraph 11 of subdivision aof section 22-902 of the administrative code of

the city of New York, as added by local law number 185 for the year 2019, is amended to read as

follows:

        11. threatening a commercial tenant based on (i) such person's actual or perceived age,

race, creed, color, national origin, gender, disability, marital status, partnership status, caregiver

status, uniformed service, sexual orientation, alienage or citizenship status, status as avictim of

domestic violence[,] or status as a victim of sex offenses or stalking, or (ii) the commercial

tenant's status as a person or business impacted by COVID-19, or the commercial tenant's

receipt of arent concession or forbearance for any rent owed during the COVID-19 period;

provided that for the purposes of this paragraph:

       (a) the term "COVID-19 period" means March 7, 2020 through the later of (i) the end of

the first month that commences after the expiration of the moratorium on enforcement of

evictions of residential and commercial tenants set forth in executive order number 202.8, as

issued by the governor on March 20, 2020 and thereafter extended, (ii) the end of the first month

that commences after the expiration of the moratorium on certain residential evictions set forth in

section 4024 of the coronavirus aid, relief, and economic security, or CARES, act and any

subsequent amendments to such section or (iii) September 30, 2020, inclusive;




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                                 A-1968


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       (b) aperson is "impacted by COVID-19" if such person experienced one or more of the

following situations:

       (1) the person was diagnosed with COVID-19 or is experiencing symptoms of COVID-

19 and seeking amedical diagnosis; provided that for the purposes of this subparagraph, the term

"COVID-19" means the 2019 novel coronavirus or 2019-nCoV;

       (2) amember of the person's household was diagnosed with COVID-19;

       (3) the person was providing care for a family member or a member of the person's

household who was diagnosed with COVID-19;

       (4) a member of the person's household for whom the person had primary caregiving

responsibility was unable to attend school or another facility that was closed as adirect result of

the COVID-19 state disaster emergency and such school or facility care was required for the

person to work; provided that for the purposes of this subparagraph, the term "COVID-19 state

disaster emergency" means the state disaster emergency declared by the governor in executive

order number 202 issued on March 7, 2020;

       (5) the person was unable to reach their place of business because of a quarantine

imposed as adirect result of the COVID-19 state disaster emergency;

       (6) the person was unable to reach their place of business because the person had been

advised by ahealth care provider to self-quarantine due to concerns related to COVID-19;

       (7) the person became the breadwinner or major supporter for ahousehold because the

head of the household died as adirect result of COVID-19;

       (8) the person's business is closed as a direct result of the COVID-19 state disaster

emergency; and




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                                 A-1969


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       (c) abusiness is "impacted by COVID-19" if (i) it was subject to seating, occupancy or

on-premises service limitations pursuant to an executive order issue by the governor or mayor

during the COVID-19 period or (ii) its revenues during any three-month period within the

COVID-19 period were less than 50 percent of its revenues for the same period in 2019 or less

than 50 percent of its aggregate revenues for the months of December 2019, January 2019 and

February 2020;

       §2. This local law takes effect immediately.


LS #14764
4/20/20 4:37PM




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        Case 20-4238, Document 41, 02/11/2021, 3035102, Page86 of 296
                                  A-1970


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                                             Int. No. 1916


By Council Members Cohen, Chin, Powers, Yeger, Louis and Ayala

A Local Law in relation to requiring the department of consumer affairs to waive and refund all
fees related to sidewalk cafe licenses that are due on or after January 1, 2020 until December 31,
2020, and providing for the repeal of such provision upon the expiration thereof

Be it enacted by the Council as follows:

        Section 1. Emergency waiver of sidewalk cafe fees. a. Notwithstanding any inconsistent

provision of law or rule, the department of consumer affairs shall waive all fees related to

sidewalk cafe licenses issued pursuant to subchapter 6 of chapter 2 of title 20 of the

administrative code, including, but not limited to, revocable consent fees, for which the payment

due date falls on or after January 1, 2020 until December 31, 2020. The department shall issue

refunds for all sidewalk cafe license fees paid by licensees on or after January 1, 2020 until

December 31, 2020.

        b. This section does not apply to new sidewalk cafe license applications filed with the

department of consumer affairs on or after March 30, 2020.

        c. The department shall have the authority to promulgate any rules necessary to

administer the provisions of this section.

        § 2. This local law takes effect immediately and is retroactive to and deemed to have

been in effect as of January 1, 2020.

         §3. This local law expires and is deemed repealed on January 1, 2021.

BAM
LS #14484
3/31/2020 6:08 p.m.




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       Case 20-4238, Document 41, 02/11/2021, 3035102, Page87 of 296
                                 A-1971


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                                           Int. No. 1921

By Council Members Gjonaj, Louis, Powers, Cohen and Ayala

A Local Law to amend the administrative code of the city of New York, in relation to requiring
third-party food delivery services and food service establishments to display sanitary inspection
letter grades online

Be it enacted by the Council as follows:

       Section 1. Chapter 5 of title 20 of the administrative code of the city of New York is

amended by adding anew subchapter 22 to read as follows:

                                              Subchapter 22

                           THIRD-PARTY FOOD DELIVERY SERVICES

       § 20-845 Definitions. For the purposes of this subchapter, the following terms have the

following meanings:

       Food service establishment. The term "food service establishment" has the same meaning

as provided in subdivision sof section 81.03 of the health code of the city of New York.

       Letter grade. The term "letter grade" means the sanitary inspection grade issued by the

department of health and mental hygiene pursuant to section 81.51 of the health code of the city

of New York.

       Menu. The term "menu" means awritten list of the names or images of afood item or

items and the prices of such items, that is the primary writing of afood service establishment

from which aperson makes an order selection.

       Menu item. The term "menu item" means any food item that acustomer may select for

purchase from afood service establishment.




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        Case 20-4238, Document 41, 02/11/2021, 3035102, Page88 of 296
                                  A-1972


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       Online order. The term "online order" means an order placed by acustomer through a

platform provided by athird-party food delivery service or afood service establishment.

       Third-party food delivery service. The term "third-party food delivery service" means

any website, mobile application or other internet service that offers or arranges for the sale of

food and beverages prepared by, and the same-day delivery or same-day pickup of food and

beverages from, no fewer than 20 separately owned and operated food service establishments.

         20-846 Display of letter grades required. a. Every third-party food delivery service shall

display the letter grade assigned to each food service establishment in aconspicuous manner to

persons using such service. Such letter grade shall be displayed adjacent to the name of each

food service establishment whenever such name appears on alist of food service establishments

that can be selected by aperson to make an online order. Such letter grade shall also be displayed

conspicuously whenever the menu or menu items of afood service establishment are displayed

for selection by persons using such service.

       b. Every food service establishment that operates awebsite, mobile application or other

internet service that offers or arranges for the sale of food and beverages prepared by, and the

same-day delivery or same-day pickup of food and beverages from such food service

establishment, shall conspicuously and prominently post its letter grade on such website, mobile

application or other internet service.

       c. The department may establish by rule additional requirements relating to the display of

such letter grades.

       §20-847 Penalties. Any person that violates any provision of this subchapter or any rule

promulgated pursuant to this subchapter shall be subject to acivil penalty of not less than $100




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        Case 20-4238, Document 41, 02/11/2021, 3035102, Page89 of 296
                                  A-1973


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per violation. A proceedim4 to recover any civil penalty authorized pursuant to this subchapter

may be brought in any tribunal established within the office of administrative trials and hearings

or within any agency of the city designated to conduct such proceedings. For the purposes of this

section, each failure to display aletter grade assigned to afood service establishment in violation

of this subchapter shall be considered aseparate violation.

§2. This local law takes effect 1year after it becomes law, except that the commissioner of
consumer affairs shall take such measures as are necessary for the implementation of this local
law, including the promulgation of rules, before such date.



BAM
LS #13959
2/28/20




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        Case 20-4238, Document 41, 02/11/2021, 3035102, Page90 of 296
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                                           Int. No. 1932

By Council Member Rivera, the Speaker (Council Member Johnson), Kallos, Van Bramer,
Rosenthal, Chin and Ayala

A Local Law to amend the administrative code of the city of New York, in relation to personal
liability provisions of leases for commercial tenants impacted by COVID-19

Be it enacted by the Council as follows:

        Section 1. Chapter 10 of title 22 of the administrative code of the city of New York is

amended by adding anew section 22-1004 to read as follows:

             22-1004. Personal liability provisions in commercial leases. a. Definitions. For the

purposes of this section, the following terms have the following meanings:

       COVID-19. The term "COVID-19" means the 2019 novel coronavirus or 2019-nCoV.

       COVID-19 period. The term "COVID-19 period" means March 7, 2020 through the later

of (i) the end of the first month that commences after the expiration of the moratorium on

enforcement of evictions of residential and commercial tenants set forth in executive order

number 202.8, as issued by the governor on March 20, 2020 and thereafter extended, (ii) the end

of the first month that commences after the expiration of the moratorium on certain residential

evictions set forth in section 4024 of the coronavirus aid, relief, and economic security, or

CARES, act and any subsequent amendments to such section or (iii) September 30, 2020,

inclusive.

       COVID-19 state disaster emergency. The term "COVID-19 state disaster emergency"

means the state disaster emergency declared by the governor in executive order number 202

issued on March 7, 2020.

       Impacted by COVID-19. The term "impacted by COVID-19" means:




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                                 A-1975


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       1. With respect to an individual, that the individual experienced one or more of the

following situations:

       (a) the individual was diagnosed with COVID-19 or is experiencing symptoms of

COVID-19 and seeking amedical diagnosis;

       (b) amember of the individual's household was diagnosed with COVID-19;

       (c) the individual was providing care for a family member or a member of the

individual's household who was diagnosed with COVID-19;

       (d) amember of the individual's household for whom the person had primary caregiving

responsibility was unable to attend school or another facility that was closed as adirect result of

the COVID-19 state disaster emergency and such school or facility care was required for the

person to work;

       (e) the individual was unable to reach their place of business because of aquarantine

imposed as adirect result of the COVID-19 state disaster emergency;

       (f) the individual was unable to reach their place of business because of the person had

been advised by ahealth care provider to self-quarantine due to concerns related to COVID-19;

        (g) the individual became the breadwinner or major support for ahousehold because the

head of the household died as adirect result of COVID-19; or

        (h) the individual's business closed as a direct result of the COVID-19 state disaster

emergency.

       2. With respect to abusiness, that (i) the business was subject to seating, occupancy or

on-premises service limitations pursuant to an executive order issued by the governor or mayor

during the COVID-19 period or (ii) the revenues of the business during any three-month period

within the COVID-19 period were less than 50 percent of its revenues for the same period in

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       Case 20-4238, Document 41, 02/11/2021, 3035102, Page92 of 296
                                 A-1976


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2019 or less than 50 percent of its aggregate revenues for the months of December 2019, January

2019, and February 2020.

       Personal liability provision. The term "personal liability provision" means, with respect

to acommercial lease or other rental agreement involving real property and to which abusiness

is a party as tenant, a term that provides for an individual to become wholly or partially

personally liable for an obligation of such business arising under such lease or agreement upon

the occurrence of adefault or other event.

       b. No personal liability provision of a commercial lease or other rental agreement

involving real property and to which abusiness impacted by COVID-19 is aparty as tenant may

be enforced against an individual where the default or other event allowing for such enforcement

occurs during the COVID-19 period.

       §2. Subdivision aof section 22-902 of the administrative code of the city of New York,

as amended by local law number 185 for the year 2019, is amended to read as follows:

       a. A landlord shall not engage in commercial tenant harassment. Except as provided in

subdivision b of this section, commercial tenant harassment is any act or omission by or on

behalf of a landlord that (i) would reasonably cause a commercial tenant to vacate covered

property, or to surrender or waive any rights under alease or other rental agreement or under

applicable law in relation to such covered property, and (ii) includes one or more of the

following:

       1. using force against or making express or implied threats that force will be used against

acommercial tenant or such tenant's invitee;

       2. causing repeated interruptions or discontinuances of one or more essential services;




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                                  A-1977


       Case 1:20-cv-05301-RA           Document 38-43       Filed 08/12/20     Page 72 of 79




       3. causing an interruption or discontinuance of an essential service for an extended period

of time;

       4. causing an interruption or discontinuance of an essential service where such

interruption or discontinuance substantially interferes with acommercial tenant's business;

       5. repeatedly commencing frivolous court proceedings against acommercial tenant;

       6. removing from acovered property any personal property belonging to acommercial

tenant or such tenant's invitee;

       7. removing the door at the entrance to a covered property occupied by a commercial

tenant; removing, plugging or otherwise rendering the lock on such entrance door inoperable; or

changing the lock on such entrance door without supplying a key to the new lock to the

commercial tenant occupying the covered property;

        8. preventing a commercial tenant or such tenant's invitee from entering a covered

property occupied by such tenant;

       9.     substantially interfering with a commercial tenant's business by commencing

unnecessary construction or repairs on or near covered property; [or]

           10. engaging in any other repeated or enduring acts or omissions that substantially

interfere with the operation of acommercial tenant's business;

           11. threatening acommercial tenant based on such person's actual or perceived age, race,

creed, color, national origin, gender, disability, marital status, partnership status, caregiver status,

uniformed service, sexual orientation, alienage or citizenship status, status as a victim of

domestic violence, status as avictim of sex offenses or stalking;




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                                  A-1978


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        12. requesting identifying documentation that would disclose the citizenship status of a

commercial tenant, an invitee of acommercial tenant or any person seeking entry to the covered

property in order to patronize such commercial tenant; [or]

        13. unreasonably refusing to cooperate with atenant's permitted repairs or construction

activities[.], or

        14. threatening to or implementing apersonal liability provision that is not enforceable

pursuant to section 22-1004 of the code; provided that for the purposes of this paragraph:

        (a) the term "COVID-19 period" means March 7, 2020 through the later of (i) the end of

the first month that commences after the expiration of the moratorium on enforcement of

evictions of residential and commercial tenants set forth in executive order number 202.8, as

issued by the governor on March 20, 2020 and thereafter extended, (ii) the end of the first month

that commences after the expiration of the moratorium on certain residential evictions set forth in

section 4024 of the coronavirus aid, relief, and economic security, or CARES, act and any

subsequent amendments to such section or (iii) September 30, 2020, inclusive;

        (b) aperson is "impacted by COVID-19" if such person experienced one or more of the

following situations:

        (1) the person was diagnosed with COVID-19 or is experiencing symptoms of COVID-

19 and seeking amedical diagnosis; provided that for the purposes of this subparagraph, the term

"COVID-19" means the 2019 novel coronavirus or 2019-nCoV;

        (2) amember of the person's household was diagnosed with COVID-19;

        (3) the person was providing care for a family member or a member of the person's

household who was diagnosed with COVID-19;




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       (4) a member of the person's household for whom the person had primary caregiving

responsibility was unable to attend school or another facility that was closed as adirect result of

the COVID-19 state disaster emergency and such school or facility care was required for the

person to work; provided that for the purposes of this subparagraph, the term "COVID-19 state

disaster emergency" means the state disaster emergency declared by the governor in executive

order number 202 issued on March 7, 2020;

       (5) the person was unable to reach the person's place of business because of aquarantine

imposed as adirect result of the COVID-19 state disaster emergency;

       (6) the person was unable to reach the person's place of business because the person had

been advised by ahealth care provider to self-quarantine due to concerns related to COVID-19;

        (7) the person became the breadwinner or major support for ahousehold because the

head of the household died as adirect result of COVID-19; or

        (8) the person's business is closed as a direct result of the COVID-19 state disaster

emergency;

       (c) abusiness is "impacted by COVID-19" if (i) it was subject to seating, occupancy or

on-premises service limitations pursuant to an executive order issued by the governor or mayor

during the COVID-19 period or (ii) its revenues during any three-month period within the

COVID-19 period were less than 50 percent of its revenues for the same period in 2019 or less

than 50 percent of its aggregate revenues for the months of December 2019, January 2019, and

February 2020; and

       (d) the term "personal liability provision" has the meaning set forth in section 22-1004 of

the code;

       §3. This local law takes effect immediately.
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                                 A-1980


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LS # 14817
4/20/20 4:31PM




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                                 A-1981


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                                     Preconsidered Int. No.


By Council Member Matteo

A Local Law in relation to requiring the mayor to issue aguidance on license and permit renewal
deadline extensions, and requiring that no such licenses or permits be required to be renewed
within 90 days after the COVID-19 emergency has ended, and providing for the repeal of such
provision upon the expiration thereof

Be it enacted by the Council as follows:

       Section 1. Emergency extension of renewal deadlines for licenses and permits due to

COVID-19. a. The mayor or his designee shall publish guidance that includes alist of all city

licenses and permits covered by section 4of the mayor's emergency executive order number 107

for the year 2020. Such guidance shall be published online no later than 14 days after the

enactment of this local law.

       b. The mayor or his designee shall update the guidance published pursuant to subdivision

ato include information about renewal procedures and deadlines for such licenses and permits

and shall publish such updated guidance online no later than 14 days prior to the end of the

emergency declared by the mayor's executive order number 98 for the year 2020, as such order

may be extended. A failure to publish such guidance shall not limit the mayor's authority to end

the emergency declared by the mayor's executive order number 98 for the year 2020, as such

order may be extended.

       c. No city license or permit covered by section 4 of the mayor's emergency executive

order number 107 for the year 2020 shall be required to be renewed during the COVID-19 state

of emergency and for aperiod of 90 days after such emergency has ended.

       d. For the purposes of this local law, the term "COVID-19 state of emergency" means the

period of time from the effective date of this local law until the state of emergency declared


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pursuant to the governor's executive order number 202 for the year 2020, as such order may be

extended, and the mayor's executive order number 98 for the year 2020, as such order may be

extended, have both expired with respect to the city of New York.

        §2. This local law takes effect immediately and expires and is deemed repealed 100 days

after the COVID-19 state of emergency has ended.

BAM
LS #14873
4/23/2020 12:00 p.m.




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                                 A-1983


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                                            Res. No. 1049

Resolution calling upon the United States Congress and the New York State Legislature to pass
legislation to prohibit the use of aconfession of judgment in business loans.

By the Public Advocate (Mr. Williams) and Council Members Levin, Cabrera and Louis

       Whereas, There are currently 11,938 active taxicab medallions operating in New York

City; and

       Whereas, Many medallions owners take out business loans to finance the purchase of

their vehicles; and

       Whereas, Some of the business loans that medallion owners take out include adocument

known as a"confession of judgment," where the borrower waives the right to due process if the

debt is unpaid and there is adispute; and

       Whereas, Once signed, a"confession of judgment" can be used by the lender to obtain a

judgment against the borrower without any further notification; and

       Whereas, The Federal government currently has prohibitions on the use of confessions of

judgment in consumer loans, but not for business loans; and

       Whereas, The United States Federal Trade Commission has recently called for the

elimination of confessions of judgment in small business lending contracts; and

       Whereas, Many states have also banned confessions of judgment practices for business

loans, but New York State does not prohibit them; and

       Whereas, A recent New York Times expose revealed that "confession of judgment"

documents may have been used by lenders to influence some borrowers applying for taxi

medallion loans; and


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          Whereas, According to the New York Times, some of the documents they reviewed show

that some medallion borrowers admitted to defaulting on their loans even before the loan was

approved; and

          Whereas, A "confession of judgment" can be used by banks and other lending institutions

as adocument in predatory lending practices, aloophole that should be closed; now, therefore,

be it

          Resolved, That the Council of the City of New York calls upon the United States

Congress and the New York State Legislature to pass legislation to prohibit the use of a

confession of judgment in business loans.


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RA
7/18/2019




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  Comptroller Stringer: City Must
  Take Immediate Action to
  Prepare For Economic Impacts of
  COVI D-19 and Protect Vital
  Services for Most Vulnerable New
  Yorkers
  MARCH 16, 2020




  Stringer Calls for City to Identify $1.4 Billion in Potential Savings to
  Protect the Social Safety Net and Ensure Non-Interruption of Vital
  Services

  Comptroller's Analysis Estimates $3.2 Billion in Lost Tax Revenues
  before Q2 FY 2021

  Proposes Additional City, State and Federal Measures To Assist
  Businesses Most Impacted

  (New York, NY) — Today, New York City Comptroller Scott M. Stringer released a new
  analysis of the economic impact of COVID-19 on New York City, including significaft
  projected losses in the entertainment, hotel, restaurant, travel, and tourism sectors.




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  The Comptroller's analysis estimates that downturns in these key, revenue-generating
  sectors could conservatively cost the City $3.2 billion in lost tax revenues over the next
  six months. To preserve the social safety net and protect vital services for our most
  vulnerable New Yorkers, Comptroller Stringer is calling for the City to immediately
  identify potential savings, suggesting atarget of 4 percent of City tax levy-funded
  agency spending with exceptions for social service agencies, DOHMH, and NYC H+H —
  adding up to approximately $1.4 billion. The savings should be included in the Mayor's
  Executive Budget due later next month if economic conditions continue to warrant
  action. Comptroller Stringer also proposed additional City, State and Federal
  measures to assist businesses most impacted by the loss of economic activity.


  "As we brace for the economic fallout of the COVID-19 pandemic, we must protect our
  children, our seniors, our small businesses, and the arts and cultural organizations
  that are core to our economy and our identity as acity," said Comptroller Stringer.
  "We're facing the possibility of aprolonged recession — we need to save now, before
  it's too late, if we're going to weather the downturn ahead. Once again, I'm urging the
  City to immediately instruct all City agencies to identify savings in their City tax levy-
  funded budgets, with certain exceptions for vital public health and social services, to
  be included in the Mayor's Executive Budget.The vital services for our most vulnerable
  populations and institutions during lean times will depend on prudent, responsible
  budgeting today, as will the level of relief we as aCity can help to deliver to the hotel,
  restaurant, entertainment, social service and retail workers who are bearing the brunt
  of this crisis. Istand ready to facilitate and assist our City's response to this emergency
  with any powers within my authority."


  Overview of COVID-19 Economic Impact
  The forecast of tax revenue losses is based on the following assumptions:


    •Hotels are projected at 20 percent occupancy for the rest of this Fiscal Year (June
      30th), with gradual recovery through the first quarter of FY 2021.

    •Restaurant sales are projected to decline by 80 percent; real estate sales by 20
       percent; and retail sales by 20 percent.

    •The Comptroller's analysis estimates that downturns in these key, revenue-
      generating sectors will cost the City $3.2 billion in lost tax revenues before Q2 FY
      2021.                                                                                  It




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  Most private economic forecasters believe the possibility of arecession is growing
  daily and currently stands at a50 percent likelihood. The Office of the Comptroller will
  continue to monitor economic activity and tax receipts daily and revise our forecasts
  as circumstances dictate.


  The City Must Manage the Budget More Aggressively to Address the Growing
  Risks
  The Comptroller is recommending that:


    •City agencies should immediately identify savings equivalent to 4 percent of City
      tax levy-funded spending as of the FY 2021 Preliminary Budget. Social services
      agencies, including the Human Resources Administration, the Department of
       Homeless Services, and the Administration for Children's Services, should be
      subject to a2percent savings target.

    •The Department of Health and Mental Hygiene and NYC Health +Hospitals should
       be exempted due to their role in the COVID-19 relief efforts.

    •These potential savings, which add up to an estimated $1.43 billion on an annual
       basis, should be included in the Executive Budget next month.


  Additional City, State and Federal Measures To Assist Businesses Most Impacted
  By the Loss of Economic Activity:


    •The State should defer sales tax payments due March 20th for hotels, restaurants,
      and small storefront retail.

    •The City Department of Small Business Services (SBS) should extend the
      assistance program announced last week to non-profits, particularly in the arts
      and culture sectors.

    •SBS may need to expand the scope and scale of the assistance if the evolving
       economic situation warrants it.

    •The City should waive all small business fines and fees starting immediately.

    •The Federal government should include an emergency small business grant
       program like that created after 9/11 for Lower Manhattan in the next emergency
       legislative package.




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    •Other measures, such as deferring other tax payments, should be reviewed and
       implemented as justified by developments.


  On March 15th, Comptroller Stringer also called on the City to provide contractual
  relief to social services providers and non-profit organizations experiencing depressed
  client participation rates and decreased attendance due to COVID-19, experiencing
  difficulty paying their staff, rent, and utility bills, and realizing they will not meet the
  unit of service requirements established in their contracts with the City.


  To stabilize the sector and ensure non-profits will remain able to serve New Yorkers
  through this crisis, Comptroller Stringer urged the Administration to hold providers
  harmless for missed contract deliverables that are directly attributable to COVID-19.


  To read Comptroller Stringer's letter to the Administration on supporting non-profit
  organizations, click here (https://comptroller.nyc.gov/wp-
  content/uploads/2020/03/Ltr-to-Fuleihan-3.15.20.pdf).




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        To assess the economic impact of the coronavirus to date, the
        National Restaurant Association conducted asurvey of more
        than 6,500 restaurant operators nationwide, April 10-16. Here
        are the results for New York State:




                  O-       Hof operators nationwide say existing

                       0 restaurant layoffs.
                            federal relief will NOT prevent more
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               HOW ARE SMALL BUSINESSES ADJUSTING TO COVID-19?
                       EARLY EVIDENCE FROM A SURVEY

                                      Alexander W. Bartik
                                       Marianne Bertrand
                                         Zoe B. Cullen
                                       Edward L. Glaeser
                                         Michael Luca
                                     Christopher T. Stanton

                                     Working Paper 26989
                              http://www.nber.org/papers/w26989



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                                      April 2020




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research. Further information is available online at http://www.nber.org/papers/w26989.ack

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How Are Small Businesses Adjusting to COVID-19? Early Evidence from aSurvey
Alexander W. Bartik, Marianne Bertrand, Zoe B. Cullen, Edward L. Glaeser, Michael Luca,
and Christopher T. Stanton
NBER Working Paper No. 26989
April 2020
JEL No. E65,112020,L20

                                         ABSTRACT

In addition to its impact on public health, COVID-19 has had amajor impact on the economy. To
shed light on how COVID-19 is affecting small businesses — and on the likely impact of the
recent stimulus bill, we conducted asurvey of more than 5,800 small businesses. Several main
themes emerge from the results. First, mass layoffs and closures have already occurred. In our
sample, 43 percent of businesses are temporarily closed, and businesses have — on average —
reduced their employee counts by 40 percent relative to January. Second, consistent with previous
literature, we find that many small businesses are financially fragile. For example, the median
business has more than $10,000 in monthly expenses and less than one month of cash on hand.
Third, businesses have widely varying beliefs about the likely duration of COVID related
disruptions. Fourth, the majority of businesses planned to seek funding through the CARES act.
However, many anticipated problems with accessing the aid, such as bureaucratic hassles and
difficulties establishing eligibility.

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1.   Introduction


        How are America's small businesses navigating the economic disruptions resulting from

COVID-19, and how will the CARES Act affect their decisions and future prospects? To explore

these questions, we conducted asurvey of more than 5,800 small businesses that were members

of the Alignable business network. The survey focused on assessing (1) the current level of

financial fragility among small businesses, (2) the extent to which small businesses have already

temporarily closed and laid off employees, (3) expectations about how long the crisis will last -

and how this is affecting business decisions, and (4) decisions about whether to seek funding

through the CARES Act, and how this will impact layoff and closure decisions. In this short

note, we present the survey results and themes that emerge.

        Overall, our results suggest that the pandemic has already caused massive dislocation

among small businesses. While businesses' beliefs about the duration of the crisis vary widely,

the median business owner expects the dislocation to last well into mid-summer. Businesses are

adjusting in avariety of ways, and over seventy percent of respondents anticipate taking

advantage of aid when asked about aprogram that resembles the Paycheck Protection Program

(PPP) that is part of the CARES act. Moreover, they expect this funding to influence other

business decisions —including layoff decisions and staying in business altogether. At the same

time, many businesses were reluctant to apply for funding through the CARES Act because of

concerns about administrative complexity and eligibility.

        This note proceeds as follows. Section 2discusses the survey design. Section 3discusses

the characteristics of the firms that responded to the survey and their representativeness. Our

survey was conducted through Alignable, anetwork of 4.6 million small businesses, and was

included as alink in aMarch 26, 2020 email to their members. We received 7,511 responses

during the first week, which represents approximately one-tenth of Alignable's members who

responded to aquick reaction one or two question survey distributed around the same time. After

restricting to firm owners located in the United States, we are left with 5,819 responses. The size

distribution of the firms in our sample roughly matches the size distribution of firms in the 2017

Census of US Businesses with fewer than 500 employees. The geographic spread looks similar

to the spread across the United States, although California is somewhat over represented. Our

sample is likely to be disproportionately technology savvy because it is drawn from the ranks of



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members of adigital business network. The voluntary nature of the survey may also have

attracted businesses that experienced agreater impact of COVID-19.

       In Section 4, we explore the current and expected impacts of COVID-19 on these

businesses. Three themes emerge in this section. First, our results suggest disruptions have

already been extreme. Across the sample as awhole, 43 percent of businesses have temporarily

closed and nearly all of these closures are due to COVID. This response seems far more extreme

than the economic effects of the 1918 inluenza epidemic found by Barro, Ursua and Weng

(2020) and Garrett (2007, 2008). Respondents that have closed temporarily largely point to

reductions in demand and employee health concerns. Disruptions in the supply chain have been

less of aconcern so far. On average, the businesses report having reduced their employees by 40

percent since January. The decline is particularly sharp in the Mid-Atlantic region (which

includes New York City), where 54 percent of firms are closed and employment is down by 47

percent. Impacts also vary across industries, with retail, arts and entertainment, personal services,

food services, and hospitality businesses all reporting employment declines exceeding 50

percent. Finance, professional services, and real estate related businesses have seen less

disruption.

        Second, our results suggest that many businesses are financially fragile. The median firm

with expenses over $10,000 per month has only enough cash on hand to last for two weeks.

Three-quarters of respondents state that they only have enough cash on hand to cover two

months of expenses or less. Parsa et al. (2005) also note the fragility of small restaurants.    Firms

with more cash on hand are relatively more optimistic that they will remain open at the end of

the year. Third, beliefs about the likely duration of the crisis vary widely. Fifty percent of

respondents believe that the crisis will last at least until the middle of June, suggesting that many

businesses expect this to extend well beyond their current cash.

       In Section 5, we present results from amodule of the survey that experimentally varies

policy proposals, allowing us to explore responses to policies such as the recently passed

CARES Act. The firms' limited cash on hand suggests that there will be robust demand for

Federally-subsidized aid or business loans. Indeed, more than seventy percent of the respondents

expressed interest in ahypothetical program with features resembling the PPP aid. Yet alarge

number of respondents also anticipated problems with accessing the aid, citing issues such as

bureaucratic hassles and difficulties establishing eligibility. Part of this module also allows a


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counterfactual evaluation of astraight loan policy, which is astylized representation of

traditional SBA disaster relief programs. While the more generous CARES Act does improve

take-up and business outcomes, traditional loans with speedy delivery and sufficient liquidity are

also found to meaningfully shift business owners' expectations about survival even in the face of

lower take-up rates.

        Section 6considers survival rate differences across industries, and how this depends on

the duration of the crisis. In-person industries like personal services or retail report much lower

prospects for riding out the pandemic than professional services or other sectors with minimal

need for face-to-face contact. Unsurprisingly, the longer the crisis last, the lower the probability

that firms ascribe to their reopening after the crisis. If the crisis lasts 4months instead of I

month, only 47% of businesses expect to be open in December compared to 72% under the

shorter duration.

        Section 7concludes. The COVID-19 crisis represents aonce-in-a-generation crisis for

America's small businesses, especially those that specialize in face-to-face service. One fifth of

America's workers labor in retail trade, leisure and hospitality and these sectors are particularly

vulnerable to the current pandemic.

       There is little precedent for the ongoing economic disruptions resulting from the COVID-

19 crisis. Our survey documents the enormous disruption that is already occurring and the

limited financial resources that small businesses have to weather this storm. Our results suggest

that the implementation details of the CARES Act loans are likely to play an important role in

ensuring the medium-term solvency of small businesses. The impact of the CARES Act is also

likely to depend on the extent to which lenders prioritize simplicity of the sign-up process,

transparency of eligibility and repayment rules, and speed of accessing cash.




2. Survey Design and Details


       Our survey was sent out in partnership with Alignable, which is anetwork-based

platform focused on the small business ecosystem. Alignable enables businesses to share

knowledge and interact with one another, and currently has anetwork of 4.6 million small

businesses across North America. Much of the network growth has been organic, with little

outside marketing.

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          Alignable also regularly sends out polls (which they call "pulse surveys") to users. At the

end of aregular pulse-survey, participants who took that poll received an email inviting them to

participate in amore comprehensive survey being conducted by researchers at Harvard Business

School. Appendix Ishows the message seen by respondents who clicked on the link. Participants

were shown adisclosure statement and consent protocol. No payments were offered;

participation was completely voluntary.

          We received 7,511 responses within the first week. 5,819 of these can be traced back to

U.S. based businesses, which is the relevant sample for understanding policy. While the 7,511

responses represents asmall fraction (.017 percent) of Alignable's total membership, it

represents amuch larger share of Alignable's membership that has engaged with their weekly

pulse surveys on COVID-19. Alignable estimates that 50,000-70,000 members are taking these

pulse surveys weekly, which suggests a10 -15 percent conversion rate relative to these more

active respondents.

          Our sample, therefore, is selected in three ways: (1) they are firms that have chosen to

join Alignable, (2) they are Alignable firms that have chosen to stay actively engaged taking

surveys, and (3) they are the set of firms that are active within Alignable that chose to answer our

survey.    Consequently, there are many reasons to be cautious when extrapolating to the entire

universe of America's small businesses. We will discuss their representativeness based on

observable attributes in the next section of this report.

          The survey included atotal of 43 questions, with basic information about firm

characteristics (including firm-size and industry), questions about the current response to the

COVID-19 crisis, and beliefs about the future course of the crisis. Some questions were only

displayed based on skip logic, so most participants responded to fewer questions. The survey

also includes an experimental module that randomized between respondents to understand how

different federal policies might impact these firms' behavior and survival as the crisis unfolds.

Specifically, we experimentally varied some of the descriptions of potential policies across the

sample to shed light on the potential impact of different policies. We will discuss that module

more thoroughly in Section V. A further experimental module included between-respondent

randomization exploring decisions under different hypothetical durations of the crisis.



3.   Firm Characteristics and Representativeness



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       The survey contains three baseline questions which enable us to assess the

representativeness of the sample along observable dimensions: number of employees, typical

expenses (as of January 31, 2020), and share of expenses that go towards payroll. We are also

able to get rough information about geolocation to asses representativeness by state.

       We compare our data with data on businesses from the 2017 Census of US Businesses,

using the publicly available statistics published by the US Census Bureau. The underlying data is

drawn from the County Business Patterns sampling frame and covers establishments with paid

employees, including sole-proprietorships. The Census data captures large and small businesses

alike, but for our comparisons, we will look only at businesses with fewer than 500 employees.

       The Alignable network allows users to share customer leads, which could potentially

skew our sample towards retail and service businesses that interact directly with consumers. As

retail businesses are particularly vulnerable to COVID-19 disruptions, that could lead our sample

to overstate the aggregate dislocation created by the crisis. However, as we discuss later, our data

on industry mix suggests that the sample does represent awide swath of America's smaller

businesses. Naturally, industries dominated by large firms, such as manufacturing, are under-

represented.

       Figure Ishows the size distribution of our sample and the size distribution of businesses

with fewer than 500 employees in the Economic Census. The match of employment sizes is

reassuring. About 64 percent of the businesses in our sample have fewer than five employees,

while about 60 percent of the firms in the Economic Census are that small. About 18 percent of

businesses in both samples have between 5and 9employees. The survey becomes less well

matched to the Census among the larger employment groupings, and we believe that our survey

will capture the experience of larger employers with less accuracy.

       While our survey does not allow for an apples-to-apples comparison of payroll expenses

with Census data, we constructed arough comparison by approximating payroll expenses for the

Alignable firms from categorical questions about monthly expenses and the share of these

expenses going toward payroll. The Census provides annual payroll expenses for W2 employees.

To get asense of the match, we compared our estimated monthly payroll expenses in our sample

with one-twelfth of annual expenses in the U.S. Census. To facilitate comparison, we divide by




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an estimate of total employment.' Figure 2shows the size distribution of monthly estimated

payroll expenses in our sample and acomparable breakdown for the Census using aper-capita

adjustment. The match is imperfect, especially for larger firms. The discrepancy might reflect the

under-representation of manufacturing or professional services firms in our sample, which are

among the highest paying of all 2digit NAICS sectors in the Census data. Appendix Table 1

provides further detail on the industry match to the Census.

        Figure 3shows the geographic scope of our sample. The Alignable sample draws

particularly from California, the New York region, Florida, and Texas. The sample is notably

sparse in America's western heartland. That distribution is qualitatively similar to the

distribution of smaller businesses in the Economic Census.

        Figure 4shows the share of our sample coming the 10 most populous states.                   The figure

also includes the share of small establishments in the Economic Census that are within each

state. For example, California has 14.4 percent of our Alignable survey sample, 12.5 percent of

small businesses in the Census data and 11.52 percent of total U.S. population. Our sample does

overrepresent the coasts and underrepresents Illinois.

        Overall, while the sample captured by the survey has limitations and may not be an

imperfect snapshot for certain pockets of America's small businesses, the sample allows for

important insight into the overall small business ecosystem. The sample is large and includes

firms from most major industry groups, states, and firm-size categories.



4.   Responses to the COVID-19 Pandemic and Lockdown


        We now turn to our main results, which we group into three categories. First, we describe

the current impact of COVID-19 on business operations and employment. Second, we report our

results on the financial fragility of those businesses, as captured by their cash on hand and

ongoing expenses. Third, we turn to their expectations about the duration of the crisis and their

own economic survival.

Temporary Closings and Employment

        We begin by asking owners whether their business is currently operational. We allowed

owners to respond that the business was operational, temporarily closed, or permanently closed.


zThis comparison is very likely to include different "headcount"   as we do not disambiguate between W2 and 1099
employment in the survey.

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We also allowed them to report whether the business was closed because of COVID-19 or

because of some other reason.'

           Across the sample, 41.4 percent of businesses reported that they were temporarily closed

because of COVID-19. Afar smaller number — 1.8 percent —reported that they were

permanently closed because of the pandemic. By contrast, only 1.3 percent reported that they

were temporarily closed for other reasons. 55.4 percent report that they were still operational.

           We also asked the businesses owners to fill in amatrix that contained the number of both

full time and part time employees that were employed by the firm now and as of January 31,

2020. Over the entire sample, the number of full-time employees had fallen by 32 percent. The

number of part-time employees was 56 percent lower than it had been at the end of January.

These results include businesses that have temporarily closed. If we look only at businesses that

are still operating, we find that the number of total fulltime employees has fallen by 17.5 percent.

The number of part-time employees has declined by 36 percent. Overall employment has

declined significantly, totaling only 60% of January headcount.

           Table 1shows our results across the eleven Census Division and displays the share of

businesses that had temporarily closed because of COVID-19 and the reduction in total

employment between January 31 and today. The results are not meaningfully different if we

separate out full time or part time employees. While there is regional heterogeneity, the picture is

fairly bleak almost everywhere.

           The Mid-Atlantic division has the sharpest decreases in employment and the largest share

of firms that have temporarily suspended operations. Fifty-four percent of firms in that region are

now closed, and employment has fallen by an average of 47 percent. The Mountain region is the

least effected, but even there 39 percent of firms have temporarily closed and employment has

declined by 32 percent.

           Tables 2and 3display the same breakdown by firm size and industry. Smaller firms with

fewer than 20 employees in January are more likely to be closed. Firms with between 6and 19

January employees have the largest employment reductions. Across industries, in-person retail




3   We did not attempt to assess the quality of firm management, as in Bloom et al. (2013). We hope that future
surveys will test when quality of management helps protect firms against closure during this crisis. This crisis also
presents an opportunity to understanding managerial decision-making under stress, as discussed by Bazerman and
Moore (1994).

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and services businesses have declined precipitously. Although hard hit, the impact is not as

extreme for professional services firms, banking and finance, real estate, or construction.

           Table 4shows the problems that firms are facing by their current operational status.                   We

asked owners to rate on a1to 100 scale the problems that they are having with employee illness,

supply chains and customer demand. The scale had both numerical values, and also atext label

that went from "Not aconcern" at one end to "Extremely disruptive" at the other end. We

differentiate between firms that are open, temporarily closed and permanently closed, and we

show the share of firms in each category that indicate significant difficulties in each of these

areas.

           On average, firms rated the disruptions resulting from supply chain challenges to be 35

out of the 100-point scale (which is in the "slightly disruptive" part of the scale). Concerns about

employee health were more prominent of aconcern, with firms rating it as 57 out of 100 in terms

of importance (which maps to "somewhat disruptive"). Reductions in demand were even more

disruptive, with firms rating the importance of this to be 78 out of 100 (extremely disruptive).

While closed firms noted worse disruptions due to demand, the basic ranking of the problem

areas was consistent across types of firms. This suggests that supply chain problems have thus

far been less pronounced, relative to disruptions resulting from demand shocks and concerns

about employee health.

           Altogether, these results suggest that avast number of enterprises have temporarily shut

down and laid off workers. We now ask whether these firms have the resources to weather the

crisis over the months ahead.



Financial Fragility

           To measure financial fragility, we asked the respondents "roughly how much cash (e.g. in

savings, checking) do you have access to without seeking further loans or money from family or

friends to pay for your business?" We then divided this amount by their January 31 monthly

expenses to understand how long they could maintain operations without seeking extra credit. 4




4   We did not collect information about access to lines of credit or outside borrowing, but given the severity of the
contraction in demand those credit facilities may be unlikely to remain accessible without agovernment
guarantee.

                                                            9
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        Figure 5shows ahistogram of cash available as amultiple of January 31, 2020 monthly

expenses. Approximately one-fourth of firms have cash on hand totaling less than one month's

worth of expenses. About one-half of firms have enough cash on hand to cover between one and

two months of expenses.

        Figure 6sorts firms by January 31, 2020 monthly expenses and then tabulates the mean

and median cash on hand relative to pre-crisis expenses. The median firm with under $10,000 in

monthly expenses has one month of cash on hand. For all higher spending level, the median firm

typically has less than 15 days of cash based on their pre-crisis expense levels. These firms just

do not have cash on hand to meet their regular expenses.

        These limited levels of cash on hand readily explain why layoffs and shutdowns have

been so prevalent. Absent these actions, it is hard to understand how these firms could have met

payroll. Moreover, it is hard to imagine how the firms that are still open are going to survive

without laying off their existing workers, at least without an infusion of more credit.



Predicting the Path cf the Crisis

        Finally, we ask the firms to predict how long the COVID-19 crisis will last and whether

they will be open again at the end of 2020.   To predict the end of the crisis, we asked the survey

respondents what was "the most likely date" when the crisis would be over. We also asked them

their confidence about this data on aone to ten scale.

        Figure 7shows the distribution of expected end dates. The figure shows that roughly

one-fifth of respondents believe that the crisis will be over by the end of May.   Another thirty

percent of respondents believe that the crisis will end between the end of May and the start of

July. Almost one half of the firms answered that they thought that the crisis would still be going

at the start of the July.

        However, the firms were not particularly confident about their answers. 50 percent of

respondents reported their confidence level as five or less on the one to ten scale. Sixteen

percent gave their confidence atwo or less. Their uncertainty seems appropriate given the

uncertainty that is present throughout the world.

        Figure 8shows the histogram of responses about whether they will be open on December

31, 2020. Overall, more than ninety percent thought it is at least somewhat likely that they

would be open. More than 64 percent reported that it is very or extremely likely that they would


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be open—which we later use as ameasure of the probability of being open. A growing literature

has found entrepreneurs to be overoptimistic about their prospects (see, for example, Bazerman

and Moore 1994). This suggests that true survival rates may be even lower.

        The firms with more cash on hand were more confident about their future, as evidenced

by the split based on whether the firm has more or less cash on hand (relative to usual monthly

expenses) than the median in our sample. Forty-nine percent of those firms with more than the

median cash on hand thought that it was extremely like that they would be open at the end of the

year. Thirty-two percent of firms with less cash on hand than the median thought that they

would be open. One interpretation of these fact is that liquidity generates confidence in the

ability to survive this crisis. Among firms at least 20 employees, 70% expressed that they were

very or extremely likely to survive, which may indicate greater access to outside resources

despite having ahigher expense base.

        Figure 9shows the share of firms that think that they are "very likely" or "extremely

likely" to be open varies based on their belief about the duration of the crisis. The firms that

think that the crisis will be short also believe that they are more likely to survive. Those who

believe in alonger crisis are more pessimistic.



5.   Anticipated Responses to CARES Act Programs


         In this section, we discuss the survey's questions about take-up of the CARES Act

Paycheck Protection Program (PPP) loans and their expected impact on employment. One

important aspect of the CARES program is that "loans that will be fully forgiven when used for

payroll costs, interest on mortgages, rent, and utilities," as long as 75 percent of the forgiven

amount is spent on payroll and the employer either maintains or quickly rehires workers and

maintains salary levels (https://home.treasury.gov/system/files/136/PPP%20--

%200verview.pdf). Consequently, asignificant portion of the "loans" can be seen as agrant

rather than traditional debt.

         The high level of loan forgiveness means that this represents alarge potential transfer to

small businesses, and we tried to assess the importance of the grant component of the CARES

loans relative to apure (and far less expensive) loan program.    One-third of the survey

respondents were randomly asked about their interest in aCARES-like program, which was

describe as aloan program which "will be forgiven by the amount spent on payroll, lease, rent,

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mortgage, and utility payments in the 8weeks after origination." One-third of the respondents

were randomly asked about their interest in aloan program that was otherwise identical but

without prompting any possibility of forgiveness.' As part of the display, the amount of

liquidity was varied, with the caveat to respondents that these policies may not be the actual

policies currently available to them. This was designed to measure how program generosity

affects take-up and perceived business resilience.

           Figure 10 shows the expected take-up of the two programs (and the exact details of the

question wording). Seventy-two percent of respondents who were told about the loans with

forgiveness said that they would like to take them up.               Fifty-nine percent of respondents were

interested in taking up the loan program without forgiveness. While there is substantial

interest in the credit on its own, there was significantly more interest in the loans with

forgiveness.

           A primary reason to forgives loans is that such asubsidy might do more to maintain

employment and keep businesses open. We therefore re-asked businesses to project their

likelihood of being open and their expectations about employment after we told them about

the loan programs. Figures 11 and 12 also show the expected probability of being open and the

expected employment (relative to January 2020 employment) for the two groups of

respondents.

           Before they were told about the policies, both groups expected that their employment

would be 40 percent lower in December 2020 than it had been in January 2020. After the

respondents were told about the CARES-like loans, they projected that their employment

would decline by only six percent. The respondents who were told about loans without

forgiveness predicted that their employment levels would fall by fourteen percent. We are

unable to distinguish precisely whether it is the conditional nature of the PPP program or the

more favorable credit terms that drive these differences.

           The results when we ask firms about their expectations of remaining in business next

December are similar. Before being told about the loans, the businesses thought that they had a



5   Because there was significant policy uncertainty at the time of the survey, one third of respondents were also
asked about apotential policy that focused on aid that could only be used for payroll. This policy became less
relevant after the details of the CARES act emerged.

                                                           12
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62-63 percent chance of being open in December. The probability rose to 81 percent among

those who were told about the standard loans. The projected chance of survival increased to 85

percent for the businesses who were informed about the PPP loans that came with forgiveness.

Again, the flow of credit seems important, but forgiveness did have astatistically significant

impact on the expectation of staying in business.

        Why would businesses not take the aid that comes with such generous forgiveness terms?

Figure 13 asks the 28 percent of firms that said that they would not take aCARES-like loan why

they would turn down such agenerous offer.              The most common response, given by 35 percent

of refusers, is that they did not need the cash, which suggests that one-tenth of our sample truly

feels confident with their financial security. 6

        A significant number of those who said that they wouldn't take the CARES assistance

cited other concerns. Thirty percent of these respondents said that they didn't think that they

would qualify. Nearly twenty percent said that they didn't trust the government to forgive the

debt. Over one-tenth thought that it would be too much of ahassle. These results suggest that

clarity about the program and astreamlined process will be crucial if the governments wants to

ensure ahigh take-up rate.

        We also randomly informed survey recipients about the changes in unemployment

insurance under the CARES act.          We found that informing employers about the increased

generosity of unemployment insurance was associated with lower employment projection in

December 2020, among those businesses that were told about the CARES-like loans.

Information about unemployment insurance had no impact on the expected probability of

remaining open. More work is needed to understand how interactions between programs may

influence economic outcomes.



6.   Industry Differences in Response to Crisis Duration


        COVID-19 disruptions do not affect all businesses equally. Some are deemed essential

and remain open, while others have been forcibly shut. Some businesses are able to reduce




6 Those who report their intention not to take-up the program due to having sufficient cash have amedian of 3.5

months of cash on hand. Those who express other reasons for lack of take-up have amedian of 1month of cash.



                                                        13
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contagion among employees through ashift to remote work while other businesses prove ill-

equipped for the transition. For avariety of reasons related to both the underlying nature of the

business and management capacity, COVID-19 poses an existential threat to some and not

others.

          Disparities between businesses appear most stark when we measure their resilience to

extended durations of the pandemic.      In our survey, we ask the following hypothetical: "We

want to understand how the duration of the COVID-19 disruptions might change your answers.

Suppose that most COVID-19 disruptions continue for X months, what is the likelihood of your

business remaining operational by Dec. 31, 2020? Please provide your best guess." We

randomize the duration to be 1month, 4months or 6months, and offer respondents a5-point

scale ranging from extremely unlikely to extremely likely. As before, we transform this answer

into abinary outcome of likely or unlikely to remain open for ease of exposition.

          In Table 5we display the responses to this question by industry.   When firms are told to

expect aone-month crisis, the expectation of remaining open by the end of the year hovers

around 70 percent across all industries with the exception of Arts and Entertainment, and

Personal Services. In those industries, the expectation of remaining open drops to 65 and 57

percent respectively.

          When firms are told to expect asix-month crisis, the average expectation of remaining

open falls to 38 percent, and there is significant heterogeneity between sectors. The expected

survival probability for firms in Arts and Entertainment drops precipitously to 45 percent if the

crisis lasts 4months, and 35 percent if the crisis lasts 6months. The expected probability of

being open for Personal Services firms fall to 22 percent if the crisis lasts six months.

          The restaurant industry seems particularly vulnerable to along crisis. Restaurateurs

believe that they have a72 percent chance of survival if the crisis lasts one month, but if the

crisis lasts four months, then they give themselves only a30 percent chance of survival. If the

crisis lasts for six months, then they expect to survive with only a15 percent probability.

Likewise, the chance of survival for firms in tourism and lodging drops to 27 percent by the 6-

month mark. Meanwhile, Banking and Finance, Real Estate and Professional Services say that

they will be able to weather extended disruptions far better than these more exposed sectors.




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        These results suggest that the damage to our economy and its network of small businesses

will be far larger if the crisis lasts for many months.   This suggests large economic benefits for

policies that can safely lead to reopening the economy quickly.




7. Conclusion

        Small businesses employ almost fifty percent of American workers. Yet, our results

underscore the financial fragility of many small businesses, and how deeply affected they are by

the current crisis. In our sample, which is skewed toward retail sales, we found that 43 percent of

businesses were temporarily closed and that employment has fallen by 40 percent. This

represents ashock to America's small firms that has little parallel since the 1930s. Our results

suggest that many of these firms have little cash on hand, which means that they will either have

to dramatically cut expenses, take on additional debt, or declare bankruptcy. This highlights the

ways in which the immediacy of new funding might impact medium term outcomes.

        Small businesses' responses to our survey suggest that many are likely to fail absent

assistance. As of the last week in March 2020, 38 of businesses viewed it as unlikely or only

somewhat likely that they would be open as of the end of 2020. While optimism increased when

they were informed about the CARES loan program, it is unclear whether the CARES act will

enable most of America's small businesses to survive —or whether beliefs about its impact are

overly optimistic.

        The results also highlight the importance of well-designed and sustained economic and

public health policy measures. Three policy-relevant results of our survey stand out. First, more

than 13 percent of respondents say that they do not expect to take out CARES Act PPP loans

because of the application hassle, distrust that the federal government will forgive the loans, or

worry about complicated eligibility rules. Streamlining the application process and clarifying the

eligibility criterion and loan forgiveness rules might, therefore, increase the take-up right for

loans. Second, firms in particularly exposed industries -such as restaurants, tourism, and

personal services -project that they will find it extremely difficult to stay in business if the crisis

lasts for longer than four months. These suggest large economic benefits from any policies that

can safely shorten the economic shutdown (e.g. through stronger short-term containment

policies). Third, if we extrapolate the 72 percent of businesses who indicate they would take up

the CARES PPP loans to all US small businesses and assume that all businesses take out the

                                                  15
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maximum loan size (2.5 months of expenses), the total volume of loans would be approximately

$410 billion, somewhat beyond the $349 billion allocated in the CARES act right now .7



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Appendix

Appendix 1: Initial message shown to respondents

        Thank you in advance for your participation in our survey!

        Academics from Harvard University and the University of Chicago are looking to
        better understand the impact the coronavirus is having on the local business
        ecosystem —and what can be done to help local businesses. We hope that it will
        help to communicate your current needs to policymakers.



        Please share your truthful and considered views. Your individual answers will be
        completely confidential.

        Sincerely,
        Zoe Cullen and Chris Stanton
        Professors of Business Administration
        Harvard Business School


 Monthly payroll in the 2017 Census data for businesses under 500 employees totaled 226 billion dollars.

                                                       16
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                                                                Tables and Figures




                          .6-
   Share of Total Firms




                          4-




                          2-




                          0-
                                        <5                5-9                  10-19              20-99       100-499

                                                                      Census             Survey

                                Sample size is 4865 and does not include 954 responses with missing employment data.


                                             Figure 1: FIRM SIZE IN THE SURVEY AND CENSUS

This figure plots the share of firms in each employment category for the 2017 Census of US Businesses and
the survey respondents.




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                              A-2012


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                                  6-
   Average Payroll per Employee




                                  4-




                                  2-




                                  0-
                                               <5                5-9                 10-19              20-99       100-499

                                                                            Census             Survey

                                       Sample size is 4865 and does not include 954 responses with missing employment data.


                                  Figure 2: AVERAGE PER CAPITA PAYROLL ($ 1000S) IN THE SURVEY AND CENSUS

This figure plots per-employee payroll in thousands of dollars by firm size for the 2017 Census of US
Businesses aggregates and the survey respondents. The Census data only reports annual payroll for W2
workers and the number of firms in a cell. To calculate payroll for the survey firms, we take the midpoint
of categorical answers for monthly expenses, multiply by the fraction of expenses going toward payroll and
divided by total employees (we cannot distinguish between W2 employees and contractors).




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                              A-2013


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                                         Proportion of Firms by State




                                                                                         M 0.031 -0.143
                                                                                         M 0.018 -0.031
                                                                                         ❑ 0.010 -0.018
                                                                                         ❑ 0.006 -0.010
                                                                                         ❑ 0.003 -0.006
                                                                                         ❑ 0.001 -0.003


                                     Figure 3:   COVERAGE BY STATE

This figure plots shares of survey responses across different states.




                                                      19
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                              A-2014


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   Share of Total Firms




                          05-




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                                                                                                                 1ra




                                                                              Census Share
                                                                              Survey Share

                                Omits responses with missing location data.



                                            Figure 4: FIRM SIZE IN THE SURVEY AND CENSUS

This figure plots the share of firms in each state for the 2017 Census of US Businesses and the survey
respondents.




                                                                       20
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                              A-2015


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                               Histogram of Approximate Months of Cash Available




    0
    U
    W




        0
         <1month                1-2 Months
                                                          J1
                                                       3-6 months           6months to 1year        > 1year
                                                   Months of Cash

           N=4184



                                      Figure 5: M ONTHS OF CASH


This figure plots firms' months of cash available as a multiple of January 2020 expenses. We compute this
measure by taking the midpoint of categorical responses for the amount of cash on hand and divide by the
midpoint of the categorical response for typical monthly expenses prior to the crisis.




                                                     21
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                              A-2016


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         4-




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         2—
    C
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              w 9 S10-   •yo ti5•   gti5 50-     X40 •5•      ,cc•   ySc•      3cc•   -10,51-10-
                                                                                           cc-




                                                           Mean       Median




    Figure 6: MEAN AND MEDIAN MONTHS OF CASH SPLIT BY MONTHLY EXPENSES                             $OOOS




This figure plots means and medians of the months of cash available measure across the distribution of
typical monthly expenses.




                                                            22
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                              A-2017


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                             Fraction Who Believe Crisis Will End Before Each Date




    0
    U
   W




                                                                      I
        Apri 1, 2020                                           October 1, 2020

                                                        Date



                        Figure 7: CDF OF EXPECTED COVID END DATE

This figure plots the distribution function across respondents for the expected end date of COVID related
disruptions .




                                                   23
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                              A-2018


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                                                Likelihood of Being Open on Dec 31, 2020

                           .5-



                           .4-
   Fraction of Responses




                           .3-



                           .2-



                           .
                           I-



                           0-



                           A0


                                                            Months of Cash <- Median
                                                            Months of Cash >Median




                             Figure 8: LIKELIHOOD OF REMAINING OPEN OR RE- OPENING BY DECEMBER


This figure displays the frequency of answers to aquestion about the likelihood of being open in December,
2020. Responses are split by whether firms have above median cash on hand relative to typical expenses..




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                              A-2019


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                                                               Beliefs about Remaining Open and Crisis Duration
                                   1—
   Open in December and 95% CI




                                        0   n     0   a
                                                           0
                                                                a     0    0

                                  6-                                                            0
                                                                                           0               a
                                                                                                     n
                                                                                      n                                  o
                                                                                  0                                                        0
                                                                                                                 0   a
                                  4-




                                  2-




                                  0-
                                                                      T                              T                         7
                                 April 1, 2020                   July 1, 2020                  October 1, 2020           January 1, 2021

                                                                                Forecast Crisis End Date




Figure 9: LIKELIHOOD OF REMAINING OPEN OR RE-OPENING BY DECEMBER, 2020 AS A FUNC-
TION OF BELIEFS ABOUT                                     COVID FIND DATE


This figure plots the likelihood of being open in December, 2020 as a function of respondents' expected
COVID end date.                                  Averages are plotted and the shaded region is the confidence interval.        The opening
likelihood is computed as the share of respondents who answered "Extremely likely" or "Very likely."




                                                                                      25
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                              A-2020


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        .75-




         .5-




        .25-




         0-

               0I                    2                         4                 6                  8
                                   Borrowing Base as aMultiple of Monthly Expenses

                                               Straight Loan            CARES Act

               Sample size is 2621 and pooled t-stat on difference between policies is 6.99.


Figure 10: DIFFERENCES IN POLICY TAKE-UP ACROSS LOANS VERSUS CARES ACT PPP PRO-
GRAM SPLIT SY HYPOTHETICAL LIMITS ON BORROWING AMOUNT


This figure displays policy take-up rates for loans versus the stylized Paycheck Protection Program policy
using a between subjects design. The borrowing base was also randomized between subjects as a multiple
of typical monthly expenses prior to the crisis. The text displayed for the PPP program was:       "Imagine
a policy where the government allows you to borrow up to [borrowing base] times your typical monthly
expenses without posting any collateral. You could use this money to cover any of your business expenses.
The loan will be forgiven by the amount spent on payroll, lease, rent, mortgage, and utility payments in the
8 weeks after origination (you can consider this amount to be a grant). The remainder of the loan (that is
not spent on these items) will have deferred payments for 1year. After that, the loan would have an annual
interest rate of 4% (deferred for 1year) and you would have up to 10 years to repay the loan. For example,
if you borrow $50,000 and you have no qualifying expenses to offset the loan, the required monthly payment
starting 1year from today would be $506 per month for 10 years. If you borrow $50,000 and spend $40,000
to pay your employees during the first 8 weeks, you will have 10 years to pay the remaining $10,000 with
monthly payments of $102." Subjects in the loan condition saw the text: "Imagine the government offers a
loan allowing you to borrow up to [borrowing base] times your typical monthly expenses without posting
any collateral. You could use this money to cover any of your business expenses. The loan would have an
annual interest rate equivalent of 4% and principal and interest payments would be deferred for 1year. You
would have up to 10 years to repay the loan. For example, if you borrow $50,000, the required monthly
payment starting 1year from today would be $506 per month for 10 years." Pooled means for the loan and
CARES act are 0.59 and 0.72, respectively.



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                           75 -
   Open in December 2020




                           .5 -




                           25-




                            0




                                                      Borrowing Base as aMultiple of Monthly Expenses

                                                                  Straight Loan            CARES Act


                                  Sample size is 2561 and pooled t-stat on difference between policies is 2.86.


Figure 11:                        DIFFERENCES IN POLICY EFFECTS ON THE PROPENSITY TO REMAIN OPEN IN DE-

CEMBER OF                          2020, SPLIT SY HYPOTHETICAL LIMITS ON BORROWING AMOUNT

This figure plots differences in the propensity to remain open under different policies.                          The measure is
computed using afollow-up question after policy information displayed, using the fraction that chose "Very
likely" or "Extremely likely" to be open in December of 2020. See notes for Figure 10 for additional detail
about the policy display. Pooled means for the loan and CARES act are 0.805 and 0.848, respectively.




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                                                                                                              I
   December over January Employment




                                      75-




                                      .5-




                                      25 -




                                       0-
                                              I
                                             0                     2                         4                 6
                                                                 Borrowing Base as aMultiple of Monthly Expenses

                                                                             Straight Loan            CARES Act

                                             Sample size is 2350 and pooled t-stat on difference between policies is 2.43.


Figure 12: DIFFERENCES IN POLICY EFFECTS ON RELATIVE EMPLOYMENT BETWEEN DECEMBER
AND JANUARY

This figure plots differences in the ratio of relative employment between December 2020 and January 2020
under different policies. The December 2020 employment measure is computed using a follow-up question
after policy information displayed. See notes for Figure 10 for additional detail about the policy display.
Pooled means for the loan and CARES act are 0.86 and 0.94, respectively.




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                                                                                       Reasons for Not Applying for Loan


                  Ido not need any extra cash


                         Prefer other assistance
                                 (not incl. debt)


                           Idon't think Iqualify


                            Idon't trust the gov't
                              to forgive the loan


                                         It's ahassle


                     COVID will last too long
                                     to repay

                            Idon't trust the bank
                              to forgive the loan


                       Iwon't recieve $in time



                                                       0%                           10%                       20%         30%        40%
  N= 382. Respondents could select more than one option; perecentages need not sum to 100.
  50% of respondents selected an additional reason not displayed or filled in the free text entry for other




               Figure 13:           REASONS FOR NOT USING THE RESOURCES IN THE SENATE BILL

This figure contains the frequency of responses for reasons that respondents would not take-up aid under the
CARES Act policy condition. 383 respondents indicated they would not use the policy and 382 answered
this question.




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                           Table 1: SUMMARY M EASURES ACROSS REGIONS

                                 Currently       Exp Closed    Weeks COVID      Current v Jan
                                   Closed         December        Will Last      Employment
                                Mean      SD     Mean   SD     Mean      SD     Mean      SD
          East North Central     .449     .498   .353   .478    14.7    10.2     .68      .38
          East South Central     .414     .494   .368   .484    16.1    11.4     .57     .49
          Mid Atlantic           .541     .499   .372   .484    14.6    10.03    .53     .45
          Mountain               .388     .488   .348   .477     16     11.34    .68     .38
          New England            .473      .5    .325   .469    16.6    10.19    .55     .49
          South Atlantic         .455     .498   .371   .483    15.4    10.7     .55     .48
          Pacific                .413     .493   .378   .485    15.5    10.33    .63      .45
          West North Central     .43      .496   .349   .478    15.7    10.84    .66      .41
          West South Central     .404     .491   .389   .488    15.1    11.06    .68      .43
          Total                  .446     .497   .366   .482    15.38   10.57     .6      .45
          Populated Obs.        4969             4069           4170            4362


Notes. This table reports breakdowns by regions. There are 16 observations with unknown region. Note
that the Currently Closed column includes both temporary and permanent closures.       The measure Exp
Closed December comes from aquestion asking about the likelihood of being open in December and closure
is based off abinary indicator for those marking "Extremely Unlikely," "Somewhat Unlikely," or "Somewhat
Likely." The current versus January employment ratios are weighted by January employment.




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                          Table 2: SUMMARY M EASURES SY FIRM SIZE

                            Currently      Exp Closed    Weeks COVID     Current v Jan
                             Closed         December       Will Last      Employment
                          Mean      SD     Mean   SD     Mean     SD     Mean      SD
              Under 5      .459     .498   .356   .479   15.8    10.86     .66     .49
              5-9           .47     .499   .393   .489   14.7     10.2    .52      .45
              10-19         .41     .492   .414   .493   14.7    10.05    .55      .47
              20-99        .364     .482   .302   .46    14.1    9.48     .58      .42
              100-499      .261     .444   .222   .424   16.2    10.8      .72     .44
              Unknown      .413     .495   .494   .503   16.7    10.41
              Total        .446     .497   .366   .482   15.38   10.57     .6      .45
              N            4969            4069          4170             4362


Notes. This table reports breakdowns by firm size. Note that the Currently Closed column includes both
temporary and permanent closures.     The measure Exp Closed December comes from a question asking
about the likelihood of being open in December and closure is based off a binary indicator for those
marking "Extremely Unlikely," "Somewhat Unlikely," or "Somewhat Likely." The current versus January
employment ratios are weighted by January employment.




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                             Table 3: SUMMARY M EASURES BY INDUSTRY

                                      Currently        Exp Closed       Weeks COVID      Current v Jan
                                        Closed             December       Will Last       Employment
                                     Mean    SD        Mean      SD     Mean     SD      Mean     SD
     All Retailers, except Grocery   .522        .5    .441      .497   14.1    9.59       .5     .42
     Arts and entertainment          .713    .453      .423      .495   17.3    11.12     .4      .46
     Banking/finance                 .192    .395          .25   .434    16     10.88     .79     .35
     Construction and related        .324    .468      .383      .487   14.3    10.23     .66     .4
     Health care and related         .445    .498          .29   .454    15     10.4      .69     .37
     Other                           .397    .489      .349      .477   16.6    11.16     .7      .41
     Personal Services                .86    .348      .387      .488   11.7    8.24      .35     .4
     Professional Services           .218    .413      .292      .456   15.7    10.55     .79     .41
     Real Estate                     .381    .487      .302      .461   15.6    11.31     .68     .42
     Restaurants and related         .543     .5       .536       .5    13.3    9.03      .25     .37
     Tourism/Lodging                 .615    .488      .442      .498    16     9.83       .3     .34
     Total                           .446    .497      .366      .482   15.38   10.57      .6     .45
     N                               4969              4069             4170             4362


Notes. This table reports breakdowns by industry. There are 16 observations with unknown region. Note
that the Currently Closed column includes both temporary and permanent closures.          The measure Exp
Closed December comes from aquestion asking about the likelihood of being open in December and closure
is based off abinary indicator for those marking "Extremely Unlikely," "Somewhat Unlikely," or "Somewhat
Likely." The current versus January employment ratios are weighted by January employment.




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                      Table 4: BREAKDOWN OF ISSUES E FFECTING BUSINESSES

    Business status    N total    N answering    Supply Chain     Employee Health      Demand/Orders
    Currently open      2,752        2,198            30.29              49.82               66.16
    Temp. closed        2,117        1,783            35.58              59.83               83.31
    Perm. closed         100           85             37.87             60.85                86.13
    Total               4,969        4,066            34.58              56.83               78.53

Notes. This table reports respondents' reactions to the importance of issues affecting their business, broken
down by the status of the business at the time of taking the survey.




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Table 5: REPORTED LIKELIHOOD OF REMAINING OPEN BY I
                                                  NDUSTRY AND HYPOTHETICAL CRISIS
DURATION
                Industry                          N     1Month      4 Months    6 Months
                All Retailers, except Grocery    598      0.69        0.35         0.33
                Arts and entertainment           314      0.65        0.45         0.35
                Banking/finance                  177      0.78        0.63         0.59
                Construction                     448      0.72        0.43         0.45
                Health care                      449      0.79        0.47         0.35
                Other                           1,462     0.76         0.48        0.38
                Personal Services                214      0.57         0.40        0.22
                Professional Services            271      0.79         0.63        0.54
                Real Estate                      147      0.74        0.56         0.56
                Restaurant/Bar/Catering          173      0.72        0.30         0.15
                Tourism/Lodging                  174      0.66         0.48        0.27
                Total                           4,427     0.72         0.47        0.38


Notes. This table reports results across industries of expectations of remaining open in December based
on different hypothetical durations of the COVID crisis. This question was asked at the end of the survey,
after policy questions were conducted. The randomization is between subject.




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              TABLE AI : CENSUS INDUSTRY VERSUS SURVEY INDUSTRY BREAKDOWN

  Industry                                                      Census Percentage    Survey Percentage
  Agriculture, Forestry, Fishing and Hunting                            0.4                  1.3
  Mining, Quarrying, and Oil and Gas Extraction                         0.3                   0
  Utilities                                                             0.1                   0
  Construction                                                         11.7                  13.2
  Manufacturing                                                        4.1                   3.1
  Wholesale and Retail Trade                                           15.7                  18.5
  Transportation and Warehousing                                        3.1                  2.7
  Information                                                           1.3                  2.8
  Finance and Insurance                                                  4                   5.2
  Real Estate and Rental and Leasing                                    5.2                  4.2
  Professional, Scientific, and Technical Services                     13.5                  7.7
  Management of Companies and Enterprises                               0.3                   0
  Administrative and Support and Waste Remediation Svcs                 5.8                  1.4
  Educational Services                                                  1.5                  2.3
  Health Care and Social Assistance                                    10.9                  13.3
  Arts, Entertainment, and Recreation                                   2.2                   9
  Accommodation and Food Services                                        9                   8.3
  Other Services (except Public Administration)                        11.6                  7.1


Notes. This table reports results of Census and Survey shares by industry for firms with fewer than 500
employees. Survey response shares are conditional on being able to classify industries, with unavailable or
"Other" industry classifications omitted from the denominator. We combine wholesale and retail trade due
to the difficulty in separating these out in the survey.




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                              A project of the Job Creators Network Foundation
                                           (https://www.jcnf.org/)



     VIDEOS (HTTPS: //INFORMATIONSTATION.ORG/VIDEO /)




  How Important Are Small Businesses?
  JANUARY 3, 2017      1GOVERNMENT OVERREACH
  (HTTPS://INFORMATIONSTATION.ORG/CATEGORY/GOVERNMENT-OVERREACH/), TAXES
  (HTTPS://INFORMATIONSTATION.ORG/CATEGORY/TAXES /)


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           How Important Are Small Businesses?




                                               a




  71,736 VIEWS


  We hear alot about large companies in the news, but small business is the
  engine of the U.S. economy.

  America is home to more than 28 million small businesses
  (https://www.forbes.com/sites/jasonnazar/2013/09/09/16-surprising-
  statistics-about -small -
                          businesses/#2f17aeb23078) that employ 57 million




https:Hinformationstation. org/video/how-important-are-small-businesses/?utm_source=goo... 8/12/2020
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  workers. And when you add owners and employees together, that's a
  community of roughly 85 million hardworking Americans dependent on the
  success of small business—most of the private-sector workforce.

  Small business owners are America's most important job creators: U.S. small
  businesses accounted for almost two -
                                      thirds of the net new jobs
  (https: //www.sba.gov/sites /default/files/FAQ_Sept_2012.pdf) created
  between 1993 and 2013
  (https://www.forbes.com/sites/nicoleleinbachreyhle/2014/09/02/why-
  you-need-to-support-small -
                            businesses/#7db2e9cb147a) —a grand total of
  11.8 million new career opportunities. In 2012, small businesses created more
  than 2.1 million net new jobs.

  Small businesses are the country's main job creators because they are often
  growing and looking for new markets to expand. To do so, they need
  additional employees along the way. Large businesses, on the other hand,
  generally stay the same size, hiring new employees to replace departing ones.

  Unfortunately, high taxes and recent government regulations in health care,
  finance, and labor disproportionately hurt small businesses and prevent them
  from growing and adding new jobs to the economy. Big business with big
  profits can afford to comply with red tape in away that small businesses just
  starting out cannot.

  As aresult, small businesses still haven't recovered completely from the Great
  Recession—and it shows by the chronically weak labor market. More than 94
  million Americans are not working or actively looking for jobs
  (http://www.cnsnews.com/news /article/susan-jones/94333000-not -
                                                                 labor-
  force-labor -force -
                     participation-628). The labor force participation
  rate—which measures the percentage of employees and job-seekers in the
  U.S.—is less than 63 percent, the lowest figure since the late 1970s.

  To bring small businesses back, and strengthen the job market, job-killing
  taxes and regulations must be rolled back. Job creators should be encouraged
  to hire more employees, not forced to reduce career opportunities. With 85
  million people depending on the success of small business, it's easy to see
  why small business is too big to fail.




https:Hinformationstation. org/video/how-important-are-small-businesses/?utm_source=goo... 8/12/2020
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  For more information about small businesses, visit InformationStation.org
  (https:llinformationstation.orgY).




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    PRESS RELEASES




   Small Businesses Generate 44 Percent Of U.S. Economic
   Activity
   Release No. 19-1 ADV


    $BA   By Office Of Advocacy   On Jan 30, 2019




   WASHINGTON, D.C. -Small businesses are the lifeblood of the U.S. economy: they create two-thirds

   of net newjobs and drive U.S. innovation and competitiveness. Anew report shows that they
   account for 44 percent of U.S. economic activity. This is asignificant contribution, however this
   overall share has declined gradually.


   U.S. gross domestic product (GDP) is the market value of the goods and services produced by labor
   and property located in the United States. Across the 16 years from 1998 to 2014, the small business
   share of GDP has fallen from 48.0 percent to 43.5 percent. Over the same period, the amount of
   small business GDP has grown by about 25 percent in real terms, or 1.4 percent annually. However,
   real GDP for large businesses has grown faster, at 2.5 percent annually.


   "This useful benchmark shows us that small businesses continue to be big contributors to the U.S.
   economy," Acting Chief Counsel for Advocacy Major L. Clark said. "While their contribution has
   grown at aslower rate than that of large businesses, small businesses continue to be at the
   forefront of driving innovation, jobs and economic growth."


   Nominal small business GDP measured $5.9 trillion in 2014, the most recent year for which small
   business GDP data are available. The three largest small business sectors contributing to it were (1)
   the real estate and rental and leasing industry; (2) wholesale and retail trade; and (3) the
   manufacturing and mining sector.


   The 2008 recession played asmall part in the lower small business share, but structural changes
   may have played apart as well. These factors include long run declines in business dynamism, the
   rise of big-box stores, the changing regulatory environment and the critical role of credit
   availability.




https:Hadvocacy.sba.gov/2019/01/30/small-businesses-generate-44-percent-of-u-s-economi...         8/12/2020
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   The full report, "Small Business GDP, 1998 -
                                              2014," and asummary of the research, are available on

   Advocacy's website. Advocacy has sponsored research on small businesses' contribution to GDP
   since 1980.




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                                                   202-205-6934




                        Office Of Advocacy
        S
        .Bn
                        Created by Congress in 1976, the Office of Advocacy of the U.S. Small Business
         41 Swww R+rd
          pnww-wm
                        Administration (SBA) is an independent voice for small business within the federal

                        government.




                                                Comments are closed.




                                                                  U.S. Small Business Administration, Office of Advocacy.

                                                                              409 3rd Street SW, Washington, D.C. 20416




https:Hadvocacy.sba.gov/2019/01/30/small-businesses-generate-44-percent-of-u-s-economi...                        8/12/2020
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MW
Small Business
                  careers
                  businesses
                  neighborhoods
Services




                                  ity
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ABOUT
THIS GUIDE
                               This guide provides basic information to consider before you enter into
                               acommercial lease in New York City. Topics include location selection,
                               evaluating space needs, space construction, working with professionals,
                               reviewing key lease terms, and limiting business and personal risk.

                               Links to resources are highlighted in blue. Additional resources are at the
Definitions are located on
                               end of each section, and alist of all resources are at the end of the guide.
sidebars and are highlighted
in purple.                     This guide is provided by NYC Department of Small Business Services (SBS).
                               SBS offers free services to help businesses start, operate, and grow in New
                               York City. Resources include:
                                 Commercial lease education courses. To find acourse near you, visit:
                                   Link: nyc.gov/businesscourses
                                 Assistance with pro bono (free) legal advice, business development,
                                 finance, navigating government, licensing, permits, and inspections
                                 needed to open your business:
                                   Link: nyc.gov/businesssolutions
                                   Select Operate & Grow, then select Contact us for more information
                                   Or Call: 311
                               The NYC Department of Small Business Services (SBS) helps unlock
                               economic potential and create economic security for all New Yorkers by
                               connecting New Yorkers to good jobs, creating stronger businesses, and
                               building thriving neighborhoods across the five boroughs.

                               The law firm of Goulston & Storrs PC and Volunteers of Legal Service's
                               Microenterprise Project (VOLS) created content for this guide. This guide is
                               not asubstitute for legal or other professional advice. Consult an attorney
                               and other professional advisors before you sign acommercial lease.
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Signing acommercial lease can be one of the most significant and expensive choices that you
can make as abusiness owner. Investing the time to create aplan will give your business an
advantage. This section presents some important considerations when developing your plan.




THE LOCATION
Selecting the right location is an important decision that can affect the success
or failure of your business. Below are questions to consider when looking
for the location that best suits your business. These questions can apply to
office, retail, or industrial businesses.

Who are my customers? Where do they live, work or shop?
Identify who your customers are, and research where they are located. Select
abusiness location near people who will buy your products or services.

Is location important to my employees?
Consider if alocation is convenient and accessible for employees.

Do my customers or employees need easy access to public
transportation or parking?
Not all customers and employees will be within walking distance of your
location. Locating your business near public transportation or parking
facilities can help attract customers.

How close do Ineed to be to my suppliers? Will delivery trucks need
easy access to my business?
If you need frequent deliveries, your business may need to be located near
suppliers. Easy access to loading and unloading areas may also be important.

Do Ineed to be on abusy street where many potential customers will pass
by my business? Or will my customers seek out and visit my business?
If you expect customers to buy your products without planning in advance,
you may want to locate your business where alarge number of people will
pass by. If customers will seek you out, you can be in aless travelled location.
Spend time around the space and its neighborhood on different days of the
week to observe the amount of traffic.


   Examples of businesses                        Examples of
    that need street traffic                destination businesses
          Convenience store                         Specialty store
                                                (such as a bridal shop)
            Grocery store
                                                    Doctor's office
              Restaurant
               Nail salon
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                                          Would other businesses nearby attract customers to my business?
                                          If so, what type of businesses?
                                          Locating near similar businesses can attract customers who are already
                                          visiting other nearby businesses. If you want to attract aspecific group of
                                          customers, you may want alocation near other businesses that target and
                                          appeal to the same group. For example, if you want to sell specialty foods
                                          imported from Latin America, you may want to locate near businesses that
                                          sell different items also imported from that region.

                                          Is the area growing or declining in population and businesses?
                                          It can be an advantage to locate in neighborhoods experiencing population
                                          and businesses growth. If commercial activity is decreasing, you may have
                                          difficulty building asufficient customer base.

                                          Is adesired area too expensive for my business?
                                          Even if alocation seems perfect, the rent may be higher than your business
                                          can afford. Before you decide on alocation, create abudget for your business,
                                          and determine what you can afford.

                                          Is my business permitted in the desired area?
                                          New York City laws may prohibit your type of business from operating in
Zoning Designation: New York City
                                          aspecific area or building. Every property has its own zoning designation.
limits the uses of areas through
numerous "zoning districts"               This can mean that your planned use of aspace may not be allowed. If
throughout the city. The most             you find aspace like this, you can seek azoning variance that will allow for
common zoning districts the               that use. However, the process to acquire one requires significant money
City designates are residential,          and time. To learn if you can get avariance, contact the NYC Board of
commercial, and manufacturing.            Standards and Appeals by going to nyc.gov/bsa.
Zoning designation can also limit
building features in adistrict,           To view the zoning restrictions for aproperty, visit NYCityMap:
such as its height and signage.             Link: nyc.gov/citymap
                                            Enter address at top
Zoning Variance: the City can give          Zoning information is on right panel under Building & Property Information
permission for owners or tenants to
use aproperty for apurpose outside        Who can help you answer these questions?
the zoning laws.                           People who operate abusiness in asimilar industry
                                           Businesses in the neighborhood you would like to move into
                                           Trade associations
Business Improvement District:             Local development organizations
Ageographical area where local             (such as Business Improvement Districts (BIDs) throughout the city)
stakeholders oversee and fund the          Merchants Associations
maintenance, improvement, and
promotion of their commercial district.   Search online for organizations in your neighborhood. It is important to
                                          consult with experienced professionals (see page 10). They can provide
Merchant Association: Agroup of           answers to questions and guide you through the leasing process.
business owners working together
to support and promote businesses
in aparticular commercial area.
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      EXERCISE: LOCATION NEEDS AND PRIORITIES

Make alist of your business needs for alocation. Assign anumber based on its importance.
Since you may not find alocation that suits all of your needs, prioritizing your needs is important.


To succeed my business needs:                                                             Priority (1, 2, 3)




       ADDITIONAL RESOURCES

For an interactive map with data from New York City agencies, visit NYCityMap:
  View information about the neighborhood:
    Link: nyc.gov/citymap
    Enter address at top
    View information on right panel under Searched Locations

  View neighborhood demographics (population, ages, etc.):
    Select Other Map Themes (upper right)
    Select NYC Census FactFinder

  View nearby transportation, parks, schools, senior centers, etc.:
    Select Show Additional Data on Map (right panel)
  View building, landlord name, building violations, inspections, and zoning:
    View information on right panel under Searched Locations

  For additional zoning information, visit Department of City Planning (DCP):
    Link: nyc.gov/planning
    Select Zoning

For a list of Business Improvement Districts (BIDs):
  Link: nyc.gov/biddirectory
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                                           THE SPACE
Did you know?                              Once you select alocation, you can determine your space requirements.
Businesses located in New York City        Consider these questions:
are eligible for awide variety of
incentive programs, including tax          How much space do you need?
benefits, energy incentives, and           Different types of businesses need different amounts of space. You want
wage benefits.                             only enough space to meet the needs of customers and to manage your
                                           operations. Unused or unnecessary space means unnecessary costs.
SBS offers one-on-one consultations
to help small business owners identify
                                           Is the layout important?
City, State, and Federal incentives.
                                           Some businesses or offices may need alarge open area. Other businesses
To learn more, visit nyc.goviincentives.
                                           may need multiple offices or separate rooms. Forexample, if you plan to
                                           open aclothing store, aspace with alarge open area can help customers
                                           see and navigate your entire selection. If your employees need privacy for
                                           phone calls or meetings, you may need aspace with separate offices or the
                                           ability to add cubicles.

                                           Do Ineed lots of windows?
                                           Spaces with few or no windows, or windows that do not face the street, are
                                           usually less expensive.

                                           Do Ineed to be on the ground floor?
                                           If you want customers to find and visit your business by seeing it on the street,
                                           aground floor spaces with windows may be agood choice, even though
                                           they are usually more expensive. Second floor spaces are better for
                                           businesses whose customers are more likely to seek the business out.
                                           For example, if your business is an office or expects customers to make
                                           appointments, asecond floor location may be the better choice.

                                           Do Ineed space for storage?
                                           Using commercial space for storage can be expensive. Basements can be
                                           aless expensive place for storage. Off-site storage facilities can also be a
                                           cheaper option than using commercial space for storage, but will take time
                                           and money to move items to and from the storage facility.

                                           Do Ineed the ability to add space in the future?
                                           It is not easy to predict how well your business will do. You may want to
                                           start with asmaller space with the option to expand in the future if your
                                           business grows. You may wish to negotiate an option in your lease to rent
                                           space next to yours if it becomes available.

                                           Do Iwant aspace already set up for my type of business?
                                           Or am Iwilling to change it to my specifications?
                                           Construction takes time and can be expensive. This is especially true if the
                                           space will need structural changes, such as building or removing walls. If
                                           you find aspace that fits your needs and does not need much work, you will
                                           save time and money.

                                           What utilities does my business need?
                                           Make sure the location has access to enough electricity, natural gas, water,
                                           and internet access to run all of your equipment.

                                           Does my business need special equipment?
                                           For example, arestaurant may need refrigerators, ovens, and grease traps.
Building Systems: These may
                                           Some spaces, such as aprevious restaurant location, may already have the
include electrical, plumbing, gas, or
air conditioning (HVAC) systems.           equipment you need. This will save you the cost of buying new equipment
                                           and connecting the equipment to building systems.
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Is the building structurally sound with no leaks?
Inspect the space for any signs of problems such as large cracks or water
damages. If you see areason for concern, ask aprofessional, such as an
architect, contractor, or engineer, to inspect the space.

Will Ineed to remove asbestos, mold or other hazardous materials
before Ican occupy the space?
Renting aspace with hazardous materials that must be removed will increase
the cost of preparing the space. Older spaces may contain asbestos, afire-
proofing material that is ahealth hazard. The law requires asbestos to be
removed in aspecific way that can increase the cost of renovation. Speak
to alicensed professional to find out if the space has hazardous materials.

Can Ilease an occupied space and wait for the current tenant to leave?
Or do Ineed the space immediately?
A landlord will want to lease aspace to anew tenant before the current tenant
                                                                                 Holdover Tenant: Atenant that
moves out, which ensures asteady income for the landlord. It is possible,
                                                                                 does not leave the property after
however, that the current tenant may not leave when its lease term ends. The     its lease ends.
landlord can bring alawsuit against the holdover tenant, but it may be weeks
or months before the space is available. If you already signed the lease, you
are required to take the space and start making rent payments once the space
is available. To protect yourself, include alease provision that allows you to
cancel the lease if the space is not available by acertain date.

Do Iwant adirect lease with the landlord? Or will Iaccept asublease
                                                                                 Sublease: An agreement in which
from an existing tenant?
                                                                                 tenant leases property from another
In some cases, commercial tenants can choose to lease their space to             tenant (or "sublandlord") instead of
asecondary tenant through asublease. These "primary tenants" act as              from the landlord directly.
"su bland lords." If you sign asublease, be aware that any violations by your
sublandlord can lead to the landlord terminating your sublease. If you are
paying rent to the sublandlord but the sublandlord fails to pay rent to the
landlord, the landlord can evict you.

Whichever option you choose, be sure you know whether you are leasing
directly from the landlord or from atenant. You can check the identity of the
landlord on the NYCityMap.

Does the Certificate of Occupancy (CO) for the building allow my use?
                                                                                 Certificates of Occupancy (CO):
How you use the space must comply with the legal uses allowed by the
                                                                                 Issued by NYC Department of
building's CO. For example, if you rent aspace for ayoga studio and the CO       Buildings (DOB), which states a
says the space can only be used as an office, your use is not permitted. For     building's legal use and/or type of
your use to be legal, you will need to change the CO. Some landlords may         permitted occupancy. It is illegal to
not allow you to change the CO, and making changes can be expensive.             occupy abuilding before the DOB
                                                                                 issues aCO or Temporary CO.
Buildings built before 1938 may not have aCO. If this is the case, it is
important to speak with a lawyer about your options.




       ADDITIONAL RESOURCES

To view a building's Certificate of Occupancy, visit NYCityMap:
  Link: nyc.gov/citymap
  Enter address at top
  View information on right panel under Searched Locations
  Under Building and Property Information, select Building Profile
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If possible, consult with professionals from the start because they can help answer many questions
and help negotiate alease that protects your interests. It means more costs at the beginning, but
will save money in the future. You can find professionals to help you at no or low cost. For each
specialty, be sure to interview several professionals and hire the one who best suits your needs.
Below are types of professionals you may want on your team.




                               REAL ESTATE BROKER OR
                               TENANT REPRESENTATIVE
                               Purpose: Brokers and tenant representatives will show you potential spaces
                               based on your desired location and space. They can offer information about
                               the space's surrounding neighborhood, provide expertise on what parts of the
                               lease the landlord may negotiate, and insight on how the landlord operates.

                               Timing: Look for abroker or tenant representative when you know your
                               desired neighborhood(s) and are ready to look at potential spaces.

                               Where to find: Ask for recommendations from other business owners, trade
                               associations, and local real estate broker association.

                               To check whether areal estate broker is licensed:
                                 Link: dos.ny.gov/licensing
                                 Select Search Licensees, then select Real Estate Industry

                               Cost (Broker): The broker is only paid if the tenant signs the lease. The
                               landlord usually pays acommission to the broker that is apercentage of the
                               annual rent or equal to anumber of months' rent. The amount depends on the
                               length of the lease, the location, and the broker. The percentage usually varies
                               over the course of the lease (e.g. for afive-year lease, the broker could be
                               paid 5% of the first year's base rent, and 4% for the second through fifth years).

                               Cost (Tenant Representative): A tenant representative only represents your
                               interests and not the landlord's interests. You pay aflat fee whether or not
                               you sign a lease.



                               ARCHITECT
                               Purpose: An architect can help determine the space and layout your
                               business needs, create a plan for the space, and make sure your space
                               complies with building codes and other requirements. The architect can also
                               supervise construction to ensure it is done according to the plans.

                               Timing: If you need to renovate the space, look for an architect before
                               you sign the lease.

                               Where to find: Other business owners, broker or tenant representative.

                               Cost: Typically, the architect is paid afixed fee.
                                                                                                                    Team of Professionals
                                                                                                                    o
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                                         ENGINEER
                                         Purpose: An engineer helps determine whether the space has the technical
                                         requirements your business needs. This is necessary if your business
                                         requires alterations to the building systems or structure. For example, some
                                         businesses may need special air conditioning or electrical systems.

                                         Timing: If your business requires alterations to the building systems or
                                         structure, you should work with an engineer before you sign the lease.

                                         Where to find: Your architect, broker, or tenant representative.

                                         Cost: Typically, the engineer is paid afixed fee.



                                         CONTRACTOR
                                         Purpose: The contractor will construct your space according to the building
                                         plans created by your architect and/or engineer. They can make cosmetic
                                         repairs and alterations such as painting, repairing minor electric and
                                         plumbing problems, installing new floors, and building countertops.

                                         The landlord often requires alicensed contractor to make alterations to
                                         electrical, gas, and plumbing systems. Most licenses are issued by the
                                         NYC Department of Buildings.

                                         To confirm whether acontractor is licensed, visit: nyc.gov/buildings
                                           Select Business, then select Business Resources (on right)
                                           Select Licensing Information (on left), then online search tool

                                         Timing: If construction will change the building's structure or utility systems,
                                         you may need to hire acontractor after the architect develops plans. If the
                                         alterations are mainly cosmetic, you may not need an architect and can hire
                                         acontractor after you sign the lease.

                                         Where to find: Your broker, tenant representative, architect, engineer,
                                         or landlord.

                                         Cost: Contractors are typically paid either by afixed fee or apercentage of
                                         the cost of the work.



                                         LAWYER
                                zil
                                         Purpose: The lawyer is your legal representative and is critical to protecting
                                         your rights. A lawyer reviews the lease to determine your responsibilities
                                         and liabilities under the lease. They can negotiate contracts with both the
                                         landlord and other professionals.

                                         Timing: It is important to engage a lawyer early in the process, especially
                                         before you sign the lease. Even if your broker or tenant representative is
                                         negotiating the basic terms of the lease, alawyer has additional expertise
                                         that can make the lease negotiation easier and faster.

                                         Where to find: SBS staff can assess your lease needs and connect you to a
Team of Professionals




                                         pro bono lawyer for free legal consultation and lease review.
                                           Link: nyc.gov/LegalAssistance
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               A lease is an agreement between alandlord and atenant that allows atenant to occupy aspace for
               acertain amount of time. Commercial leases and residential leases have important differences.




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               Residential Leases. " '--'                                            Commercial Leases
                 Residential tenants have protections under                            A tenant's rights are almost all governed by
                 the law.                                                              the lease.
                 Example: The landlord is required to make              vs.            Example: Unless it is required by the lease,
                 repairs and provide heat.                                             the landlord is not required to make repairs or
                 If an apartment is regulated, landlords are                           provide heat
                 limited by how much they can increase rent.                           When the lease ends, the law does not limit
                 If an apartment is regulated, landlords must                          how much the landlord can increase the rent.
                 offer to renew the lease.                                             The landlord is not obligated by law to renew
                                                                                       the lease.




                                                       LEASE PROCESS
                                                       This section gives an overview of each step towards signing acommercial
                                                       lease. Depending on the size of the space, the length of the lease, and how
                                                       the landlord usually handles leases, you may not follow each of these steps.


                                                       REQUEST FOR PROPOSALS
                                                       Your broker or tenant representative will help you identify adesired location
                                                       and the type of space you need. The broker will then gather information or
                                                       proposals from multiple landlords for you to compare. Proposals usually include
                                                       basic terms, including length of the lease, base rent, any additional rent,
                                                       utilities, security deposit, and possibly other items discussed in detail below.


                                                       LETTER OF INTENT OR TERM SHEET
                                                       After gathering proposals, consulting with professionals, and discussions with
               Letter of Intent: A letter between
                                                       landlords, decide which space you want. The next step is often to prepare a
               the tenant and the landlord that
               states the basic terms of the lease     letter of intent, also called aterm sheet, with the landlord. The letter of intent
               (ex. length, amount, construction)      contains basic terms of the lease, such as rent amount, length of the lease,
               and that the tenant and landlord        and security deposit that you and the landlord agreed to. The letter of intent
               intend to enter into alease together.   is generally not acontract. Do not make payments to the landlord or start
                                                       alterations before the lease is signed. Many important terms are on the lease
                                                       itself. Once the term sheet is agreed upon, the landlord will usually have its
                                                       lawyer prepare the lease.

                                                       Consult with your broker and lawyer before signing aletter of intent. It is
                                                       important to include terms that are important to you because the landlord
                                                       may not renegotiate those terms during lease negotiations. If the landlord
                                                       will not agree to terms you need to operate your business, the space may not
                                                       be agood fit for your business. Knowing this will save time and money
                                                       negotiating alease you won't sign.
Lease Basics




                                                       For small spaces or short-term leases, the landlord may choose to skip a
                                                       letter of intent and move right to the lease negotiation.




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THE LEASE
The landlord will usually propose the first version or draft of the lease. Many
commercial landlords use atemplate or form lease. The lease can be difficult
to understand because of the way it is written, the length, and the small
print. This version will usually heavily favor the landlord.

The lease should include the terms included in the term sheet but will contain
many other important provisions. Carefully review the lease with alawyer so
they can explain your rights and obligations and help negotiate favorable
terms for you.

You can negotiate changes to the landlord's offered lease terms. Write changes
on the lease or add them in aseparate document, called a"rider." The rider
is attached to the lease and contains terms that add, clarify, or replace terms
in the form lease.

You may only be able to negotiate afew changes to the landlord's offered
terms. If your lease is for asmall space, the landlord may be reluctant to
make many changes to its lease. It is critical that professionals explain what
these terms mean for your business.

The written lease will govern your relationship with the landlord. Do not
depend on oral statements from the landlord. Everything you agree to
with the landlord should be written in the lease. If aterm is not included in
the lease, it has no effect.


ASSIGNMENT & SUBLEASING
Even with careful planning, you may decide it is best for your business to
move to adifferent space, maybe larger or smaller, or in another location,
before the lease ends. Or you may decide you need to share the space with
another tenant to help you pay the rent. You may also choose to close your
business during the lease term.

To reduce personal and business liability, you may want another business
                                                                                       Assignment of aLease: An
to take over your lease by assigning or subleasing the space to them. You
                                                                                       arrangement in which the rights
can negotiate and include in the lease to have the right to assign the lease
                                                                                       and obligations of the original
or sublet the space. Most landlords will only permit an assignment or sublet           tenant are transferred to the new
with its prior written consent. You can, however, negotiate aprovision in the          tenant. The new tenant pays rent
lease that requires the landlord to be reasonable in giving its consent.               to the landlord.

Whether you assign the lease or sublet the space, you still have obligations           Sublease: An arrangement in which
and liabilities under the lease. If the new tenant fails to pay rent, you, the         the tenant rents its space to a
original tenant, will be responsible for the unpaid rent. The same is true if a        subtenant. The subtenant pays rent
subtenant does not pay rent.                                                           to the tenant. The original tenant
                                                                                       remains the tenant under the lease
Landlords will sometimes allow assignments or subleases to companies that              and pays rent to the landlord.
are affiliated with the original tenant. For example, if you sell your business to a
new owner who continues to operate the business with no substantial changes.
                                                                                                                            Lease Basics




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The basic financial terms of the lease may have asignificant effect on your business's success.
These terms include the base rent, additional rent, length of the lease, permitted uses, and utilities.

BASE RENT
Rent is often divided into separate categories. Base rent is the minimum rent
that the tenant owes the landlord each month for occupying the space.

Base rent is usually calculated as an annual amount. The amount is determined
                                                                                     Usable vs. Rentable Area: The
by multiplying the size of the space by adollar amount. This is what "rent per
                                                                                     usable area is the space that you
square foot" means. The rent per square foot is generally determined by the          control. Rentable area includes the
market. The landlord will charge what other landlords are charging for similar       usable area plus aportion of the
space in similar areas. The size of the space is usually the square footage of       common areas.
the space plus aportion of common areas, such as common hallways or
bathrooms. The addition of this common space turns the "usable" area of the
space into the "rentable" area. The rentable area is then multiplied by the dollar
amount per square foot to determine the base rent.



                                              Entrance
Usable Area:
                               Your           Common               Other
                              Space            Hallway            Tenant

                                                                                     TIP: Measure the space yourself
                                                                                     (or ask your architect) so you know
                                              Entrance                               the exact amount of usable area.
Rentable Area:                                                                       To determine the rentable area, ask
                                                                                     the broker or landlord which spaces
                               Your           Common               Other             are common areas, their square
                              Space            Hallway            Tenant             footage, and the percentage you
                                                                                     will need to pay.




      EXERCISE: CALCULATING BASE RENT


                             Square footage of usable area
    0000                                  -r                                    X     Price Per               Base
    0000
                                                                                                              Rent
    00
    0 00
       00       Your portion of square footage of common area                        Square Foot


                                             Example Rent Calculation

  An office space has 1,000 square feet (sq. ft.) of usable area. The rent is $50 per square foot. The tenant is
  also responsible for 10% of 1,000 square feet of common space.

  1. Calculate your share of the common area:
  Square footage of common area       Your portion of the common area                 Your share of common area
            1,000 sq. ft          X                  0.10                                      100 sq. ft.
                                                    (10% of common area)

  2. Calculate the rentable area:
  Square footage of useable area          Your sq. ft. portion of the common area             Rentable area
           1,000 sq. ft.              +                   100 sq. ft.                          1,100 sq. ft.
                                                                                                                           Terms of Lease




  3. Calculate the total yearly rent:
            Rentable area                          Price per square foot                    Total yearly rent
             1,100 sq. ft.            X                 $50 sq. ft.                             $55,000

  The yearly base rent is $55,000. The monthly rent is $4,583.33.
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                                                            ADDITIONAL RENT
                                                            The landlord will likely require you to pay costs in addition to the base rent.
                 Operating Expenses: A landlord
                                                            This is because the landlord's own expenses, such as the property's
                 spends acertain amount of money
                 per year operating abuilding. This         operating expenses and real estate taxes, will likely increase over time, and
                 includes maintaining and insuring          landlords generally prefer for tenants to cover apart of these expenses.
                 the building. The landlord looks to
                 tenants to recover these costs.            The additional rent takes various forms. Your lease may make you responsible
                                                            for paying one or acombination of the following:
                 Real Estate Taxes: Property                1.A share of the increase in operating expenses;
                 taxes that the landlord owes
                 to New York City.                          2.A share of the increase in real estate taxes;

                                                            &A fixed annual percentage increase of the base rent (e.g. 3% each year); or
                                                            4.An additional rent increase based on some other measure
                                                              (e.g. increased wages for building staff).

                                                            To plan for these expenses, ask the landlord or broker for an estimate of
                                                            additional costs.

                                                            To find past real estate tax assessments, visit NYCityMap:
                                                              Link: nyc.gov/citymap
                                                              Enter address at top
                                                              On right panel under Building & Property Information,
                                                              select Tax & Property Records


                 LEASE TERM
                 The lease term is the period of time you are allowed to occupy the space. There are several factors to consider
                 when deciding on a lease term.


                                                       Short-Term vs. Long Term-Leases

                                        Short-Term                                                     Long -Term
                                        (5 years or less)                                    (more than 5years, often 10+ years)

                   Advantages                                                      Advantages
                     Limits the length of your obligation if the business            Provides the stability of knowing that your
                     does not succeed or you decide to move.                         business will have aspace, and your base rent
                                                                                     will not increase for along period of time.
                   Disadvantages
                     No guarantee that the landlord will renew the lease.          Disadvantages
                                                                                     You are responsible for the rent for alonger period
                     If you will pay asubstantial amount to alter the
                                                                                     of time even if your business fails or you want to
                     space, you may not want ashort term lease in
                                                                                     move to another location.
                     case the landlord chooses not to renew the lease.
                                                                                   Takeaway
                   Takeaway
                                                                                   A long-term lease may be agood option for an
                   A short-term lease may be agood option for anew
                                                                                   established business that has ahistory of success
                   business or abusiness that is less certain whether
                                                                                   and believes it will operate for many years.
                   they will be successful.
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RENEWAL OPTIONS
Commercial landlords are not required to renew your lease. Once your
lease ends, the landlord is also permitted to ask for any amount of rent.

Protect yourself against ahigh increase by negotiating for an option to renew
                                                                                   Option to Renew: Tenant has the
in your lease. Options for how to determine the increased rent include a
                                                                                   option to renew at the end of the
fixed rent increase or a"market" base rent, also called fair market rent.
                                                                                   lease. The most common commercial
                                                                                   lease term is 10 years with an option
Fixed rent is afixed amount your rent will increase each year. Typically the
                                                                                   to renew for another 5years.
increase is 2-3% each year.

Fair market rent is determined by looking at similar prices to rent in the
same area. Consider asking the landlord to set a limit to the increase. The
limit could be afixed amount or apercentage of fair market rent (e.g. 90%
or 95%). If you and the landlord cannot agree on the fair market rent, it is
typical to designate aneutral broker or appraiser to determine the market rate.

If your lease does not have an option to renew and you want to stay in your
space, contact your landlord well before your term will end to request that
they renew the lease. If you are agood tenant, the landlord may be motivated
to extend the term at areasonable rent.


 How can Ibe a good commercial tenant?
 ✓ Pay your rent on time each month

 ✓ Do not violate the lease

 ✓ Be respectful of neighbors, especially regarding noise

 ✓ Quickly contact the landlord when building systems need repair,
    such as aleaking roof or burst pipe




PERMITTED USE
The lease describes how your business can use the space. It is important
                                                                                   Permitted Use: The part of the
that the lease has aclear statement of which type(s) of business(es) may           lease that describes the types of
operate in the space. This is called the "permitted use."                          uses permitted in the space.

For aretail business, the lease should permit your specific use, but the
landlord should allow areasonable expansion of the use. For example, if
you operate apizza parlor, you may want the option to expand into afull
service restaurant with the right to sell alcoholic beverages. In this case, the
permitted use provision should say "restaurant" and not specifically "pizza
parlor. "For an office business, the lease can allow for any office use.

Sometimes retail businesses will include "exclusives" in the lease. These
"exclusives" prohibit the landlord from renting another space in the building
to asimilar type of business. For example, in ashopping center or mall
where landlords want avariety of businesses, the landlord may be more
restrictive about the types of businesses. Most landlords, however, will
resist giving atenant an exclusive unless it is a large tenant.
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                                                        UTILITY CHARGES & SERVICES
                                                        When comparing and deciding among spaces, the method of paying for
                                                        utilities is an important cost factor.

                                                        Electricity: The primary utility expense is electricity. You will typically pay for
                                                        electricity as aseparate and additional charge from the rent. There are two
                                                        different ways you, the tenant, can pay for electricity:

                                                        1. Direct meter -You obtain electricity directly from the utility company.
                 Direct Meter: A main (master)
                                                           This is usually the least expensive option and is called "direct meter."
                 meter installed by the utility
                 company that measures the              2.Submeter -The landlord charges you based on your actual usage, as
                 tenant's usage.                          measured by a"submeter." The landlord reads the meter and directly bills
                                                          you. The cost is based upon utility company charges the landlord plus
                 Submeter: Asecondary meter               an additional administrative charge. If asubmeter is installed, the lease
                 that the landlord uses to measure
                                                          should state who is responsible for the cost of installation.
                 and bill the tenant for their usage.
                                                        Other Utilities: Water, sewage, heat, and gas are less costly and are usually
                                                        charged by afixed amount or by meter. If usage is low, such as normal
                                                        bathroom usage, the landlord may cover that cost in the base rent or will
                                                        determine afixed charge. If usage is high, the landlord may not want to take
                                                        the risk of afixed charge, so will measure and charge you for actual usage.


                 A landlord is only responsible for providing utilities and services agreed to in the lease. Your lease should provide
                 electricity, water, heating, air conditioning, passenger and freight elevator service (unless you are on the ground
                 floor), and potentially gas, cleaning, and directory listings.




                 Costs                                                          Interruptions

                 The landlord usually provides heating and air conditioning     The lease can also address how quickly alandlord must
                 either through abuilding system or aunit only for your         respond to utility interruptions they cause. If the leased
                 space. The landlord is only required to operate the            space is small, most landlords will not agree to aspecific
                 building-wide heating and air conditioning systems             time period. In alarge space lease, you may be able to
                 during hours stated in the lease. If you require these         negotiate atime period that the landlord must respond
                 systems to operate after those hours, you need                 to the interruption. Three (3) to ten (10) days is typical.
                 to notify the landlord, who will usually charge an             You can negotiate areduction in rent payment until the
                 overtime charge.                                               problem is fixed if the landlord does not fix the issue
                                                                                within the time period.
                 If heating and air conditioning is provided through aunit
                 that only serves your space, you will usually control          In some cases, you may also be able to negotiate
                 the hours you use the unit. However, you will likely be        for the right to terminate the lease if the interruption
                 required to repair, maintain, and replace the unit.            continues for amuch longer period, typically 30 days.
                                                                                The landlord will usually limit these rights to interruptions
                                                                                that are the fault of the landlord and not the utility company.
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SECURITY DEPOSIT
The landlord will generally require you to pay asecurity deposit when you sign
the lease. Discuss the security deposit if you have the option at the term sheet
stage. The security deposit protects the landlord if you fail to pay rent or
violate the lease. The security deposit is refundable, but the landlord will
hold the deposit on your behalf during the term of the lease. The landlord
may deposit the money in abank account that earns interest. In such case,
you may receive the interest when the landlord returns the security deposit.

The amount of the security deposit is based upon several factors:

1.Amount of the base rent
2.Your business's financial condition. If your business has little or no financial
  history, or have limited access to cash or credit, the security deposit may
  be quite large. In this case, the landlord may be willing to negotiate returning
  part of the security deposit after afew years if your business is successful.
3. Whether you provided aguaranty (discussed on next page).

The security deposit is usually equal to anumber of months' rent. The number
                                                                                     Letter of credit: Adocument through
of months is commonly two, but it depends on factors listed above. The
                                                                                     which the bank guarantees they
landlord may also require aletter of credit from an acceptable bank as the
                                                                                     will pay the security deposit if the
security deposit instead of or in addition to cash.                                  tenant is unable. The bank charges
                                                                                     afee and may require collateral,
At the end of the lease term, the landlord should refund the security deposit
                                                                                     such as amortgage on your home.
if you leave the space in the condition required by the lease, and do not owe
the landlord any money under the lease. The landlord will usually refund the
security deposit 30 to 45 days after you vacate the space.




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This section includes the most important ways to limit your business and personal risk in
regards to acommercial lease. A combination of these will likely be necessary to adequately
protect you and your business. The landlord will also try to limit its risk around the points below,
so careful negotiation of each is important.

TENANT ENTITY
If you have abusiness entity, such as acorporation or a limited liability
                                                                                      Tenant Entity: An entity you create
company (LLC), you can sign the lease as the business to avoid personal
                                                                                      that will be the tenant under the lease.
liability. The business, not you, is the tenant and is called atenant entity.
Ideally, the tenant entity would be separate from your main business entity,
and its sole purpose would be to sign the lease.

The advantage of atenant entity is that claims by the landlord or athird party
                                                                                      Financial Worth: Calculated by
against the tenant are generally limited to that entity. The disadvantage is
                                                                                      adding the value of business assets
that entities can be expensive to set up and maintain. A tenant entity with           and property and subtracting
low financial worth will require asignificant security deposit. It can also           liabilities and debts.
require apersonal guaranty, which will place personal liability on you.


GUARANTY
Even if the business entity is the tenant according to the lease, alandlord may
                                                                                      Good Guy Guaranty: The guarantor
require you, the business owner, to provide a personal guaranty. This means
                                                                                      is personally responsible while the
you agree to be personally responsible for obligations under the lease. A             business is operating in the space.
guaranty of all of obligations of the tenant is considered a"full guaranty." A        Once the space is vacated, they
"good guy guaranty" is a"partial guaranty."                                           are no longer personally liable.

Whether the landlord will require aguaranty depends on these factors:
1.The financial condition of the tenant entity. If the business is new and has
  no history or financial worth, the landlord will likely require aguaranty. If the
  business has high financial worth, the landlord may not require aguaranty.
2.The amount of the security deposit. If you are able to provide a large
  security deposit, the landlord may not require aguaranty.

If afull guaranty is not required, the landlord may still require a"good guy
                                                                                      Default: Aviolation of your
guaranty." If the tenant entity (e.g. the business) defaults under the lease and
                                                                                      responsibilities under the lease.
vacates the space, the guarantor (e.g. the business owner) is not personally
responsible for the rent for the time after you vacate. The tenant entity that
signed the lease, however, can still be responsible for the remaining rent.

If any of the following provisions are in alease, it does not have atrue
"good guy guaranty." Avoid provisions that would require you to:
1. Pay the entire balance of unpaid rent under the lease ("accelerated rent");
2. Make extra repairs or improvements ("performance obligations"); or
3. Repay the landlord for any tenant improvement allowance, rent
   abatement/free rent, or real estate broker's commission.
                                                                                                                                 Limiting Business & Personal Risk




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                                                                           INSURANCE
                                                                           Insurance limits your risk by protecting your business against claims for
                                    Commercial General Liability
                                                                           personal injury or property loss. Your landlord will likely require you to maintain
                                    Insurance: Protects your business
                                    from lawsuits for physical injuries.   insurance. At aminimum, you will usually need commercial general liability
                                                                           insurance and personal property insurance. If your business is in aflood
                                    Property insurance: Covers             zone, you may also need to purchase flood insurance. Speak to a licensed
                                    damage to personal property and        insurance broker about the types of insurance to best protect your business.
                                    to the space when caused by fire,
                                    theft, vandalism, or some natural      Your landlord may require you to name additional insured parties on your
                                    weather events.                        policy including the landlord, property manager, and mortgage lender of
                                                                           the landlord. This protects additional insured parties if aclaim against them
                                                                           is your fault as the tenant.

                                                                           Additionally, obtain business interruption insurance to cover lost income if
                                                                           your business is closed temporarily because of damage to your space. Such
                                                                           insurance may only cover damages that result from some accidents and not
                                                                           others. Review provisions thoroughly before making adecision.


                                                                           INDEMNIFICATION PROVISIONS
                                                                           Leases contain indemnification provisions which determine who is
                                    Indemnification: Agreement by a
                                                                           responsible when there is an incident in your space and on the property.
                                    person or entity to be responsible
                                                                           Generally, these are incidents that result in injury or damage.
                                    for loss or damage.
                                                                           The landlord does not want to be responsible for anything that occurs inside
                                                                           your space. You do not want to be responsible for anything that occurs on
                                                                           the property outside your space. To address these concerns, leases should
                                                                           contain indemnification provisions.

                                                                           The landlord should agree to protect you against claims from incidents that
                                                                           occur in areas of the property it controls. Exceptions are those incidents
                                                                           that are your fault. For example, if you spill water in ashared elevator and
                                                                           someone slips and falls, you will be liable for the personal injury claim.

                                                                           As the tenant, you protect the landlord against claims from incidents that
                                                                           occur inside your space. Exceptions are those incidents that are the
                                                                           landlord's fault. For example, if the landlord makes anegligent repair in your
                                                                           space and someone is injured, the landlord will be responsible.


                                                                           CONTINGENCY TERMINATION PROVISIONS
                                                                           If your business requires acertain license or permit, consider including
                                                                           acontingency provision. This is the right to end the lease early if you are
                                                                           not able to get the license or permit despite reasonable efforts. Examples
                                                                           include liquor licenses, day care licenses, and certificates of occupancy.

                                                                           The landlord will likely require you to show proof of reasonable efforts to
                                                                           obtain the license or permit. This may mean working with aprofessional to
Limiting Business & Personal Risk




                                                                           apply for the permit or license, submitting an application to the appropriate
                                                                           agency, and tracking your communications with the agency.



                                                                           't
                                                                           O0 ADDITIONAL RESOURCES
                                                                           SIBS staff can help you find alawyer to help you with creating abusiness
                                                                           entity. To learn more, visit: nyc.gov/LegalAssistance
                                                                           To check an insurance broker's license, visit: dfs.ny.gov
                                                                             Select Consumers then Insurance Products
                                                                             Select Producer/Licensee Search (at bottom)

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                                                     It is rare for aspace to meet all of your needs without some
                                                     alterations. During the term of the lease, you may also want the
                                                     ability to further alter the space.


                                                     INITIAL ALTERATIONS:
                                                     WHO PERFORMS AND WHO PAYS?
                                                     When evaluating aspace, consider how much time and money alterations will
                                                     require and when you can begin operating. Here are some questions to consider:

                                                       What is the estimated cost of the alterations?
                                                       When would Ilike to start using the space? When do Ineed to start using
                                                       the space?
                                                       How long will it take the architect and engineer to prepare alteration plans?

                                                       How long will it take the landlord to review plans?
                                                       What governmental permits and approvals are needed before beginning
                                                       construction? How long will it take to get all required permits and approvals?

                                                       Are there any special approvals Imust obtain that could extend the
                                                       approval process?
                                                       Will Ineed approval from the Landmarks Preservation Commission,
                                                       co-op board, or condominium association?

                                                       When will the space be available to begin construction?
                                                       How long will it take to build out the space?
                                                       Do Ineed to get any approvals from governmental agencies upon
                                                       completion of the work, but before occupying the space?
                                                       What will happen if there are construction delays and Iam unable to
                                                       open on time?

                                                       Once construction in the space is complete, how long will it take to
                                                       prepare the space to operate my business? Do Ineed to factor in time
                                                       to stock the space?
                                                     In many leases, alandlord will only perform minimal alterations to the space
                                                     before the tenant moves in. Examples include putting up walls if alarge space
                                                     is split into smaller units or repairs to building systems. You will usually be
                                                     responsible for other desired alterations such as floor and wall coverings. If you
                                                     need extensive alterations, negotiate these terms at the term sheet stage.

                                                     If substantial alterations to the space are needed, decide whether you or the
                 Tenant Improvement Allowance:
                                                     landlord will perform the work and who will pay. A common option is the
                 Amount the landlord is willing to
                                                     landlord makes the alterations and you pay part of the expense. If you make
                 pay for initial alterations.
                                                     the alterations, the landlord may provide atenant improvement allowance to
                                                     cover some or all of the costs.

                                                     If the landlord makes substantial alterations, you can negotiate the right to
                                                     review and approve the plans. If you make the alterations, the landlord will
                                                     want to review and approve the plans. The landlord may charge afee to
                                                     review construction plans or supervise work. You can negotiate a limit to
                                                     how much the landlord can charge and require the landlord to review the
                                                     plans in areasonable time period.
Altering Space
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RENT ABATEMENT
If you need time to make alterations, the landlord will often agree to a
rent abatement. A rent abatement applies to a period of time at the
beginning of the lease when no rent is due. Rent abatements are common
and best discussed with the landlord during the term sheet stage.


PERMITS & LICENSES
Before beginning significant alterations, you may need to obtain permits
and approvals from governmental agencies. Your licensed professionals will
determine which permits are necessary for the work and will prepare and
submit the applications for permits and approvals on your behalf.

SBS can help facilitate licensing, permitting, and inspections needed
to open your business. To make an appointment, call 311 or visit
nyc.gov/businesssolutions.

To learn more about permits and approvals, visit: nyc.gov/Navigating Gov.


BUILDING CODES
Require the landlord to deliver the space in compliance with all applicable
laws. Certain governmental agencies may not permit alterations to start
until the space complies. Any time you make alterations to the space, the
landlord will require the alterations to comply with the law.

If your space is open to the public, you will likely need to comply with
                                                                                     Americans with Disabilities Act
Americans with Disabilities Act. An architect can help you understand
                                                                                     (ADA): The ADA is alaw that
these requirements.                                                                  prohibits discrimination against
                                                                                     people with disabilities, making
Some types of businesses may have additional building code requirements.             sure spaces open to the public
For example, day care centers must follow specific rules about the number            are accessible to the disabled.
and height of toilets and sinks. The NYC Department of Buildings, your
architect, engineer, or code consultant can help determine these requirements.


ALTERATIONS DURING THE TERM
Most landlords will allow you to make cosmetic or decorative alterations to
the space without its approval. There will often be alimit to the cost and type
of alterations you can make. While painting and installing wall or floor coverings
are unlikely to require landlords' approval, most others will. This should be
written in the lease. The landlord will always require review and approval of
alterations that require a permit or affect any building systems.
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                                                       RETURNING THE SPACE TO THE LANDLORD
                                                       Most leases require the space to be left in good condition, free of personal
                                                       property, swept with abroom ("broom-clean"), and with certain tenant
                                                       alterations removed. Avoid any agreement to restore the space to its original
                                                       condition. Your lease should allow for reasonable wear and tear.

                                                       The lease may require you to remove certain "specialty alterations" (such
                                                       as kitchens, staircases, and showers) at the end of the lease. A landlord
                                                       will often agree that you should only remove an alteration if it was required
                                                       when the alteration was approved. You will usually be required to repair any
                                                       damage caused by the removal of your property and alterations.

                                                       Unless otherwise written in the lease, you must remove all furniture at the
                 Fixture: Anything you attach to
                                                       end of the lease. Usually a landlord will require you to leave all fixtures, but
                 the property that is fixed in place
                                                       generally trade fixtures remain your property. This should be written in the lease.
                 and would damage the property
                 if removed (ex. counter).             Any furniture or personal items left at the end of the term become the property
                                                       of your landlord, or the landlord may charge you to remove them.
                 Trade Fixture: Personal property
                 used for abusiness purpose and
                 detachable from the space             O
                 (ex. soda machine).                   00 ADDITIONAL RESOURCES
                                                       To see whether abuilding is landmarked, visit: nyc.gov/landmarks
                                                         Enter the building address under Landmark Search

                                                       For information on permits and buildings codes, visit: nyc.gov/buildings
                                                         Select Codes
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                                                  It is equally important to review the lease when you end it as when
                                                  you sign it. Know what your obligations are when returning the
                                                  space to the landlord, including any alterations that need to be
                                                  removed or repairs needed.


                                                  LEASE RENEWAL
                                                  Landlords are not required by law to renew alease or engage in renewal
                                                  negotiations unless it is specified in the lease. New York also does not
                                                  have commercial rent regulation, which means landlords can raise the
                                                  rent however much they want in the renewal offer, unless there are
                                                  specific renewal provisions in the lease.


                                                  DEFAULT ON THE LEASE
                                                  A default occurs when a landlord or tenant violates the lease. Examples
               Lien: Claim against aproperty
                                                  of default include failure to pay rent or utilities, placement of alien on the
               for an unpaid debt. For example,
               aconstruction company may          property, or cases when the tenant abandons the space.
               place alien against the property
                                                  You can negotiate aprovision in the lease that requires the landlord to provide
               during apayment dispute.
                                                  written notice of any default. This can include the opportunity to cure, or fix,
                                                  the default. Landlords are less likely to agree to provide notice of defaults on
                                                  rent payments since you know when the rent is due and whether you paid.
                                                  Landlords are more likely to agree to provide notice of failure to make a
                                                  required repair. Depending on the type of repair, they usually give you 15
                                                  to 30 days to complete the repair.

                                                  A court will not extend acommercial lease after it is terminated. You may,
                                                  however, have some legal protections that will allow you to delay atermination
                                                  and cure (fix) the default. If you receive notice of default, consult an attorney
                                                  immediately because options are time-sensitive.



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                                                  '00 ADDITIONAL RESOURCES
                                                  For information on finding an attorney, visit: nyc.gov/LegalAssistance
End of Lease




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     Careful planning with ateam of professionals when choosing aspace and signing alease is
     critical to abusiness's success. Once you are ready to negotiate the term sheet and lease,
     you must understand all of the terms, including your responsibilities and the landlord's. When
     preparing your negotiation, determine the most important concerns for your business and
     consider what you can and cannot accept in alease.




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                COMMERCIAL LEASING
                DO'S AND DON'TS
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     00




                                 Do                                                  X Don't
      ✓ Identify what your business needs in aspace and         X Rely on oral agreements or aletter of intent.
        what you can afford before you sign alease.
                                                                X Sign a"standard lease" without understanding
                                                                  your responsibilities.
      ✓ Work with professionals (brokers and tenant
        representatives, lawyers, architects, and engineers).   X Sign alease without trying to negotiate terms
                                                                  more favorable to you.
      ✓ Consider the complexity and timing of build-out
                                                                X Sign the lease in your own name without conditions.
        when deciding the start date of a lease term.
                                                                X Trust the landlord knows the space's permitted
      ✓ Determine whether your business will need                 uses and restrictions.
        special licenses or permits to operate.                 X Assume the landlord is required to make repairs
                                                                  or provide heat, water, electric, or other utilities
      ✓ Negotiate a lease term that guarantees the
                                                                  free of charge.
        option to renew.

      ✓ Figure out how much additional rent you
        will need to pay.

      ✓ Consider negotiating a"good guy guaranty"
        to reduce your liability.

      ✓ Be clear who is responsible for expenses
        and liabilities.

      ✓ Buy insurance.




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                   SAMPLE TIMELINE
                   Timing of the commercial lease process will depend on factors discussed in this guide.
                   Factors include the type and size of space, extent of alterations, and types of permits needed.
                   Below is asample timeline of the process from start to finish.

                   Note this is asample:

                     Your process may be longer or shorter.
                     You may not need each step.
                     You may not need to complete each step in this order.

                     Some steps can be completed at the same time.

                   The right column of the timeline is blank for you to estimate how long each step may take.


 Steps toward opening your business                                                               Time estimate
 Consider and research what your business will need from alocation and space
 Interview and decide on areal estate broker and/or tenant representative
 Look at potential spaces and choose ones that meet most of your needs
 Ask broker for proposed basic lease terms
 Hire an architect and/or engineer
 Consult with the architect/engineer about whether the space will work for you
 Interview and hire alawyer
 Draft aterm sheet with the landlord
 Architect draws up plans for the space
 Research insurance options and costs
 Negotiate and sign the lease
 Review architect plans and submit them to the landlord for review
 If you need agovernment permit to make the alterations, hire acode consultant
 Submit plans to NYC Department of Buildings
 After approval, interview and hire acontractor
 Construction (this will vary significantly)
 If necessary, schedule inspections
 Minor and decorative alterations, move-in furniture




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                      If!
                            CHECKLIST & ADDITIONAL RESOURCES
                            SBS help businesses start, operate, and grow by:
                              Connecting entrepreneurs to free resources ranging from business courses to legal services
                            » Explaining government rules and regulations
                              Helping entrepreneurs apply for funding to launch or grow a business



                            GETTING STARTED

                            ❑ Learn about free resources and classes for small business owners in NYC.
                              NYC Department of Small Business Services (SBS)
                                Link: nyc.gov/sbs

                            ❑ Find acommercial lease education course:
                                Link: nyc.gov/businesscourses

                            ❑ For assistance with pro bono legal consultations for commercial leases, contracts, business
                              development, finance, navigating government, licensing, permits, and inspections contact SBS:
                                Link: nyc.gov/businesssolutions
                                Select Operate & Grow, then select Contact us for more information
                                 Or Call: 311

                            ❑ Learn about licenses, permits, certifications, and regulations:
                                Link: nyc.gov/business
                                Select Start aBusiness

                            ❑ Find out if you qualify for City, State, or Federal Government incentives:
                               Link: nyc.gov/incentives



                            LEASING COMMERCIAL SPACE

                            ❑ Research the neighborhood:
                              NYC Business Atlas
                                Link: maps.nyc.gov/businessatlas

                               NYCityMap
                                 Link: nyc.gov/citymap

                            ❑ Engage areal estate broker, and verify they are licensed:
                              NYS Department of State Division of Licensing Services
                               Link: dos.ny.gov/licensing
                                Select Search Licensees, then select Real Estate Industry

                            ❑ Check the Certificate of Occupancy, including the building's
                              legal use and/or type of permitted occupancy:
                              NYC Buildings
                                Link: nyc.gov/buildings
                               NYCityMap
                                 Link: nyc.gov/citymap
                                 Enter address at top
Summary & Takeaways




                                View information on right panel under Searched Locations
                                 Under Building and Property Information, select Building Profile
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❑ Determine the zoning designation of the property you want to lease
  and verify applicable zoning restrictions:
  NYC Buildings
    Link: nyc.gov/buildings
   NYCityMap
     Link: nyc.gov/citymap
     Enter address at top
    Zoning information is on right panel under Building & Property Information

❑ Check landlord identity and building and property information:
  NYCityMap
    Link: nyc.gov/citymap
    Enter address at top

❑ Determine if property tax is due on the building:
  NYC Finance
    Link: nyc.gov/finance
    Select Property Records

   NYCityMap
     Link: nyc.gov/citymap
     Enter address at top
    Select Tax and Property Records (right bottom)

❑ Have the lease reviewed by an attorney. SBS staff can connect you to a
  pro bono attorney for free assistance with the lease:
  NYC Department of Small Business Services (SBS)
    Link: nyc.gov/LegalAssistance

❑ Consider creating an entity that will be the tenant on the lease:
  NYS Department of State
    Link: dos.ny.gov/corps

   SBS staff can connect you to apro bono attorney for free assistance with
   entity formation:
   NYC Department of Small Business Services (SBS)
     Link: nyc.gov/LegalAssistance

❑ Check ainsurance broker's license before purchasing commercial
  general liability insurance and property insurance:
  NYS Financial Services
   Link: dfs.ny.gov
   Select Consumers, then select Insurance Products
   Select Producer/Licensee Search (at bottom)




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                      CONSTRUCTION

                      ❑ Identify and engage professional assistance from architect, contractor, and/or engineer.
                        See pages 10-11.

                      ❑ Check if acontractor is licensed:
                         NYC Department of Buildings
                          Link: nyc.gov/buildings
                          Select Business, then select Business Resources (on right)
                          Select Licensing Information (on left)
                          Select Online Search Tool

                      ❑ Have aprofessional review the lease to ensure construction plans are permitted. See pages 10-11.

                      ❑ Have aprofessional submit construction plans to landlord if required by the lease.

                      ❑ Have aprofessional submit applications to relevant government agencies.



                      OTHER HELPFUL LINKS

                      ❑ Consider business incubators and co-working spaces if you seek temporary, low-cost space and
                        networking opportunities:
                         NYC Economic Development Corporation
                          Link: nycedc.com/service/incubators-workspace-resources

                      ❑ Review potential equity, financing, and incentives programs available for your business. Search
                        online for alocal economic development corporation or small business development centers:
                        NYC Economic Development Corporation
                          Link: nycedc.com

                      ❑ Review rules for liquor licenses and apply for one if you wish to serve liquor at afood and/or
                        drinking services establishment. Consider consulting an attorney who specializes in procuring
                        liquor licenses because of the process's length and complexity:
                        NYS Liquor Authority
                          Link: sla.ny.gov
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 GLOSSARY OF TERMS
 Accelerated Rent: Lease provision giving the landlord the right to demand
 the entire balance of unpaid rent

 Additional Rent:Any costs for atenant in addition to the base rent
 (most often ashare of the operating expenses) due to the landlord

 As-is: A term used to describe the state of the space upon landlord's
 delivery, and tenant's acceptance of the space, in its present, unaltered,
 or improved condition

 Assignment:When the tenant vacates a property and turns over the
 remainder of the lease to another party through acontract

 Base Rent: The minimum fixed rent due to the landlord under the terms of a
 lease agreement

 Broker:A guide to the local real estate market and neighborhood

 Brokerage Commission: Money that the landlord pays to the broker for
 finding atenant for the property

 Business Interruption :Insurance in case of adisaster and adisaster-
 related closing (ex. extended power outages). A policy usually will cover lost
 profits and operating expenses still being incurred

 Casualty and Liability Coverage :Casualty insurance covers injuries and
 crimes that occur on the premise. Liability insurance covers injuries caused
 by an owner or employee or injuries caused by your product

 Certificate of Insurance: A document from the insurance company
 verifying your insurance coverage

 Certificate of Occupancy: NYC Department of Buildings (DOB) issues
 Certificates of Occupancy (CO) which state abuilding's legal use and/or
 type of permitted occupancy. No one may legally occupy a building until the
 DOB issues aCO or Temporary CO

 Commencement Date: The date on which the lease term begins. This date
 is often the day that the tenant takes possession of the leased space

 Commercial General Liability Insurance: Protects your business from
 lawsuits for physical injuries

 Default:A failure to perform acontractual obligation

 Escalations:Increases in rent above the base year. This can include afixed
 amount each year, apercentage increase each year, or an increase based on
 the landlord's actual increase in expenses such as real estate taxes

 Exclusivity Provision: An exclusivity provision prohibits the landlord from
 renting space in the building to acompeting business

 Fair Market Rent:An estimate of what areasonable tenant would be willing
 to pay areasonable landlord for agiven space                                             ro
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                                       Form Lease: A template lease landlords use as the first draft of the lease. It
                                       will usually heavily favor the landlord's interests

                                       Fixtures: Anything you attach to the property that is fixed in place and
                                       would damage the property if removed (e.g. window treatments, built-in
                                       furniture and some appliances like washing machines in alaundromat)

                                       Free Rent: A period during which the tenant does not have to pay rent,
                                       typically during the build-out. It is also known as rent abatement

                                       Good Guy Guaranty: A lease provision that holds the space's guarantor
                                       (e.g. the business owner) personally responsible for its obligations only while
                                       the business operates there. Once the business vacates the space, the
                                       guarantor is no longer personally liable. (See also Personal Guaranty)

                                       Holdover: The previous tenant continues to occupy the premises after its
                                       lease term has ended

                                       Indemnification: A promise to repay another party for future losses or damages

                                       Landmarked Buildings: Property that you may not be able to make interior
                                       or exterior changes to without an approval process by the City

                                       Lease Term: The period of time in which the landlord grants the tenant the
                                       right to possess and use the space

                                       Letter of Credit: A letter from a bank or financial institution that can be a
                                       substitute to acash security deposit. The letter guarantees that the bank
                                       will pay the security deposit if the tenant is unable to do so. The bank
                                       requires afee and may require collateral such as amortgage on your home

                                       Letter of Intent: A written agreement between the tenant and the landlord
                                       stating the intention of both parties to sign alease and the essential terms of
                                       the lease (ex. length, costs, construction)

                                       Lien: Claim against aproperty for an unpaid debt. For example, a
                                       construction company may place alien against the property during a
                                       payment dispute

                                       Operating Expenses: The costs of operating abuilding, including maintaining
                                       and insuring the building A tenant may pay ashare of these costs, known as
                                       the Additional Rent (See above definition)

                                       Permitted Use: Lease provision describing how the space may be used

                                       Personal Guaranty: The promise by abusiness owner, or guarantor, to pay
                                       on aloan or contract in the case the business cannot

                                       Performance Obligation: Contractual obligation to deliver services such as
                                       repairs or improvements to aspace

                                       Premises: The space that a landlord leases to atenant

                                       Property Insurance: A policy that repays aproperty owner for loss of or
                                       damages to personal property. Examples of loss and damages include fire,
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                                       theft, vandalism, and natural weather events
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Property Manager: A company hired by the landlord to manage the
property. They handle tasks including the leasing process, collecting rent,
and making repairs

Rider: Attachment to the lease that adds, clarifies, or replaces lease terms
in the "form" lease

Security Deposit: A deposit of cash or non-cash alternative (See Letter
of Credit) the tenant gives to landlord to secure performance of a lease
throughout the lease term

Sublet: When atenant leases part or all of aspace to another party for a
period of time during the lease term

Submeter: A system for measuring utility usage, such as electricity, by a
tenant in abuilding with multiple tenants

Tenant Improvement Allowance: Amount the landlord will pay for the
tenant to renovate or alter the space

Tenant Representative: Professional hired by the potential tenant to
represent only the tenant's interests when negotiating with a landlord

Trade Fixture: Removable personal property that atenant attaches to a
space for business purposes. Examples include adisplay counter or kitchen
equipment

Termination Right: A provision that allows the tenant to terminate the lease
when acertain condition is met. For example, if arestaurant is unable to
secure aliquor license

Zoning Restriction: Limits to how property owners and tenants can use
space. They are generally residential, commercial, and manufacturing




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  REAL ESTATE




  5Most Common Red Flags
  Entrepreneurs Should Know
  Before Signing aCommercial
  Real Estate Lease in New
  York
  It's exciting to find ahome for your business, but here's what experts say you
  should know before you sign that commercial real estate lease.


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                  Hayden Field
                 Associate Editor


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                                                Grow Your Business,
                                                Not Your Inbox
  June 6, 2019    9min read
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  "If Ican make it there, I'll make it
  anywhere. It's up to you, New York,
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  When Frank Sinatra first sang those
  words in 1978, we can surmise he was envisioning the city's iconic skyline,
  not the nitty-gritty details of commercial tenant contracts. But decades
  later, the lyrics are true for small business owners renting space in the very
  buildings that make up that view.

  New York is shadow-governed by some of the most powerful real estate
  conglomerates in the country -- Vornado Realty Trust, Blackstone Group
  and Brookfield Asset Management, among others. The existence of these
  ci
     mega-landlords," as well as high expenses across the board, often means



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  the odds are stacked against commercial tenants. For one, many lenders
  prefer to rent to larger chains with extensive credit histories rather than
  small business owners. There's also the matter of renovation costs: In New
  York, some commercial spaces can cost between $200,000 and $400,000 to
  upgrade acommercial space to be move-in ready. And then there's average
  retail lease length in New York City: about 10 years, compared to half that
  nationwide, according to the CBRE. That's abig commitment for an
  entrepreneur in afrequently topsy-turvy market.

  Related: If Business Is Booming, Why Is Main Street America Still Full
  of Empty Storefronts?

  "In New York, there is very little statutory protection [or laws ensuring
  certain rights] for commercial tenants," said Kevin McConnell, attorney and
  partner at Himmelstein, McConnell, Gribben, Donoghue and Joseph, LLP.

  What's asmall business owner in the Big Apple to do? Fortunately, there are
  resources available to help you come out ahead on your next lease contract.
  LegalZoom offers consultation calls and contract reviews with an attorney,
  starting at $216 total for asix-month subscription. The New York City Bar
  Association offers 30-minute phone consultations with attorneys that are
  either free or cost $35, depending on the type of case. The New York City
  Department of Small Business Services (SBS) offers aCommercial Lease
  Assistance Program for qualifying business owners, free of charge. And the
  tables may be turning via City Hall, as well.




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  "There's aproposal in the City Council -- there is abill pending -- whereby
  commercial tenants do have the right to negotiate with their landlord when
  their lease expires and the landlord must act in good faith, but there's
  nothing on the books yet," said McConnell.

  Fear not: No matter which neighborhood you've set up shop in,
  Entrepreneur compiled five of the most common landlord-tenant issues you
  may face as acommercial renter -- plus what to know before you sign that
  contract.

  Watch out for: A lapse in your commercial real estate lease

  When meeting with asmall business owner as part of the SBS Commercial
  Lease Assistance Program, the first question an attorney usually asks is: Do
  you have alease, and can Isee it? That's according to Gregg Bishop,
  Commissioner of the NYC Department of SBS. In his experience, landlord-
  tenant issues often arise after alease has expired and the landlord
  continues to accept the rent without providing new lease terms. "The lease
  is the most important instrument in terms of protecting you for future
  potential issues that you'll have with your landlord," said Bishop. "It spells
  out how each party will respond."

  The SBS program recently introduced its free legal help for commercial
  leases, and so far, its attorneys have helped negotiate contracts -- new or
  renewed -- to procure fairer terms for about 400 enrollees. New York City
  business owners (excluding franchisees) can apply here, and after
  submitting the required form, an attorney should reach out within three
  business days.

  Watch out for: The tax escalation provision

  Most commercial leases have apotentially sneaky section called the tax
  escalation provision, which stipulates the tenant will pay apercentage of



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  additional rent according to changes in the building's tax rate. It's largely
  determined by a"base year" laid out in the contract, said McConnell. Let's
  say you rent aspace for $150 asquare foot, and the contract's tax escalation
  provision has abase year of 2019. You might think $150 asquare foot is a
  great deal and sign right away, but eight years into your lease, you could be
  paying much more per square foot because of increases in the building's
  taxes -- apercentage of which you're already locked into paying.

  McConnell's solution? Try to have the base year moved forward if possible
  -- say, 2020 instead of 2019 -- and ensure the percentage of the tax increase
  you've agreed to pay is proportionate to the amount of space you're renting
  in the building. For example, if it's afour-story building and you're renting
  the entire ground floor, the tax escalation provision should stipulate no
  more than 25 percent.

  Watch out for: A strict personal guarantee

  If you're the owner of alimited liability company (LLC), renting a
  commercial space often requires apersonal guarantee. That means that
  even though your LLC is the named renter, you are essentially a"guarantor"
  for your own company, said McConnell -- in other words, you're promising
  to personally take on financial responsibilities for the space if the LLC ends
  up falling short. If you do agree to apersonal guarantee, make sure the
  contract includes a"good guy clause." It's an agreement stating that if
  you're having trouble paying rent and need to vacate the premises, you can
  hand over the keys to the landlord with acertain amount of notice to be
  released from the lease.

  "Most landlords will give that kind of a`good guy clause' -- if they don't,
  then tenants shouldn't sign the lease," said McConnell. "Most
  entrepreneurs... don't see themselves failing in six months." Something else




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  to look out for: Make sure the amount of notice stipulated in the clause is
  no more than two months (or 60 days). McConnell said he's seen leases
  under which the tenant has exercised the right to vacate but isn't released
  from their personal guarantee until six months later.

  Watch out for: Unclear terms for what happens if your building
  changes ownership

  Received aletter in the mail -- or taped to your door -- that your building is
  changing ownership? It's time to take aclose look at your contract.
  Depending on the terms, it's possible that the new owner could void your
  lease once their purchase goes through, said Bishop. There's apotential for
  the new owner to take that "escape clause," void all the leases and then
  offer to re-issue them with new terms (and higher monthly rents).

  "You can protect yourself as an entrepreneur by ensuring that if ownership
  changes, the lease terms do not change," said Bishop. Before you sign a
  lease, carefully read any provisions about ownership changes for the
  building. If there aren't any protections for your current lease terms, alert
  the landlord of your concerns. After consulting an attorney, you could even
  propose your own addendum.

  Watch out for: Commercial tenant harassment

  Maybe the heat stopped working. The refrigerator broke. Water service is
  constantly interrupted during normal business hours. There are copious
  amounts of creepy crawlers afoot. Whatever the issue, standard commercial
  contracts usually attribute responsibility for regular repairs to the landlord,
  plus dictate that they be completed in atimely manner. If your landlord is
  making it difficult for your business to operate, there's achance they could
  be attempting to push you out of the space. That likely falls under




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  commercial tenant harassment, said Bishop -- it's similar to breach of
  contract but with financial penalties attached.

  Before September 2016, tenants looking to litigate with their landlords had
  no recourse. But that's changed thanks to the "Non-Residential Tenant
  Harassment" law, which spells out behaviors that qualify as commercial
  tenant harassment. Take alook at your contract and make sure that clauses
  on timely repairs are included. Alert your landlord that you're aware of the
  contract's requirements, and if you still don't hear back, it may be time to
  consult acommercial tenant attorney. They can reach out to the landlord to
  let them know they're in danger of breach of contract, plus potentially
  negotiate new terms for the next lease. You can have an attorney prepare a
   cease and desist" letter for your landlord, and if you end up vacating the
  space because of unworkable conditions, that counts as a"constructive
  eviction," said McConnell -- meaning that since you've essentially been
  denied use of the space, you are entitled to leave with no obligation to
  continue paying rent.




  One more thing to note: An attorney will likely never advise you to withhold
  rent because doing so could strip you of your power in the situation, said
  Bishop. Failing to pay rent automatically puts you in violation of your lease,
  and the idea here is to prove the opposite -- that the landlord is the one
  who's violating terms. It's agood idea to speak with an attorney first; they
  can send an official notice to the landlord, including adeadline by which
  they must remedy the situation -- plus the actions you'll take if they fail to
  deliver.




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         CITY   COUNCIL
         CITY   OF NEW       YORK


                                                   X


         TRANSCRIPT         OF   THE     MINUTES


                        Of       the


         COMMITTEE      ON       SMALL    BUSINESS       JOINTLY
        WITH    THE    COMMITTEE          ON    CONSUMER
        AFFAIRS       AND    BUSINESS          LICENSING


                                                   X


                                       April     29,    2020
                                       Start:          1:10     P.M.
                                       Recess:         6:36     p.m.




         HELD   AT:                    Remote     Hearing


         B E F O R E:                  Mark     Gjonaj,
                                       Chairperson         of    the   Committee   on
                                       Small     Business


                                       Andrew     Cohen,
                                       Chairperson         of    the   Committee   on
                                       Consumer        Affairs     and Business
                                       Licensing




        COUNCIL   MEMBERS:
                                       Speaker        Corey     Johnson

                                       Helen     K.    Rosenthal

                                       Justin     Brannan

                                       Carlina        Rivera

                                       Brad     Lander

                                       Karen     Koslowitz

                                       Francisco        Moya

                                       Margaret        Chin

                                       Adrienne        Adams




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        COUNCIL   MEMBERS   (CONT.):



                              Kalman     Yeger

                              Steven     Matteo

                              Peter    Koo

                              Keith    Powers
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                            A P P E A R A N C E S



           Greg     Bishop

           Commissioner           of   the     New York      City    Department      of

            Small    Business          Services



           Lorelei      Salas

           Commissioner           of    the    Department      of    Consumer   and

           Worker     Protection



            Jackie    Mallon

            First    Deputy       Commissioner



            Steven    Edinony[SP?]

           Executive        Director



           Mike     Tiger

            Deputy    General          Counsel



           Evan     Franca
           Merchant     Member         of     the   North    Flatbush    Business

            Improvement       District



            Jessica     Lappin

           New York     City Business               Leader



           Andrew Riggie

           Vice     Chair    of    Community         Board    7



           Robert     Bookman

           New York     City Hospitality Alliance



           Amy Healy

            Senior    Director          Public      Affairs    of    Grubhub
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                    APPEARANCE                         S     (CONT. )



            Josh    Gold

            Director,          Public    Affairs       for    Uber



           Max     Rettig

           Global        Head    of    Public    Policy       at    Door       Dash



           Vignesh        Ganapathy       on    behalf       of    Postmates          for

           Vikrum        Dave    Aiyer



           Lisa     Sorin

           Head     of    Bronx       Chamber    of    Commerce



           Karen     Narefsky

           ANHD     Senior       Organizer       for   Equitable           Economic

            Development



            Jo-Ann       Yoo

           Executive           Director    of    the   Asian        American
            Federation



           Ahyoung        Kim
            Small    Business          Project    Manager          at    the   Asian

           American        Federation



           Ryan     Monell

            Director       of    City    Legislative          Affairs          for    the   Real

           Estate        Board    of    New York



            Steven       Choi

           Executive           Director    at    the   New        York    Immigration

           Coalition
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                    APPEARANCE                                S(CONT.)



           Mohamad Attia

           Executive           of    the    Street          Vendor      project   at   the

           Urban     Justice          Center



           Michael        Brady

           Chief     Executive             Officer          of    the   Third Avenue

           Business        Improvement                District



            Pablo    Benson          Silva

           New York        City Network                of    Worker       Cooperatives



            Jennifer       Tausig

           Co-Chair        of       the    New York          City Bid Association



           Matt     Newberg

            Founder       and Author             of    HNGRY



           Antitrust           Lawyer
            Partner       of    the       New   York        City    Law    Firm   Frank   LLP



           Yin    Kong
            Director       of       Think       Chinatown



           Alice     Lu

            Small    Business             Owners       in    Chinatown



            Julian    Hill

            Supervising Attorney                      at    TakeRoot       Justice



           Brendan        Martin

           Executive           Director          of    the       Working World



           Ryan     Roy

            Small    Business             Owner       in    Greenpoint,       Brooklyn
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                    APPEARANCE                          S(CONT.)



           Andrew     Ding

           Owner    of     the    Expat



           Carlos     Martinez

           Member     of    Sunset       Scholars        LLC



           Rahim Ali

           Chelsea       Papaya



           Mojito     Iaba[SP]

            Small   business           owner



            Shawday      Swift[SP?]

           Rebellious        Root



           Robert     S.    Altman

           Represent        the       Queens    and Bronx       Building

           Association           and    the    Building        Industry
           Association           of    New    York    City
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            COMMITTEE          ON    SMALL    BUSINESS          JOINTLY WITH             COMMITTEE
            ON    CONSUMER AFFAIRS             AND       BUSINESS          LICENSING                     3
   1

   2             CHAIRPERSON          GJONAJ:       [Gavel]         We     want    to       comply


   3   with       the    full       guidelines       during          the    hearing.           First,


   4   we    ask       that    cameras       be    places       on    viewing          mode    , so


   5   that       we    are    able    to    identify          all    parties          in


   6   attendance.              Second,       we    ask       that    your      microphones              be


   7   muted until             it's    your       turn    to    speak.          Finally,           we    ask


   8   for       all    background          noises       to    be    limited when             unmuted


   9   including             cell    phones.


  10             If    you    are   unable     to    filter          out    noises,         we'll        ask


  11   you       to    submit       your    testimony via             email       to


  12   counciltestimony@nyc.gov.                          I repeat,


  13   counciltestimony@nyc.gov.                          Should         you    choose        not       to


  14   follow          these    guidelines,          the       Sergeant         at     Arms    will


  15   block          your    video    and possibly             remove         you     from the


  16   remote          hearing.        Thank       you    for       your    kind       cooperation


  17   in    this       matter.


  18             Mr.    Chair?


  19             CHAIRPERSON          GJONAJ:        Chair      Gjonaj.            Thank       you       all


  20   for       joining       our    virtual       hearing          today      on     the    effects


  21   of    COVID-19          and    the    city's       small       business.


  22             First       off,    I'd    like    to    acknowledge             that      we've


  23   been       joined by          our    Speaker       Corey       Johnson          and    to    you


  24   Speaker,          a belated          Happy    Birthday.              Many more


  25   healthy,          Happy       Birthdays       and       looking         forward        to    be
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         COMMITTEE          ON    CULTURAL             AFFAIRS,             LIBRARIES        AND
   1
                     INTERNATIONAL                INTERGROUP                RELATIONS                     8

   2   able    to    celebrate             with    you       under          different


   3   circumstances.


   4          I'd    like    to       also       acknowledge               my    other    colleagues


   5   who    have    joined          us    so    far       today.           Council         Member


   6   Brannan,       Council          Member          Chin,          Council         Member     Rivera,


   7   Council       Member       Adams,          Council             Member         Lander,     Council


   8   Member       Yeger,       Council          Member          Koslowitz.


   9          I'm going          to    turn       it   over       to       the       Committee


  10   Counsel       Stephanie             Jones       to    go       over       some    procedural


  11   items.


  12          STEPHANIE          JONES:           Thank      you.            I'm      Stephanie


  13   Jones,       Counsel       to       the    Small          Business            Committee       of    the


  14   New York       City Council.                    Before          we    begin,       I want      to


  15   remind       everyone          that       you    will          be    on    mute    until      you


  16   are    called    on       to    testify when                   you    will       unmuted by         the


  17   host.


  18          I will    be       calling          on   panelists                to    testify.


  19   Please       listen       for       your    name          to    be    called.          I will       be


  20   periodically          announcing                who       the       next      panelist      will


  21   be.     The    first       two       panels          to    give       testimony will               be


  22   Greg    Bishop       Commissioner                of       the       New York       City


  23   Department       of       Small       Business             Services            followed by


  24   Lorelei       Salas       Commissioner                of       the    New      York    City


  25
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             COMMITTEE          ON    CULTURAL             AFFAIRS,          LIBRARIES             AND
   1
                      INTERNATIONAL                   INTERGROUP             RELATIONS                       9

   2    Department             of    Consumer             and Worker             Protection.              I will


   3    call    you       when       it    is    your       turn       to    speak.


   4           For   the       question              and    answer          period      only,       we    will


   5    also    be    joined by             First          Deputy          Commissioner             Jackie


   6    Mallon       from the             Department             of    Small       Business


   7    Services.              As    well       as    Executive             Director          Steven


   8    Edinony[SP?]                and    Deputy          General          Council          Mike    Tiger


   9    from the          Department             of       Consumer          and Worker


  10    Protection.


  11           During      the       hearing,              if    Council         Members          would     like


  12    to    ask    a question             of       the    Administration                   or    a specific


  13    panelist,          please          use       the    Zoom       raise       hand       function          and


  14    I will       call       on    you       in    order.           We    will       be    limited


  15    Council       Member          questions             to    five       minutes,             which


  16    includes          the       time    it       takes       to    answer       your          questions.


  17           Please      note,           that       for       ease    of    this      virtual


  18    hearing,          we    will       not       be    allowing          a second             round    of


  19    questions          for       each       panelist.


  20           Thank      you.            I'll    now pass             to    the    Speaker         to    give


  21    an    opening          statement.


  22           SPEAKER COREY                JOHNSON:              Thank       you    Stephanie.


  23    Thank       you    Chair's          Gjonaj          and       Cohen       for    holding          this


  24    hearing       today.              There       are       a lot       of    bills       on    deck,       so


  25    I will       be    brief          but    I wanted             to    say    that       as    we    all
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             COMMITTEE ON CULTURAL AFFAIRS,                         LIBRARIES AND
   1
                      INTERNATIONAL             INTERGROUP RELATIONS                             10

   2    know,       small businesses                make    our    neighborhoods          feel


   3    like    home       for    residents          and they       show tourists             why


   4    we're       the    greatest         city in        the world.


   5           So,   we    have     no      choice but          to make     sure   they are


   6    able    to whether             this    unbelievably painful                storm.           It


   7    is    too    important          for New York City.                 I can't       imagine


   8    my neighborhood or                  any neighborhood without                    our    local


   9    small businesses                and    I'm sure          every New Yorker would


  10    agree with that                sentiment.           But    they're       not    just    a


  11    critical part             of making New York                special.           Small


  12    businesses          employ 26 percent                   of New Yorkers          and if


  13    they close          down,       hundreds       of       thousands    of workers


  14    will permanently lose                   their       jobs    and the       city loses


  15    out    on billions             of   dollars        in    sales    tax,    property tax


  16    and income          tax    revenue.           Our       economy runs       on    small


  17    businesses          and now they are                facing unprecedented


  18    losses.           This    could be          the worst economic             disaster


  19    that New York City has                      seen    since    the    great


  20    depression.


  21          Many businesses               will be         forced to       shut   down        for


  22    good if       they don't            get more        help.        That won't       just


  23    devastate business                  owners     and their workers,                it will


  24    further       destabilize             our    economy,       our    neighborhoods,


  25    and the       lives       of    so many New Yorkers.
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             COMMITTEE ON CULTURAL AFFAIRS,                           LIBRARIES AND
   1
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   2          Congress        made       some   improvements              to    the    Paycheck


   3    Protection program but                   those          loans    are    still       too hard


   4    to    access    in    their       ensured          supply and          I'm not


   5    confident       that      they will           end up helping the vast


   6    majority of New York City                         small businesses.


   7          This     is   particularly true                   for     the    city's


   8    immigrant       owned       small businesses.                    They    face


   9    significant          obstacles          in    accessing          loans    because          of


  10    language barriers,                documentation               requirements           and


  11    eligibility criteria.                    We       absolutely need more


  12    federal      support here but                 there       are    some    things       that


  13    the    city can       do.


  14          We've     got    a large package                  of bills        that we're


  15    hearing today including bills                            that would give


  16    desperately needed help                      to    restaurants          by capping


  17    delivery app          fees.        I want          to    give    the    sponsors       time


  18    to    discuss,       so   I'll     just briefly mention                   two bills


  19    that    I'm co-sponsoring.                    Introduction             1914,       which    I


  20    co-sponsored with Council Member Adrienne Adams,


  21    would make          threatening an                impacted commercial                tenant


  22    a form of harassment punishable by a civil penalty of


  23    between      $10,000        or    $50,000.              And   Introduction           1932


  24    which    I co-sponsored with Council Member Rivera,


  25    would    suspend personal                liability clauses,                   so    that
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             COMMITTEE          ON       CULTURAL          AFFAIRS,          LIBRARIES          AND
   1
                         INTERNATIONAL                INTERGROUP             RELATIONS                         12

   2    city business                owners          don't       face    the       loss    of       their


   3    businesses             and       also       personal       bankruptcy.                 I want          to


   4    thank       everyone             who    has    joined          us,    I know       it       is


   5    especially             challenging             for       small       business          owners          to


   6    take    time       to       be    here       today       and    I know we          can't          solve


   7    all    of    the       issues          that    you       are    facing       but       I want          you


   8    to    know       the    City Council                is    committed          to    doing


   9    everything             we    can       as    quickly       as    we    can       and    I will          now


  10    turn    it       back       over       to    the    Chairs.


  11          Thank        you       very much.


  12          CHAIRPERSON                GJONAJ:           Thank        you    so   much        Speaker


  13    Johnson.           I'd       like       to    acknowledge             that       we've       been


  14    joined by          colleagues                since       the    start       of    the       hearing


  15    and we've          been          joined by Council                   Member       Matteo          and


  16    Council          Member          Moya.


  17          Good       afternoon.                  I'm Council             Member       Mark      Gjonaj,


  18    Chair       of    the       Committee          on    Small       Business          and       I'd       like


  19    to    welcome          you       to    our    remote       joint       hearing          today with


  20    the    Committee             on       Consumer       Affairs          and Business


  21    Licensing          Chaired by my                   dear    friend          Council          Member


  22    Andy    Cohen.


  23          As    Chair           of   this        Committee,          I've       had    the      honor       of


  24    being       a voice          in       the    City    Council          to    advocate             for    and


  25    support          the    over          200,000       small       businesses             in    New       York
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          COMMITTEE ON CULTURAL AFFAIRS,                            LIBRARIES AND
   1
                   INTERNATIONAL             INTERGROUP RELATIONS                                  13

   2    City.     The       small businesses                in    the    city are          the


   3    living environment                of what makes             New York great.


   4    Nearly half          of    our    small businesses                are       immigrant


   5    owned and,          in    some    neighborhoods,                these       immigrant


   6    business       owners       employ up          to    40    percent          of    the


   7    community.           Our    small businesses                deliver          cultural,


   8    relevant       goods       that    can't be          found in          larger


   9    businesses          or    in big box       stores.              They beautify our


  10    neighborhoods             and    serve    as    a meeting place                   for


  11    citizen,       city's       residents          to    socialize.


  12        Micro businesses               with nine              employees         or     fewer


  13    capture    the more             common    conception             of    the mom and pop


  14    shop.     They are          a symbol       of       the what hard work and an


  15    entrepreneurial             spirit       can    accomplish             in    our       great


  16    city.


  17        The    COVID-19         crisis        perhaps         presents          the    greatest


  18    threat    to    our       economy and          small businesses                   in modern


  19    history.        Our       non-essential businesses                      are       currently


  20    closed and they must                now decide whether                      they can


  21    continue paying their                staff          rent,       debt,       real       estate


  22    taxes,    sewer          and water       charges          throughout             the


  23    duration       of    this       crisis.


  24        Our    essential businesses                     may also be             struggling


  25    with the       declined business                and       sales       and now,          have
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             COMMITTEE ON CULTURAL AFFAIRS,                           LIBRARIES AND
   1
                     INTERNATIONAL             INTERGROUP RELATIONS                                   14

   2    the    added burden            of providing personal protective


   3    equipment         or    PPE    to protect             their    staff          and


   4    customers.


   5          I look       forward to hearing                   from Commissioner


   6    Bishop      about       the    SBS's       Loan       and Grant program and


   7    their      success       and    failures          in    getting necessary


   8    financial         resources       into          the    hands       of    small business


   9    owners.


  10          I believe with the               right           amount      of    resources           and


  11    leeway;      you       could have          done more          to    save       our


  12    businesses         and you       still          can.     I have          a number        of


  13    questions         for    the    Commissioner,             specifically how SBS


  14    engaged without               immigrant          small business                owners.        Why


  15    these programs            close       so    quickly and to                get       a


  16    breakdown         of which types                of businesses             and


  17    neighborhoods            benefited the most                   from these programs.


  18    It    is   well    documented that                this    virus          had a


  19    tremendous         negative       impact          on    the    communities              of


  20    color.       And       I want    to make          sure    that          the    issuance       of


  21    financial         relief       did not          disproportionately benefit


  22    business      owners          living       in    certain       areas          or working       in


  23    certain      industries          or    of       a certain          size.        And while


  24    I'm eager         to    get    answers          from the       Commissioner              on   the


  25    Grant      Loan program,          I'd like             to be       honest.           I have
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          COMMITTEE             ON    CULTURAL             AFFAIRS,          LIBRARIES            AND
   1
                      INTERNATIONAL                   INTERGROUP             RELATIONS                            15

   2    deep    concerns             that       the    Mayor          may    have       taken       his       eye


   3    off    the    ball       in    protecting                New       York    City       small          and


   4    micro       businesses.                 While       he's       out       busy playing


   5    national       politics,                struggling business                      owners          are


   6    left    wondering             if    he       would       do    his       job    and       focus       on


   7    protecting          them       during          a crisis.


   8           To    say    he   was        MIA,      we'd be          putting           it mildly.


   9    The    Mayor       needs       to       realize          that       he    must       work with


  10    this    body       to    ensure          that       we    can maximize                the       city's


  11    response.           Norkman[SP?]                   reminds          us    of   when        Washington


  12    told New       York          City       to    go    to    hell       in    the       1970's          by


  13    allocating          only       $49       million          in       aid    to    our       small


  14    business.           In       essence,          he    has       told New York                City


  15    small       businesses             they       can    go       to    hell       and    they       are       not


  16    relevant.


  17           To   put     things          in   perspective,                    $49   million          of     the


  18    200,000       businesses                in    New York             City,       equates          to    $245


  19    per    business.              We    spend more                on    parades          in    New York


  20    City.        This       Administration                   spent       more       on    parades.


  21    This    Administration                   is    a $62.4             million       in       the    FY       2021


  22    Budget       for    Department                of    Transportation                   Executive             at


  23    Administration                on    other          than       personal          service          debt.


  24           $172   million              in    contracts             for       legal       services.


  25    $129    million          for       contracts             for       security          services.
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             COMMITTEE ON CULTURAL AFFAIRS,                      LIBRARIES AND
   1
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   2    $45.6 million          for printing             contracts          and    $30    million


   3    for    advertising.           I suggest          this    Administration                focus


   4    on    the    lifeblood of          our    economy.           Our    small


   5    businesses          contribute billions                annually to            our     digit.


   6    They deserve more,             they are          entitled to more.                    The


   7    city must be          there    for       them in       this    time      of     crisis.


   8    This    hearing       is    also    a legislative             one.       We will be


   9    hearing a package             of bills          today and intended to


  10    provide       immediate       relief       to    our    struggling            small


  11    businesses          during this          crisis.        We will be            hearing


  12    eight bills          today that          relate    to    third-party delivery


  13    platforms.           We've    had two       oversight hearings                   on    this


  14    topic       this    legislative          session       and have          spent      almost


  15    a year working on             this       legislation.              The bills          we're


  16    hearing today will             ensure       that       the    restaurants             will


  17    be    able    to weather       the       storm and reopen                for business


  18    after       this    crisis    is    over.


  19           I'm especially proud of my bills,                           Intro.'s           1895,


  20    1896,       1897,    1898,    and    1921.        I am also          co-sponsor             of


  21    my colleagues          bill    Council Member                Francisco Moya's


  22    bills       Intro.    1907    and    1908.        The    Committee will                also


  23    be    hearing       Into.    1914    and    1932.        I look          forward to


  24    beginning a dialogue with                   SBS    and our          advocates          here


  25    today on       all    these bills          as    they continue             the
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   1
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   2    legislative process.                       The package          of bills       we're


   3    hearing today will provide                         small businesses             with the


   4    essential          relief       they need and deserve.


   5           I fear      after we          open back up           this       city and life


   6    begins       to    return       to    a new normal,             we will       see    our


   7    commercial          corridors             decimated and empty.                 There were


   8    signs    of       this    before          this    crisis.        We    can't    even


   9    imagine what             our    commercial          corridors          will    look like


  10    after    this       crisis.


  11          We must prevent mass                       retail vacancies.             We must


  12    save mom and pop                shops;       we must       take       advantage       and


  13    legislative          action          to    ensure    small businesses                are


  14    protected.           Now is          the    time    to be proactive.                 I


  15    created a petition                   calling       for    City Hall       in Albany to


  16    wake    up    and delay business                   income       tax,    sales       tax,


  17    payroll       tax,       real    estate          taxes    and water       and       sewer


  18    charges.           Nearly 20,000 New Yorkers                      agreed that            this


  19    must be       done.        With that             said,    I'd like       to    thank the


  20    Speaker       of    the    Council          for    adapting to          this    new


  21    normal       and allowing the                Council       to    resume       our work


  22    despite       these       challenges.


  23           I want       to    thank my Chief             of   Staff Regi           Johnson,


  24    our    Legislative             Council       Stephanie          Jones,    our       Policy


  25
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          COMMITTEE             ON    CULTURAL         AFFAIRS,              LIBRARIES          AND
   1
                      INTERNATIONAL                   INTERGROUP             RELATIONS                      18

   2    Analyst       Noah Meixler                and       Financial             Analyst       Aliya       Ali


   3    for    their       hard work             in    preparing             for    this       hearing.


   4           I'd    like       to       turn    it   over        to   Chair        Cohen,          who


   5    Chairs       the       Committee          on    Consumer             Affairs          and Business


   6    Licensing          to    say       a few words             and       give    an       opening


   7    statement.              Chair       Cohen?


   8           CO-CHAIR          COHEN:          Mark,        it's      good        to    see    your


   9    face.


  10           CHAIRPERSON                GJONAJ:           Same    here.


  11           CO-CHAIR          COHEN:          Alright,           good          afternoon.           My


  12    name    is    Andrew          Cohen       and       I am    the       Chair       of    the


  13    Committee          on    Consumer             Affairs       and Business                Licensing.


  14    I'd    like       to    thank       everyone          who       has       managed       to    join       us


  15    for    this       remote          hearing       and    thank          you    Council          Member


  16    Gjonaj       for       convening          this       important             hearing       together.


  17           The    scope          of    today's          hearing          is    extensive          and    it


  18    has    been       mentioned,             it    is    both       an    oversight          hearing


  19    and    an    opportunity             to       gather       feedback          on       numerous


  20    pieces       of    legislation.                 I look          forward          to    hearing


  21    directly          from       small       business          owners          about       the    impact


  22    that    this       pandemic          on       their    operations                and    their


  23    experiences             navigating             government             programs          meant       to


  24    assist       them.


  25
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             COMMITTEE ON CULTURAL AFFAIRS,                          LIBRARIES AND
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   2           Small businesses                 are    the    lifeblood of          our       economy


   3    but we      all    know that            even before          this    pandemic hit,


   4    maintaining a profitable                       one    in    the    city was


   5    incredibly difficult.                     So,    it    is    hard to       comprehend


   6    to    tenacious         small business               owners       are making          it


   7    happen      now.


   8           But many of           you   still        are.        We've    heard


   9    incredible         stories         of    ingenuity and innovation                      in    the


  10    ways    that      you have been               able    to utilize          technology to


  11    reach your         customers.             I hear       that       there    are bodega's


  12    in    the   Bronx that          are      now taking orders                online while


  13    others      such as          restaurants         and       food trucks          are    still


  14    operating and            sending         food to       our    frontline


  15    healthcare workers.


  16           While      it    is   inspiring to hear                about       the


  17    generosity and resilience                       of    our    small business


  18    owners,      we    do    not want         you    to bear          this    weight       alone.


  19    Many of      you have          called         for very       specific       legislation


  20    and governmental               support         to help       you    navigate          this


  21    unprecedented crisis.                     In    response,          Chair    Gjonaj,


  22    myself      and my       fellow Council Members                     introduced a


  23    package      of    legislation            geared toward reducing the


  24    burden      on    small business               to help       you maintain             your


  25    operation         and get       through this               crisis.
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   2          My bill          Intro.       1916 will       require          the       Department


   3    of    Consumer Affairs               to waive       and refund all                fees


   4    related to          sidewalk cafe            licenses          for       the    remainder


   5    of    this    year.          Sidewalk cafe's             cost       restaurant          owners


   6    thousands         of    dollars       in    fees    annually.              There       are


   7    approximately            1,400       sidewalk cafe's                in    the    city


   8    representing an               annual       cost    to    the    industry of


   9    between       $11      and    $12    million.           It   simply does              not make


  10    sense       for   the    city to          collect       these       fees       when


  11    restaurants            are    one    of    the    hardest hit             industries.


  12           I look       forward to hearing                  from Commissioner                Salas


  13    and the Administration                     regarding this                legislation.


  14    I'm also proud to be                  a co-sponsor             on    several          of my


  15    colleagues          bills      including the bills                   limiting the


  16    fees,       the   commissions             that    restaurants             and grocery


  17    stores       have      to pay third party                food delivery


  18    companies.


  19           In    this      time   of    need,        these businesses                and their


  20    workers       continuously put               themselves             on    the    front       line


  21    to help New Yorkers                  acquire basic             necessities.              It    is


  22    distressing to hear                  that    their       already          slim profit


  23    margins       are      further       diminished by exploitatively high


  24    commissions            and    fees.


  25
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          COMMITTEE            ON    CULTURAL             AFFAIRS,             LIBRARIES          AND
   1
                     INTERNATIONAL                   INTERGROUP                RELATIONS                      21

   2           Finally,        before           we    begin          to    hear      the     testimony,            I


   3    would    like      to       thank       all       the    City Council                staff       who


   4    helped make            this       virtual          hearing possible.                       Specific


   5    from    Consumer            Affairs          Balqees          Mihirig,          Senior          Counsel


   6    Leah    Skrzypiec,            I hope          I said          that       right       and    Policy


   7    Analyst      Sebastian             Bacchi,          Senior             Finance       Analyst          as


   8    well    as   my    Legislative                Director             Patty Vandenack                and      a


   9    particular         thank          you    to       all    the       IT    people       who       are


  10    really making               this    miracle             of    technology             take       place.


  11           These    certainly               are       trying          times      but     I hope      New


  12    Yorkers      find       it    reassuring                to    know       that       the    Council


  13    can    continue         its       work       to    serve          the    people       of    this


  14    city.


  15           I believe            that    Council             Member          Gjonaj       acknowledged


  16    all    the   members          of    my Committee.                       I'm not       sure       he


  17    acknowledged            Council          Member          Koo,          who    has    joined       us


  18    also.


  19          And with          that       Mark,          I'm going             to   turn     it   back


  20    over    to   you.


  21           CHAIRPERSON            GJONAJ:              Thank          you    Council       Member.             I


  22    also    want      to    acknowledge                that       with       us,    we    have       public


  23    advocate       Jumaane            Williams          and we've                been    joined by


  24    Council      Member          Powers.              I want          to    acknowledge             Council


  25    Members      Moya,          who    is    a sponsor                of    Introduction             1907
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   1
                      INTERNATIONAL                INTERGROUP          RELATIONS                         22

   2    and    1908.        Council          Member       Adams       the       sponsor       of    Intro.


   3    1914,    Council          Member          Matteo       the    sponsor          of    the    pre-


   4    considered bill,                Council          Member       Rivera          the    sponsor          of


   5    Intro.       1932    and       the    Public          Advocate          who    is    the


   6    sponsor       of    the       Resolution          Number       1049.


   7           For    ease       of   this    virtual          hearing,           we       will    be


   8    limiting       opening          statements             to    five       minutes       for       each


   9    sponsor.           I'd    like       to    turn       it    over    to       Council       Member


  10    Moya    for    some       remarks          followed by Council                      Member


  11    Adams.        Council          Member       Moya?


  12           COUNCIL       MEMBER MOYA:                 Thank       you       Chair       Gjonaj.           I


  13    want    to    start       by    thanking          my       colleagues          and    of    course


  14    the    Speaker       of       the    City    Council          and       Chair       Gjonaj       for


  15    partnering with                me    on    the    package          of    legislation             to


  16    protect       New York          City's       local          restaurants             that    we    are


  17    going    to    be    discussing             here       today.


  18           When    I introduced               these       bills        back       in    February,


  19    we    lived    in    a much          different             city.        At    the    time,       we


  20    were    concerned             about       family       owned       restaurants


  21    struggling          to    keep       their       doors       open       because


  22    commission          fees       from       apps    like       Grubhub          were    really


  23    causing       an    issue       for       them.


  24           Now    restaurants            have        no   choice        but       to    keep    their


  25    doors    closed.              Many have          already       closed          for    good
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   1
                      INTERNATIONAL             INTERGROUP RELATIONS                                     23

   2    because       of    the    devastating effects                   of    the    COVID-19


   3    crisis.        With no          one    sitting down          at       their


   4    restaurants,             countless          front    and back of house                   staff


   5    have been          laid off.           Every restaurant                felt       the


   6    pressure       to partner with third party                            food    service


   7    apps,       like    seamless          before but          now,    they have             no


   8    choice.        Some people             treated these             apps    like       saviors


   9    for    restaurants             allowing them to             reach       customers             who


  10    were    staying home             and    social       distancing.


  11           In March Grubhub made                      headlines       when       it   announced


  12    it would       suspend commission                   fees    as    the    restaurant


  13    struggled to             cope with the pandemic.                       Good news             for


  14    restaurants          on    the brink of             failure.           Outlets          like


  15    CNBC    and others             reported that           Grubhub would and                     I


  16    quote,       for    go    or waive          commission       fees.           Except          it


  17    wasn't       true.        In    fact,       there was       so much          confusion


  18    and misrepresentation                   about what          Grubhub was             doing


  19    that    it    later had to             clarify its          statement.


  20           No,    it wasn't waiving                   fees,    it was       just      deferring


  21    them to       a later          date.        So,    another words,             they were


  22    telling       restaurants,             we    hope    you    survive          long enough


  23    to pay us          our money.           How generous             of    them.


  24           Is    there       anyone who         actually believes                 that      these


  25    restaurants          barely hanging on will be                         able       to pay off
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   1
                      INTERNATIONAL               INTERGROUP RELATIONS                          24

   2    the    commission          fees      by    some   unidentified date?                  Of


   3    course       not.        It's   disingenuous          to    act    otherwise.


   4           Restaurants          needed help before               COVID-19          epidemic.


   5    They are       getting          swallowed up by the               exorbitant


   6    commission          fees    that      reach as       high as       30    percent       and


   7    exceed the          slim perfect margins               most       restaurants


   8    operate       in.


   9          Now,     as   they perform the                essential       functions         of


  10    feeding New Yorkers,                  they need this             help more         than


  11    ever.        This    is    why we've         added a section             to    Intro.


  12    1908,    which would place                  a ten percent          cap    on


  13    commission          fees    from third party               food vendor             services


  14    to    specifically address                  the   needs     during a crisis


  15    like    COVID.


  16           The   new    section mandates                that    in    times       of


  17    declared emergencies,                     where   restaurants           are    limited


  18    to pick up          or    delivery only,            apps    could only             charge


  19    restaurants          for    actually delivering meals.                         When we


  20    introduced this             package         of bills,       I already could                see


  21    a nightmare version                  of New York that had nothing but


  22    chain    restaurants            on    every block because                no    locally


  23    owned place          could       survive      the    cost    of    doing business


  24    here.        Without putting               in place    the protections                these


  25    bills would create,                  that    nightmare       seems       almost
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   1
                      INTERNATIONAL                INTERGROUP            RELATIONS                         25

   2    impossible          to       avoid.        Restaurants             and      the    workers          who


   3    keep    them       running          in    the    community            that       they    serve


   4    are    demanding             that    we    do    something            to    give    them a


   5    chance       at    survival.              This       was    true      before       the


   6    pandemic;          it    turned          the    world upside               down    but    now


   7    more    than       ever       there       is    a greater          urgency         to    get       this


   8    done.


   9           So,    I want         to     take       this    opportunity              again     to


  10    thank    the       Speaker,          Chair       Gjonaj          and my         colleagues          for


  11    being    a leader             on    this       issue       and   a champion             for    New


  12    York    City       small       businesses             and    I urge         my    colleagues


  13    to    join    us    in       supporting          these       bills.             Thank    you


  14    Chair    Gjonaj          for       the    opportunity            to    speak.


  15           CHAIRPERSON             GJONAJ:           Thank      you       Council      Member


  16    Moya.        I'd    like       to    call       on    Council         Member Adams             for


  17    some    remarks,             followed by Council                   Member         Matteo.


  18    Council       Member          Adams.


  19           COUNCIL      MEMBER ADAMS:                     Thank      you       so   much     and       good


  20    afternoon.              I'd    like       to    start       by   thanking          Chair's


  21    Gjonaj       and    Cohen          for    today's          important            hearing       on    the


  22    impact       of    COVID-19          on    New York          City.          I'm proud          to


  23    sponsor       Introduction                1914       with    Speaker            Johnson.           This


  24    bill    would make             threatening             a commercial               tenant       based


  25    on    their       status       as    a COVID-19             impacted business                  or
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   2    person       a form of harassment punishable by a civil


   3    penalty of          $10,000         to    $50,000.           Our businesses,


   4    especially          small businesses                  are    extremely vital         to


   5    the pulse          of    our      neighborhoods.              Small businesses            are


   6    suffering          right       now as      they are          forced to      adapt    to    a


   7    new normal.             We     need to         act    now to protect         the


   8    businesses          that make            our    neighborhoods          vibrant      and


   9    maintain       the      history and character                   of    our   communities


  10    across       the    city.


  11           Unfortunately,              thousands          of businesses         in     our


  12    city are       suffering as               they've been          forced to        close


  13    due    to COVID-19.               As     availability of             federal     loans     is


  14    limited,       many businesses                  are    unable    to pay their


  15    rent.        This       leaves      them vulnerable             to harassment            from


  16    landlords          in    search of ways               to    collect    or   in   essence


  17    force    the       incumbent           tenant        to voluntarily abandon               the


  18    property,          so    that      new tenants             willing to pay higher


  19    rents    can move            on    in.


  20           The   threat          of harassment will particularly impact


  21    the    city's       small         independently owned and immigrant


  22    owned businesses,                 many of which were                 operating on


  23    thin margins             and      struggling to pay rent                even before


  24    this    crisis.


  25
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             COMMITTEE       ON       CULTURAL AFFAIRS,             LIBRARIES         AND
   1
                      INTERNATIONAL             INTERGROUP          RELATIONS                       27

   2           So,    I thank the             Speaker       for   his     leadership           and


   3    partnership             and    I certainly thank my                colleagues           for


   4    considering             Intro.    1914       to protect         our    small


   5    businesses          and protect          commercial          tenants.


   6           Thank you,             Chair's.


   7           COUNCIL MEMBER GJONAJ:                       Thank you         so much         Council


   8    Member.           I'd    like    to    call    on    Council       Member Matteo              to


   9    give    his       remarks       followed by Council                Member        Rivera.


  10    Council       Member Matteo?


  11           COUNCIL MEMBER MATTEO:                       Thank you         Chair's       Cohen


  12    and Gjonaj          for       holding    today's          joint    hearing.            Thank


  13    you    to    the    staff       that    has    helped make            it possible,


  14    truly appreciate                all    your    hard work.


  15           Every one          knows       how terrible          this   pandemic           has


  16    been.        It    has    kept    families          and    friends         apart;      it    has


  17    taken       so many       loved ones          from us.          The    toll      on    our


  18    physical          and mental          health    continues          to be      felt      and


  19    the    hardship          of    this    place    and our         small      businesses


  20    has    also been          unprecedented.


  21           Small      businesses           are    the   backbone          of   our


  22    communities             and the       engine    of    our    economy.            They


  23    employ more             than    half    our    city's       workforce         and most


  24    of    our    residents.           They       support       non-for-profits              that


  25
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             COMMITTEE ON CULTURAL AFFAIRS,                            LIBRARIES AND
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   2    enhance       our       neighborhoods             quality of             life    to    a level


   3    that government                can   never        accomplish on                its    own.


   4           We   have    to       support        them to       get back on                their       feet


   5    so    they can          continue       to    fill       that vital             role    in New


   6    York City.              That    is   why     I have       introduced this                   pre-


   7    considered          Intro.           I appreciate             that       license       and


   8    permits       have been          extended during the                      duration          of


   9    these       emergency but            the     agency response                   to Executive


  10    Order       107    of    2020    has    been uneven                at best.           Some


  11    agencies          maintain       that permits             have       to be       renewed at


  12    the    expense          of    small businesses,                so we       need the Mayor


  13    to    clarify which permits                      and licenses            have been


  14    extended.


  15           We   also much ensure                 that       our    small businesses                  are


  16    not burdened with                red tape          just       as   we     are    starting to


  17    allow them to                reopen.        That    is    why no permit                or


  18    license       should have            to be        renewed          for    90    days    after


  19    this    emergency is             over.           This    will       give       small


  20    businesses,             our mom and pop             establishments,                   our    local


  21    restaurants             and others          at    least       some breathing                room


  22    as    they try to             restart       and to       operate without


  23    worrying about paper                   or    a fine       from the             city.


  24           I look       forward to hearing                   from the Administration


  25    and working with them to make                            sure       that       this    burden
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             COMMITTEE          ON    CULTURAL       AFFAIRS,             LIBRARIES          AND
   1
                      INTERNATIONAL                INTERGROUP             RELATIONS                      29

   2    is    lifted       from       small       businesses          before       it    hobbles


   3    them    in    their          come    back.


   4           Thank       you,       Chair's.


   5           COUNCIL       MEMBER GJONAJ:                    Thank       you    Council          Member


   6    Matteo.        I'd       like       to    call    on    Council          Member       Rivera


   7    for    some    remarks,             followed by             Public       Advocate


   8    Williams.           Council          Member       Rivera.


   9           COUNCIL       MEMBER RIVERA:                    Thank       you.     Good


  10    afternoon,          I am Council             Member          Carlina       Rivera          and    I'd


  11    like    to    thank          Chair       Gjonaj       and    Chair       Cohen       and


  12    members       of    the       Small       Business          and    Consumer          Affairs


  13    Committee's             for    letting me             speak briefly             at    this


  14    hearing       on    my bill,             Introduction             1932    which would


  15    prohibit       the       enforcement             of    personal          liability


  16    provisions          in       commercial          leases       or    rental       agreements


  17    involving          a COVID-19             impacted          tenant.


  18           This    pandemic             has    already          left    a profound             impact


  19    on    our    city.           One    that    will       be    felt    for    years          if    not


  20    decades.           No    where       will    this       long       term    effect          be    felt


  21    more    than       in    our       small    business          community where


  22    countless          owners          are    facing       the    very       real    possibility


  23    that    their       stores          may    never       return.


  24           We   must        do    everything          in    our    power       through


  25    legislation             and    advocacy          to    help       these    pillars          of    our
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   1
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   2    communities          and the       thousands          of New Yorkers                they


   3    employ.        My bill will          ensure          that business             owners,


   4    should they be             forced to walk away or                      temporarily


   5    shutter      their     stores,       through no             fault       of    their    own


   6    can    do    so without       facing personal                   liability,          ensuring


   7    that one       day they may be             able       to    return          and relaunch


   8    or    create    a new thriving business                         in    our


   9    neighborhoods.


  10           Sadly,       I am already hearing                   from small businesses


  11    in my district             that    some    landlords             who    I understand


  12    maybe       suffering as          well    are    going after                small


  13    business       owners       life    savings          and personal             assets


  14    during this          national pandemic.                    These       are    folks    like


  15    my constituents            Mario,        the    owner       of       Follia,    an


  16    amazing       Italian       restaurant          on    3rd   Avenue.           Mario    is


  17    already getting             rent    due    notices          and threats             from his


  18    landlord that          the personal             liability clause                in his


  19    lease will          soon be       acted upon.              He    has    no where       to


  20    turn    right       now.


  21          No matter        the    need,       it    is   a moral           and unethical


  22    failure       for    landlords       to    seek       such       restitution          for


  23    people who have             already lost             their       life's      work.         Any


  24    small business             owners    that's          taken       the    right       steps    in


  25    incorporating their business                         should be protected by
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   1
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   2    this bill          and    I encourage               all members           of    these


   3    committees          to please             support        Intro.       1932.


   4           I also want          to       recognize          that      that bill's we             are


   5    hearing today wont                   do    enough        for      every      small business


   6    owner and that             this       crisis          has    only deepen             the


   7    challenges          our    small businesses                    have     faced        for


   8    decades       in    our    city.


   9          We must        continue             to   fight        for   the   assistance we


  10    need from Albany and Washington both                                    in     the    form of


  11    rental       forgiveness             for       small business             tenants          and


  12    financial          assistance             as    well.        And as       part       of    any


  13    relief package,                our    nonprofit             and    small       landlords


  14    must be      taken        into       account          through methods                such as


  15    property tax             relief.


  16           So,   as     long as          they are          actively working to


  17    provide      direct        relieve             to   their      tenants         themselves.


  18    When    I go       out    to    deliver             food or       assist       folks       in my


  19    district,          I have been both                   saddened and             strengthened


  20    by the       store       owners       who while             shuttered and             stressed


  21    continue       to    support          and give back to                  their        community


  22    so    selflessly.              It's       time we        stepped up            and gave back


  23    to    them in       this       time       of    crisis.


  24           Thank you.


  25
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   1
                      INTERNATIONAL                   INTERGROUP             RELATIONS                      32

   2           CHAIRPERSON                GJONAJ:           Thank       you       Council       Member


   3    Rivera.           I want          to    call       on    Public       Advocate          Williams


   4    for    some       remarks.              Public          Advocate.


   5           PUBLIC       ADVOCATE             WILLIAMS:              Thank       you    so    much


   6    Chair    Gjonaj          and       Chair       Cohen.


   7           CHAIRPERSON                GJONAJ:           Can't       hear       you.


   8           PUBLIC       ADVOCATE             WILLIAMS:              You       can't    hear me.


   9    Can    you    hear       me       now?        I want       to    thank          Chair    Gjonaj


  10    and    Chair       Cohen          for    this.           I apologize,             I have       to


  11    keep    the       mask       on.        I'm    in       a crew       distribution             event


  12    in    Statin       Island,             but    I'm used          to    the       magic    of


  13    technology,             I can          still       get    my    statement          in    this


  14    hearing.           So,       I appreciate                the    opportunity             to    speak.


  15           I do   want           to    thank       Speaker          as    well       for    working


  16    with    the       Council          to    get       there       hearing          online       and


  17    showing       leadership                for    our       legislature             that    act       the


  18    core    of    the       country          that       this       can    be    done       and    I'd


  19    also    like       to    say       the       Speakers          quarantine          barrier          much


  20    better       in    the       mind,       so    I appreciate                that    as    well.


  21           And    I appreciate                   the    attention             for    Consumer


  22    Affairs       and Business                   Licensing          and       Small    Businesses


  23    for    holding          an    oversight             hearing          on    the    impact       of


  24    small    businesses                in    New York          City.           I know       the


  25    Committee          is    hearing             several       bills          that    will       support
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   1
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   2    our    restaurants            and delivery workers                in    our    small


   3    businesses.              I support my colleagues                  efforts          and


   4    thank them for                introducing these bills.


   5           I'd also          like   to    thank our          first    responders             and


   6    frontline workers                for helping our             city battle


   7    coronavirus,             as   well    as    keep    this     city moving.                I'm


   8    calling and working with the                        City Council             to make


   9    sure    that       our    essential workers,               who very often                are


  10    pushed out          of    [INAUDIBLE         31:37]       for    the    rest       of    the


  11    city will          get    the    recourse         that    they need due             to       the


  12    failures       of    our      city exec,          state    exec       and our       federal


  13    exec    in    decisions          that were made.


  14           To    the    residents         of New York City,                I want       to


  15    stress       how important            it    is    that we       continue       to


  16    practice       social         distancing and             stay home       as    much as


  17    possible.


  18          With that           said,      as    this    crisis       continues,          the


  19    financial pressures                  on New Yorkers             will    only


  20    increase.           My Resolution,               Resolution       1049       aims       to


  21    address       the major          root      cause    of    one    of    the    financial


  22    issues       that many New Yorkers                   face,      confession          of


  23    judgement          in business            loans.      A confession            of


  24    judgment       is    a written            agreement which one                signed by


  25
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   1
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   2    the bar       of monetary loan                relinquishes              the borrowers


   3    right to          dispute       legal       claims       made by length.


   4           In   other words,           a person            is   giving up          their    right


   5    to    due process          if    the    debt      is     unpaid and there              is    a


   6    dispute.           While    confessions             of      judgement         allow


   7    lenders       to    resolve       and receive               [INAUDIBLE         32:28]       in   a


   8    timely manner,             these       agreements            have      also    lead to


   9    predatory practices.                    Lenders          can use        there


  10    agreements          to   accuse borrowers                   of    defaulting on         their


  11    loans       and    seize    their       assets         without proof            and prior


  12    notification.


  13          The    Resolution          calls       on     the     Congress          and New York


  14    State       to pass      legislation           to prohibit use                 of


  15    confessions          and judgement             in business              loans.        There


  16    have been          some points          in    our      federal         government,          it's


  17    a step       in    the   right     direction but                  it   does    not


  18    prohibit          confessions          of    judgement            from being         filed


  19    against       an    instate       debtor which               leads     many New


  20    Yorkers       vulnerable          to predatory living practices.


  21          One    group       of New Yorkers                who have made            this


  22    vulnerable population,                      taxi medallion              owners.        There


  23    are    11,938       taxi medallions               in New York City and


  24    obtaining a taxi medallion                        is     not      a cheap      endeavor.


  25    With many taking out                   a business            loan      and they
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   1
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   2    couldn't       afford it.              Between       2002    and 2014,          the price


   3    of medallions             $200,000          to more    than       1 million       even


   4    though      city records           show that          the    taxi       driver    incomes


   5    barely change.


   6          Can    you     still   hear me?               Sorry,    the       following


   7    year,    the       cost    of medallions             began    to    fall    as    the


   8    value    of    the    taxi medallions                fell,    as    the value          of


   9    the    taxi medallions             fell,       lenders       denied,       borrows


  10    appeals       to    refinance          and instead issued confessions


  11    of    judgment.           Allowing the             lender    to    seize    the


  12    borrowers          assets.        In    fact,       several banks          use


  13    confessions          of    judgement          in    their    lending activity


  14    where    the borrower has                   admitted to       defaulting on             a


  15    loan even before borrowing any                         funds       at    all.


  16          The     ripple      effect       of    the predatory lending


  17    practices,         much of which were based on                          confessions          of


  18    judgement have             left    taxi       drivers       and others          who    own


  19    medallions          and a lot          of    debt.


  20           Incurably a number                of medallion holders                   have


  21    taken their          lives    due       to    the    overwhelming          stress       from


  22    their    debt.


  23          Now,     the    city has         the    opportunity to             address        this


  24    outcome       in    a number       of ways.           The    city       should look to


  25    offer a debt          forgiveness             course    [inaudible          34:25]          the
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   1
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   2    man    the    Council          appointed the panel                to uphold the


   3    bill    for    thousands             of    drivers       and we      applaud that.


   4    Although much of                our       city    funds      will be       decimated to


   5    address       the    COVID-19             related issues,            we    need to          look


   6    to how to make                the promise bailout                a reality            for    the


   7    taxi    drivers          as   well.         Not       only are    they among the


   8    front    line workers                who    are       going outside         every day to


   9    make    sure people             can       get    around      safely,       they are          also


  10    among those who                are    financially            struggling during


  11    this    pandemic.


  12           Small businesses                are      also    at   risk of       confession


  13    of    judgments          to use       against          them and probably even


  14    more    so    as    we move          through this            COVID    responsive


  15    recovery.           Whether          a local          restaurant      or    retail


  16    store,       the    reality that                small business            owners       are


  17    vulnerable          to    the predatory practice.                         This    is    the


  18    especially true                in    our    current       environment            as    most


  19    this    is    effectively             stopping a steady               stream of


  20    income.        Businesses             already have very tough decisions


  21    to make,       businesses             that have          signed loans            with high


  22    interest       rates          cannot       afford to         on because          of    a


  23    missed payment.                 The       situation       for    these      small


  24    businesses          that       empower          and    strengthen         our


  25    communities          is       precarious          at best.
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   2           MODERATOR:                 Time.


   3           PUBLIC       ADVOCATE             WILLIAMS:              Losing          and       these    small


   4    businesses          will          be    a catastrophe                and we          expect       it


   5    might    be       more.           But    it    does       not    have       to       be    this    way


   6    and    the    legislation                on    a federal             level       and       on    the


   7    state,       it's       the       best       recourse.


   8           New Yorkers                under       stress       cannot          wait       any       longer


   9    for,    as    their          collectors             continue          to    misuse


  10    confessions             of    judgement.                 So,    I'm       asking my


  11    colleagues          to       join       me    and       this    is    just       a resolution


  12    but    I think          it    helps          New    York       City       Council          to    make


  13    sure    that       we    are       pushing          as    hard       as    we    can       in


  14    conjunction             with       the       other       bills.           I think we             will    be


  15    moving       in    the       right       way       in    protecting             all       New    Yorkers


  16    including          all       small       businesses.


  17           Thank      you        again.           I appreciate                it.


  18           CHAIRPERSON                GJONAJ:           Thank       you       Public       Advocate.


  19    Before       I turn          it    over       to    the    moderator,                I want       to


  20    acknowledge             that       we've       been       joined by             Council          Member


  21    Rosenthal.


  22           Counsel          Stephanie             Jones?


  23           STEPHANIE             JONES:           Thank       you    Chair.           We      will     now


  24    call    on    members             of    the    Administration                   to    testify.


  25    First,       Commissioner                Greg       Bishop       of       the    Department             of
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   2    Small    Business       Services       followed by             Commissioner


   3    Lorelei       Salas    of    the    Department       of    Consumer         and


   4    Worker    Protection.


   5           Before    we    begin,       I will   administer             the    oath.


   6    Commissioner          Bishop,       Commissioner          Salas,       First      Deputy


   7    Commissioner          Mallon,       Executive      Director           Edinony      and


   8    Deputy    General       Counsel       Tiger.       I will           call   on    each    of


   9    you    individually          for    response    to    the       oath.


  10           Please    raise      your     right   hands.            Do   you    affirm to


  11    tell    the    truth,       the    whole   truth     and       nothing      but    the


  12    truth before          these       Committees    and       to    respond         honestly


  13    to    Council    Member       questions?


  14           Commissioner         Bishop?


  15           GREG   BISHOP:         I do.


  16           STEPHANIE       JONES:        Thank   you.         Commissioner            Salas?


  17           LORELEI    SALAS:           I do.


  18           STEPHANIE       JONES:        Thank   you.         First       Deputy


  19    Commissioner          Mallon?


  20           JACQUELINE       MALLON:        I do.


  21           STEPHANIE       JONES:        Thank   you.     Executive             Director


  22    Edinony?


  23           STEVEN    EDINONY:          I do.


  24           STEPHANIE       JONES:        Thank   you.         Deputy       General


  25    Counsel       Tiger?
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   2          MIKE     TIGER:          I do.


   3          STEPHANIE           JONES:           Thank    you.           Commissioner


   4    Bishop,       you    may begin             when    ready.


   5          GREG     BISHOP:          Thank        you.        Good       afternoon             Mr.


   6    Speaker,       Mr.       Public       Advocate          and    of    course          Chair


   7    Gjonaj,       Chair       Cohen       and members             of    the    Committee             on


   8    Small       Business       and    the       Committee          on    Consumer             Affairs


   9    and Business             Licensing.


  10          My    name     is    Greg    Bishop          and    I'm the          Commissioner


  11    of    the   New     York       City    Department             of    Small       Business


  12    Services.           I'm    joined by          SBS       First       Deputy


  13    Commissioner             Jackie       Mallon.           First       and    foremost,             this


  14    has    been    such       a difficult             moment       for       our    city       and


  15    especially          our    small       business          community.                 My    staff


  16    and    I are       working       tirelessly             for    small       businesses


  17    through       our    programs          and    advocacy             for    additional


  18    support.           I'm    so    grateful          for    the       Council's


  19    enthusiastic             partnership          and       engagement             as    we


  20    continue       to    reach       constituents             in       your    districts             that


  21    need help          and    to   better        understand             the    involving


  22    impacts       of    COVID-19          on    the    city's          small       businesses.


  23          New York        City       small      business           owners          are       facing


  24    unprecedented             challenges.              Our    goal       is    to       connect


  25    them to       the    resources             they    need       to    preserve             through
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   2    this    crisis          and    come       out    on    the    other       side       stronger.


   3    Based on          the    concerns          we    heard       in    January          and


   4    February,          SBS       worked       quickly       to    launch          two    financial


   5    assistance          programs.              The    NYC       Employee          Retention


   6    Grant       and    the       NYC    Business          Continuity          Loan       Fund.


   7           Through          the   NYC     Employee          Retention             Grant,       SBS   has


   8    approved          financial          assistance             totaling more             than       419


   9    million       for       over       2,600    small       businesses.                 SBS's    New


  10    York City          and NYC          Business          Continuity          Loan       Fund,       has


  11    also    seen       an    enormous          demand.


  12           We   received           thousands          of    applications                and    are


  13    expecting          to    award       about       $20    million          in    loans.        Thus


  14    far    over       170    loans       have       been    approved          totaling more


  15    than    $10       million          for    small       businesses.              However,          the


  16    overwhelming             needs       of    our    small       business          community


  17    can    only be          met    by    the    resources             of    the    federal


  18    government.              To    help       New    York       City       small    business


  19    owners       access          their       fair    share       of    federal          funds    from


  20    the    Care's       Act,       our       agency       has    shifted          our    resources


  21    to    provide       technical             assistance          of       business       owners


  22    who    need help             applying       to    the       U.S.       Small    Business


  23    Administration's                   Emergency Response                   Products


  24    including          the       Paycheck       Protection             Program.           Which


  25
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   1
                      INTERNATIONAL                INTERGROUP             RELATIONS                         41

   2    reopened       to    applications                earlier          this       week       after


   3    initial       funding was             exhausted.


   4           Technical          assistance             ranges          from      overview           of


   5    available          funding          options       to    communicating                   directly


   6    with       lenders       to    address         questions              regarding


   7    applications.                 SBS    is    providing             this       technical


   8    assistance          through virtual                information                sessions,


   9    small       group    sessions             in   a one        on    one       setting.


  10          We    will     provide         technical              assistance             in   multiple


  11    languages,          so    that       immigrant          entrepreneurs                   are    not


  12    excluded       from       these       opportunities.                       Beyond       these


  13    initiatives          SBS       has    shifted          all       our       operations          to


  14    support       the    most       pressing          needs          of    our    constituents


  15    as    we   whether        this       pandemic.


  16          Our    NYC     Business             Solution          Centers          experts          are


  17    available          remotely          to    connect          business          owners          with


  18    services       including             identify          additional             financial


  19    opportunities             through          our    network             of   more     than       40


  20    lenders       and    local          philanthropic                partners.              Rent       as   we


  21    heard,       has    been       an    enormous          challenge             for    small


  22    businesses.              Our    commercial             lease          assistance          program


  23    is    available          to    support         small        business          owners          as    they


  24    engage      with     their          landlords          to    discuss          changes          to


  25    their       lease    obligations,                which       might          include       a rent
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   1
                      INTERNATIONAL                  INTERGROUP             RELATIONS                    42

   2    deferral,         abatement             or    reduction             among    other    actions.


   3    CLA    lawyers         can       help    review          leases       to    determine          what


   4    a business          rights         and       obligations             are,    negotiate          a


   5    payment       plan      for       arrears.           And we          know    that    Council


   6    is    also    committed            to    providing             additional          support          for


   7    commercial          tenants         and we          look       forward       to    discussing


   8    Intro.       1914      and       Intro.       1932       further.


   9           SBS   is     also     providing             targeted           support       for    our


  10    cities       minority            and women         business           enterprises.              In


  11    additions         to    connecting             MWBE's          with       relevant


  12    information            about       SBS       and    SBA       COVID       relief


  13    opportunities,               SBS    rapidly          transitioned             its    existing


  14    programming workshops.                         One       on    one    technical


  15    assistance          and      contractor             compliance             operations          to


  16    remote       service         delivery.              SBS       has    collaborated with


  17    the    Mayor's         Office       of       Minority          and Women          Owned


  18    Enterprise          and Mayor's               Office          of    Contract       Services          to


  19    identify MWBE               firms       that       supply          essential       services


  20    such    as    medical            staffing,          IT    goods,          childcare


  21    services,         cleaning          services             and       food    services       to


  22    connect       these         in    demand MWBE             firms       with    emerging


  23    contracting            opportunities.


  24           SBS's      Workforce          One       career         center        staff    are


  25    available         to    provide          job       seekers          with    101    assistance
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   2    regarding         job    searches          and preparation            as    well          as


   3    unemployment            insurance.           We   are    focused on             recruiting


   4    for    essential         services          such as      healthcare,             groceries,


   5    pharmacies,            and delivery companies                  as    well       as


   6    identifying opportunities                     that      are    close       to    our       job


   7    seekers,         so    that's       easier    for    them to         travel          to    and


   8    from work.


   9          SBS    is       currently working with approximately                                 150


  10    employees         to    fill       1,600    positions         across       the       city.


  11    We    are building on               these    efforts      by working with the


  12    foods      team to       establish a workforce                  development


  13    program that            is    specifically targeted towards                           the


  14    essential businesses                  that    sustain         our    food       systems


  15    including grocers.


  16          To    support          the   healthcare        industry,            SBS    is


  17    working directly with hospitals                          and nursing homes                      to


  18    provide      support          in    filling urgent            staff       needs       and


  19    develop      a home          heath aid training to meet                     the       ongoing


  20    demand of         the    home       care    and long term care                  facility


  21    centers.


  22          Since       the    onset      of     the pandemic,            SBS    has       worked


  23    to    ensure      that       our partners         and constituents                   have


  24    access      to    the    information          they critically need.                            We


  25    share      information             through email         correspondence,
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                      INTERNATIONAL               INTERGROUP           RELATIONS                         44

   2    social       media,          advertising       campaigns             and    local          and


   3    national       print,             television       and    radio       broadcast             media.


   4    We    have    created             numerous    resource          pages       with       COVID


   5    specific       guidance             for   small    business           owners          and    job


   6    seekers       on    our       website.        These       new       COVID       related


   7    patients       have          seen    over    700,000       visits          since       the


   8    beginning          of    March.


   9          We     have       also       activated      our    community partner


  10    network       to    disseminate             information             and    share       details


  11    regarding          new       or    ongoing    challenges             faced by          their


  12    small       business          constituents          and    I have          personally


  13    held    regular          conference          calls       with       elected       officials


  14    and with       community partners                   and    through          our


  15    neighborhood             development          team.        SBS       is    in    close


  16    communication                with bids       and    other       community based


  17    development             organizations.


  18           To    continue          providing       critical             support       to


  19    neighborhood             commercial          corridors          across          the    five


  20    boroughs,          SBS       has    worked with          all    of    our       Neighborhood


  21    360    and Avenue             NYC    grantees       to    rescope          their       efforts


  22    to    align    with          our    COVID    response          and    recovery


  23    strategies.


  24          By providing                 technical      assistance              and working


  25    with    our    community partners,                   SBS       is    working          to    ensure
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   2    that New York City business                        owners    have    greater


   3    access       to    federal      funding opportunities.                    No matter


   4    how we       are    able   to    improve       the    access       challenges         of


   5    New York City          small businesses,                  we must    also


   6    recognize          and correct         the    structural problems                of   the


   7    SBH,    PPP,       and idle programs.


   8           For most      among them,             the    timeline       for    loan


   9    forgiveness          needs      to    change       to be    fair    to New York


  10    City and businesses.                   Congress       needs    to    follow


  11    businesses          that   receive       PPP       funding to bring            their


  12    employees          back when         their    city reopens          giving them a


  13    fighting          chance   to    sustain       their business             without


  14    taking an          insurmountable            debt.


  15           We   are    advocating         for     the    extension       of    these


  16    federal       loan    terms      as    increasing the          timeline          or


  17    repayment would provide                  companies          with the       necessary


  18    breathing          room to      emerge       from this       pandemic


  19    financially          sound.


  20           Furthermore,          many business            sectors,       especially


  21    restaurants          and our hospitality industry need


  22    additional          assistance with their                  fixed costs,          like


  23    rent,       mortgage,      and utilities             in    addition       to   the


  24    expense       of    employee         retention which          is    the    focus      of


  25    the    PPP.
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   2           And   following,       the       federal       government          needs       to    do


   3    more    to   ensure    that       our    smallest,          most vulnerable


   4    businesses      have    access          to    the    resources       they need by


   5    developing      financial          tools       and routing more money to


   6    business      owners    that have been                left    out    of    early


   7    federal      funding    rounds,          including undocumented New


   8    Yorkers,      some    nonprofits             and religious          institutions


   9    who    desperately need more                  support.


  10          With your help          and continued leadership                         for    our


  11    congressional         delegation,            we will        continue       to


  12    identify these         gaps       in    resources          and advocate          to    the


  13    federal      government       to       ensure       that    future       stimulus


  14    packages      capture       the    unique       needs       of New York City's


  15    small business         economy.


  16           I applaud the         Council's          leadership          in    developing


  17    local    solutions      especially related to                      third party


  18    delivery applications                  but    I do want       to    ensure we          are


  19    not putting additional                  regulatory burdens                on    small


  20    business      owners    at    this       time.        I look       forward to


  21    discussing      further       and continuing to work together                               to


  22    effectively      serve New Yorkers.


  23           Thank you      and    I would be             happy to       take    your


  24    questions.


  25
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   2           STEPHANIE             JONES:           Thank       you    Commissioner.                Next,


   3    we'd    like       to    invite          Commissioner             Salas       of    the


   4    Department          of       Consumer          and Worker             Protection          to


   5    testify.           Commissioner                Salas.


   6           LORELEI          SALAS:           Thank       you.        Good       afternoon


   7    Speaker       Johnson          and       Chair's          Cohen       and    Gjonaj       and


   8    members       of    the       Committee.              I am       Lorelei          Salas,


   9    Commissioner             for       the    Department             of    Consumer          and


  10    Worker       Protection.                 First,       I'd       like    to    state       that    I


  11    hope    that       each       of    you       and    your       loved       ones    are       staying


  12    safe    and healthy                during          this    crisis.


  13           My    office          has   been        in    regular          contact       with      many


  14    of    your    offices          but       I look       forward          to    at    this       hearing


  15    officially          update          you       on    the    work       that    my    agency has


  16    been    doing.


  17           The    economic             cost       of    COVID-19          crisis       is


  18    tremendous,             as    my    colleague             Greg    Bishop          just


  19    testified          to.        But    for       the    over       200,000          small


  20    businesses          in       New    York       City,       including          thousands          of


  21    DCWP    Licensees,             revenue             streams       are    strained          or


  22    nonexistent.


  23           Under       this       Administration,                   DCWP    has    been


  24    especially          attentive             to       small    business          needs       by


  25    promoting          a culture             of    compliance             through
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   2    presentations,                round       table       meetings          and business.                  In


   3    fact,       just    last       month       at    our       Preliminary Budget


   4    hearing,       I testified                to    yet    another          consecutive                 year


   5    of    decreased          fines       on    businesses.


   6          DCWP's       mission           to   protect           and    enhance           the       daily


   7    economic       lives          of   New     Yorkers          to    create          thriving


   8    communities             is    more    important             than       ever       before.            This


   9    is    why    DCWP       has    and will          continue          to       work     to      provide


  10    guidance       to       small      businesses              and work          in     good       faith


  11    to    address       unforeseen             matters          of    concern.


  12           In   compliance             with    New York              State       on     pause       DCWP


  13    suspended          in    person       customer             visits       to     the      New York


  14    City    small       business          support          center          in    Jamaica           in    our


  15    lower Manhattan                main       office       on    March          16 tH


  16           Instead          of    in   person       visits,           DCWP       published


  17    guidance       advising            customers           to    use       a suite          of     online


  18    services       and published public                         facing          contacts           to


  19    further       guide          customer          questions          on    issues          including


  20    business       compliance,                collections             and       licensing.               This


  21    notice       remains          on   our     website          home       page       and     is


  22    available          in    multiple          languages.              Less        than       three


  23    weeks       after       New York          calls       to    extend          that     to      June


  24    30 th , upcoming             license       terms       and provided                 additional


  25
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   2    grace periods            for    licensees          to    submit       renewal


   3    applications.


   4          The Mayor has             of    course       also    issued Executive


   5    Order      107    which extends             license       terms       for    the


   6    duration         of    the   state     of    emergency and if                the    state


   7    of    emergency extends               beyond June          30 th , we will          extend


   8    our    deadlines         accordingly.


   9          DCWP has         also been        responsive             to   stakeholders.


  10    Although prohibited by                  state        statute        from extending


  11    the    license         expiration       date       of    employment          agencies,


  12    we    acted where we            could and extend that                      the    renewal


  13    application            grace period deadline                   to August          28,   in


  14    response         to    questions       from the          industry.           The


  15    complete         licensing extension                guidance          is    available         on


  16    our website            and in multiple             languages          as    I said.


  17          My   staff       and     I have       also been          in   close        contact


  18    with the         City Council          through the             COVID-19          crisis.


  19    Our partnership              facilitated a Mayoral                    Executive         order


  20    waiving      consent         fees     for    sidewalk cafe's                for


  21    dependency of            the    state       of    emergency.           We    are


  22    processing            refunds    as    quickly as          possible          and are         on


  23    track to         complete       final       steps       over    the    next       few


  24    weeks.


  25
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                      INTERNATIONAL                  INTERGROUP          RELATIONS                       50

   2           In    these      difficult             times       for   businesses,           DCWP's


   3    core    function            and mission             to    protect       workers       and


   4    consumers         must       persist.           In       order    to    prevent       stores


   5    from overcharging New                        Yorkers,          I used my       authority on


   6    March       5th , to    declare          our    face          masks    temporarily          in


   7    short       supply.          Subsequently,                I expanded          the    short


   8    supply       order      to    cover          disinfectant             wipes    and hand


   9    sanitizers.


  10           By March         16 th , our          agency       took    further          steps    and


  11    issued       an   emergency             rule    making          price    gouging          illegal


  12    for    any    service         or    personal             or    household       good       that    is


  13    needed       to   prevent          or    limit       the       spread    of    or    treatment


  14    of    COVID-19.             Under       the    emergency          rule,       businesses


  15    have    an    opportunity               to    provide          evidence       to    DCWP    if


  16    prices       were      raised       in       excess       of    ten    percent       due    to


  17    increased         costs       to    supply          them.        DCWP    has       also


  18    subpoenaed          several         suppliers             to    investigate          claims       at


  19    businesses          that      they were             being       gouged.        Thus       far,


  20    the    agency       has      reached          out    to       several    manufacturers


  21    of    products         to    request          assistance          with    positive


  22    results.


  23           Information            of    flyers          for    business       compliance             are


  24    available         on    our    website          in       multiple       languages          and    on


  25    March       6th , DCWP       physically             distributed          this       flyer    in
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   2    various       business          districts          in    New York             City.          In    late


   3    March,       DCWP    published updated                   COVID-19             guidelines            for


   4    employers       and       employees          as    it    relates             to    city,      state


   5    and    federal       laws       that    govern          New York             City private


   6    sector       workplaces.              DCWP    received             appreciation               from


   7    stakeholders          on    updated paid                sick       leave          guidance         that


   8    clarified       obligations             as    it    related             to    new      emergency


   9    protections          passed by          the       state       and       congress.


  10           I also    want       to    take       this       opportunity               to    thank


  11    Speaker       Johnson       for       amplifying          the       regularly updated


  12    guidance       which       is    now    available             in    multiple            languages


  13    on    our    website.           Both    the       guidance          for       workplace            laws


  14    in    price    gouging          are    the    subject          of       ongoing virtual


  15    outreach       events,          stakeholder             communications,                   and


  16    daily       communication             with    sister          agencies             like      SBS


  17    that    further       amplify          our    work.           Today          DCWP      has


  18    participated          in    14    outreach          events          for       small       business


  19    owners       since    the       COVID-19          crisis       began.


  20          Before        I discuss          the    broader         package             of   bills,


  21    I'd    like    to    express          the    sentiment             that       my    agency         and


  22    the    administration             generally,             we    agree          with      the


  23    issues       that    the    Council          is    trying          to    address          with


  24    these       bills.


  25
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   2           Given   the       ongoing emergency in                this    difficult


   3    situation,          it would be         challenging          for us       to


   4    contemplate          taking on       a broad area            of    new regulation.


   5           With that          said,    we want      to work with the               Council


   6    to    figure      out     the best pathway            forward and what we


   7    can    do   to help        small businesses             the most       that      need


   8    this    help      right     now.


   9           Introductions            1846,     1896,      1897,     1898,      1907    and


  10    1908-A;      this        package    of bills         aims    to    regulate       third


  11    party food delivery                services.          We'd like        to work


  12    together       on    addressing         fees    as    addressed in             Intro.


  13    1908-A by Council Members                     Moya    and Gjonaj.              Intro.


  14    1908-A would place                a cap    on   the     fees      charged to


  15    restaurants          during this          crisis.       We     are    discussing


  16    with City Hall             to    identify the best             agency to         tackle


  17    this pressing matter                to protect          small businesses            and


  18    would like          to    continue      the     conversations          with the


  19    Council      to     find a path         forward.


  20           Similarly,          DCWP    supports       the   intent       of    Intro.


  21    1846 but we          have       several    questions         including but          not


  22    limited to          the prudency of only requiring these


  23    disclosures          to    consumers       we   use     a third-party            food


  24    delivery       service          and not    to   those       that     order      directly


  25    from restaurants.
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   2          We're          interested         in    working with                 you       on    the       other


   3    bills      as    soon       as    the    crisis          is    behind          us.


   4    Introduction               1916    waives       all       license          and       consent             fees


   5    for    sidewalk            cafe's       that    are       due       on    or    after          January


   6    1,    2020      until       December          31,    2020.           As    noted          earlier,


   7    DCWP    worked         successfully with                      the    City       Council             to


   8    address         sidewalk          consent       fees          concerns          for       the


   9    dependency            of    the    state       of    emergency by way                      of


  10    Mayoral         Executive          Order.


  11           Circumstances               resulting             from       COVID-19             are


  12    impacting            the    bottom       lines       of       thousands             of    different


  13    types      of    businesses.              DCWP       alone          licenses             more       than


  14    75,000       businesses            across       over          50    business             categories


  15    and    sidewalk            cafe's       represent             less       than       1,000       of


  16    those      businesses.


  17          As     a general            matter,       DCWP          will       continue          to


  18    explore         ways       that    we    can    help          businesses             tie       do


  19    dependency            of    the    state       of    emergency.                 And we          look


  20    forward         to    working with             the       Council          on    this.


  21           The      pre-considered                Introduction                requires             the


  22    Mayor      to    issue       guidance          on    license             renewal          deadline


  23    extensions.                The    legislation             also       provides             that       no


  24    licenses         or    permits          shall       be    required             to    be    renewed


  25    until      90    days       after       the    COVID-19             emergency             ends.
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   2    This    legislation             impacts       licenses          and permits          beyond


   3    those under          the purview of                DCWP.        The    Law Department


   4    is    currently reviewing the proposal                            along with the


   5    other bills          in    this package             in    its    totality.


   6           In   conclusion,              I would just          like       to   say that


   7    we're very,          very grateful                for    the    essential workers


   8    that are       taken       care       of    the    sick and vulnerable                and


   9    for    those       delivering a variety of                      services       we


  10    normally take             for    granted.


  11           We're       also    grateful          for    the    incredible          sacrifices


  12    in    our    communities.              The    small businesses                that had to


  13    close       their    doors       to protect New Yorkers.                       The New


  14    Yorkers       to    continue          to    abide by social                distance


  15    guidelines          and our          collective          staff who have             remained


  16    steadfast          in working          for    the       greater       good of       the    city


  17    and on behalf             of millions             who    are    suffering       in    these


  18    trying times.


  19           Thank you          for   the        opportunity to             testify and          I


  20    look forward to hearing                      from you          and answering any


  21    questions          you may have.


  22           STEPHANIE          JONES:           Thank you       Commissioner.              I will


  23    now turn       it    over       to    questions          from Chair          Gjonaj       and


  24    then Chair          Cohen.           For    these       questions,          again,    we


  25    will    additionally be                joined by First                Deputy
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   2    Commissioner             Jackie          Mallon       from       SBS       and    Executive


   3    Director          Steven          Edinony       and       Deputy       General          Counsel


   4    Mike    Tiger          from       DCWP.


   5           Panelists,             please       stay unmuted                if    possible,


   6    during       this       question          and    answer          period.           Thank        you,


   7    Chair    Gjonaj,             please       begin.


   8           CHAIRPERSON                GJONAJ:        Thank          you    Stephanie.


   9    Commissioner             Bishop,          thank       you       for    your       testimony.


  10    What    is    the       total       dollar       amount          in    loans       that        have


  11    been    allocated             so    far    that       have       actually          reached           our


  12    small    businesses,                whether          it    be    in    grants        or      loans?


  13           GREG       BISHOP:           So,    first          of    all,       it's    good        to   see


  14    you    Council          Member       Gjonaj          and       I'm glad          that     you       are


  15    well.        As    I had mentioned                   in    my    testimony,             we     have       as


  16    of    today,       in    terms       of    our       grants,          we    approved           over


  17    $19    million.              And    as    you    know,          when       we    make     the


  18    approval,          it    is       a direct       debit          into       someone's


  19    account.           So,       depending          on    their       bank,          once     an


  20    approval          is    done,       it    could       take       up    to       a week       for     the


  21    money to          actually          get    into       the       individuals             bank


  22    account.           And       on    the    loan,       we've       approved           over       $10


  23    million.


  24


  25
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   2           CHAIRPERSON            GJONAJ:            That's          $39 million          in       total.


   3    Is    that    the    total       budget          that       as    allocated          for       loans


   4    and grants?


   5           GREG BISHOP:              So,      we     actually,             for   the     total


   6    budget was          around       $50       million          and as          you    know and         I


   7    know you          talked about             the       allocation             earlier       in    your


   8    opening       statement.              When we          created these                programs,


   9    we    actually,          we    were       on    the    ground          in    early    February


  10    because       we    saw a lot             of businesses                experiencing             the


  11    impact       of    COVID-19          in    the       city,       particularly you're


  12    not    trying       to    talk       communities.


  13           So,    this    program was                designed          for       smaller


  14    businesses          that were             already experiencing                      the    impact.


  15    When    the       Mayor made          this       announcement,                the    world


  16    changed within                five    days       as    you       can    imagine       and were


  17    able    to    quickly pivot but we                      knew that             the    need was


  18    going to be          far       outweigh          the    ability             for    these


  19    programs          to meet       the       need of       the       entire          city.        And we


  20    said,    and the          Mayor       said,          that we       will       need the


  21    federal       government             to    step       in.


  22           You    know,       from when we                launched a program,                      it


  23    took us       five       days    from launching,                   excepting


  24    applications             to making             the    first       disbursement             for      our


  25
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   2    grant program.                 And    for    our    loan program,                it    took us


   3    less       than    two weeks.


   4           So,       our    team moved as         quickly as           possible             and       for


   5    anyone       that's       in    finance       you    know that          you       know


   6    standing up             a program and making disbursements                                  that


   7    quickly,          it was       task and we worked you                   know,          well


   8    into       late    hours,       weekends       to    get    these programs                   up


   9    and running as             quickly as          possible.


  10           But       I share       your    concern      in     terms       of    the       need.


  11    We    know that          the    federal       government has                the       resources


  12    as    we    all    know,       our budget          situation we             have       as    a


  13    city,       we    have    to have       a balanced budget.                       The    state


  14    has    to have          a balanced budget.                 So,    we    need to             depend


  15    on    the    federal       government          in    order       to    not       only help


  16    our    small businesses                but help       the    city in             general.


  17    So,    we    certainly agree with you                      that more             needs       to be


  18    done.        We've been          advocating and             I want          to    thank our


  19    New York Congressional                      Delegation because                   they have


  20    been       fighting       for    the    little       guys    and       I can          talk a


  21    little bit more                about    the    federal programs                   but       I just


  22    wanted to          let    you    know that we moved really quickly.


  23    Money is          out    the    door,       there    are    companies             that have


  24    received dollars                from our programs.


  25
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   2           CHAIRPERSON            GJONAJ:            Thank       you       Commissioner,               but


   3    I'm    still       not    clear.           Is    it    $39       million          or    $49


   4    million       that       have       been       allocated          in    funds          for    loans


   5    and    grants?


   6           GREG    BISHOP:              So,    the       total       number          is    $49


   7    million.           What       you    are       seeing       here       is    that       we    had    and


   8    I'll    ask    First          Deputy       Jackie          Mallon       to       give       you    the


   9    clarity       in    the       dollars.           When       we    announced             the


  10    closure       of    our       grant       program,          because          when       we


  11    originally went                out,       there       was    a smaller                number       for


  12    our    grant       program.           But       instead          of    shutting             the    door


  13    and    saying       no,       we    had    a tremendous                amount          of


  14    applications             on    the    last       day,       I think          double          the


  15    amount       that    we       had    throughout             the       entire          program.


  16           And    remember             this    grant       program was                employee


  17    retention.           So,       when       we    decided          that       we    were       going       to


  18    pivot    to    now help             our    small       businesses                connect          with


  19    the    federal       employee             retention          program,             that       is    why


  20    we    decided       to    sense       out       the    out       program.              Because       the


  21    out    program       is       only    for       business          with       one       to    four


  22    employees.           We       did    open       it    up    to    nonprofits                and


  23    individuals          who       immigrants             could have             also


  24    participated             in    this       but    the       federal          program had             a


  25    much    large       catchment             area.
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                     INTERNATIONAL                INTERGROUP          RELATIONS                            59

   2          So,   we     had   a surge           of    applications                and we          are


   3    going      through       those       applications,                so    that       number          that


   4    you're      seeing,       there       is       dollars       that       far       exceeds          the


   5    allocated budget               that       we're       working          on    right       now.


   6    Jackie.


   7          JACKIE       MALLON:          Yes,        $39   million           is       allocated             for


   8    the   grant       program.           $10       million       for       the       loan    program,


   9    which we're         also       using private                capital          in    the       loan


  10    program which            is    how we          get    $20    million-ish                in    loans


  11    awarded.          And    to    date,       it's       about       $19       million          in    the


  12    grant      that's       been       approved          and    $10    million,             so    it's


  13    not   $39    million          so    far,       it's    $29    million             actually             in


  14    the   loan,       Council          Member.


  15          CHAIRPERSON             GJONAJ:           So,    how much          has       been


  16    allocated         already,          $29    million          or?


  17          JACKIE       MALLON:          No,     no,       awarded,          so       like,       on    it's


  18    way   to    the    customers          is       $19    million          in    the       grant


  19    program.          $10    million          in    the    loans,          that's          $29


  20    million      out    of    the       $49    million          that's          in    the    funding.


  21          CHAIRPERSON             GJONAJ:           Well,       thank       you       Deputy


  22    Commissioner            but    what's          the    hold up?              I mean,          this


  23    dollar      amount       is    so    small       to    begin       with but             only       $29


  24    million      is    out    the       door,       that       would mean             we    have


  25    another      $20    million          that       we    could be          allocating                to
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   2    these       small businesses             that    are       in    dire       straits.           So,


   3    I'm not       sure who          can    answer    that       question.


   4           GREG BISHOP:              So,    I started by             saying that             you


   5    know,       we moved very quickly and you                            know part          of    the


   6    and when we             talk about       out    the    door,         we're        talking


   7    about there's             a financial process                   right.           So,    once we


   8    make    the       approval,       the money needs                to move          from


   9    different bank accounts                      and as    I talked about,


  10    depending on             your    account,       some       of    these       transactions


  11    and depending on                the    dollar value,             some       of    these


  12    transactions             do    take    a certain       amount          of    time.


  13           We    also have          for    the   loan,     it       is   an underwriting


  14    process       and the          underwriting process,                   our       third-


  15    party,       we    are    not underwriting the                   loans,          a third


  16    party is          underwriting the             loans.           They have put                all


  17    the    resources          that    they need to.                 They process


  18    roughly about             40    applications          per       day and they are


  19    moving as          quickly as          possible.


  20           So,    we       expect    to have       all    of    the      dollars


  21    disbursed          for    the    grant program within the                         next week


  22    and then          of    course    shortly after             for      the     loan


  23    program.           But    in    the meantime,          we're          still       continuing


  24    to help       our businesses             connect with our                   federal


  25    programs          because we          know this       is    just       a stop          gap,    the
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   2    city program was                just    a stop          gap.        The    federal


   3    programs       are       the programs             that       our    small businesses


   4    need and we             continue       to    advocate             for    changes       for


   5    those    federal programs                   to make          sure       that    they match


   6    the    needs       of    our New York City                   small businesses.


   7           CHAIRPERSON GJONAJ:                    Thank you             Commissioner.                 I'm


   8    just going to             reiterate          that       you       need to       get    this


   9    money out          the    door       sooner       than       later       and the       total


  10    dollar       amount       of    $49 million which equates                         to       roughly


  11    $204,    how many loans                and grants             were made          and what


  12    was    the    total       that was          requested?


  13           So,   maybe       I can        ask this         in     a different             form.


  14    One,    what was          the       dollar    amount          of    the    total       loans


  15    and grants          that       came    in    in    the       form of       requests          and


  16    the    total       dollar       amount?           Do    you have          that    answer?


  17           GREG BISHOP:                 Yeah,    so    I think,          we   had over           8,000


  18    applications             for    our    loan program,                and if       you       look at


  19    how we       are    doing with the                average          size    loan       of    like


  20    $60,000.           That's       about       $1.5       to    $2    billion       in    terms       of


  21    need.        That       doesn't mean          everyone will                get    you       know,


  22    everyone       has       that       average but             again,       it highlights


  23    the    fact    that       you       know,    the       need       far    outweighs          our


  24    ability to help                on    a local       level which             is    why we were


  25    so    excited when             the    federal          government          came       as
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   2    quickly       as       they       did.          Because          as    you       know,       in    the


   3    past,       after       Hurricane               Sandy,          the    federal          government


   4    took    some       time          to    bring         in    the    additional                resources


   5    that    we    needed.


   6           So,    in       terms          of   our       ability          to    stand       up    this


   7    program,          we    knew          that      it    was       going       to    be    a program


   8    that    would          just       be       a stop         gap    until          the    federal


   9    government             brought             in   their       programs.


  10           In    terms          of   numbers,            we     do    have          that    information.


  11    So,    in    terms          of    the       rent,         Jackie,          do    you    have       that


  12    readily       available?


  13           JACKIE       MALLON:                Sure,          sure,       we've       received         8,800


  14    grant       applications                   and we         have    awarded             26—    a little


  15    over    2,600          to    date          which      equate          to    that       nearly       $20


  16    million       that          we're          talking         about.


  17           CHAIRPERSON               GJONAJ:              So,       less       than       a quarter          of


  18    the    applicants                have       received            any    funding?


  19           JACKIE       MALLON:                The       approval          rate       is    about       61


  20    percent.           Some          people         that       apply       are       actually          not


  21    eligible.              The       larger         businesses             or       whatever,          a


  22    number       of    different                reasons.


  23           GREG       BISHOP:              Like,     we        saw    some,          the    grant


  24    program was             specifically                  for       small       businesses.                We


  25    wanted       to    make          sure       that      we    had       you       know,       our    very
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   2    microbusinesses.                 So,       only businesses                that have       four


   3    or    fewer    employees          were          eligible       for    this       program.


   4    But we    had a number                of    applicants          that had more             than


   5    four employees.              So,       what we       have       done       is    for    those


   6    that were       not       eligible we've             connected them to                   the


   7    paycheck protection program,                         meaning we've provided


   8    technical       support          to help          them with the             application


   9    process       either       through their             lender          or    through a


  10    lender    that's          accepting new applications.


  11           CHAIRPERSON GJONAJ:                      Thank you        Commissioner.


  12    Again,    this       is    only a fraction                of    the       need that's          out


  13    there    and the          total       dollar       amount       of    $49 million          is


  14    less    than    crumbs       when          it    comes    to    the       needs    of    our


  15    small businesses.                 And       I broke       down       the    number,       the


  16    total    dollar       amount versus                business          that we       have    in


  17    New York City and that                      equates       to    about       $245 per


  18    business.           How    small businesses                contribute billions


  19    of    dollars       a year       to    the       city's    budget,          billions       and


  20    in    their most          time    of       need and crisis,                all    this


  21    Administration             could give back to                   them is          a total       of


  22    $49 million.              And in my opening                statement,             I outlined


  23    that we       spend more          or       this    Administration                spends    more


  24    on parades.           They       spent more          on printing then                   they


  25    gave    out    in    a form of             grants.
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   2           The message             is    clear         from this          Administration                    and


   3    although you're                going to             say there          is    a stop          gap


   4    measure          that was       only temporary,                   the Mayor has                gone


   5    on    the    record quite                a few times             to    say,       that       the


   6    money is          not    coming          in    quick enough             from Washington


   7    to    aid our       small businesses.                       It's       time       for    our


   8    Mayor,       this       Administration                to    start       focusing on                this


   9    city with the             resources                that we       have.        No matter how


  10    limited they are,                   $49 million             doesn't          even       come       close


  11    to    showing the          relevance                and the       sincerity that                   is


  12    needed to          our    small businesses.                       This       is    their       dreams


  13    that have been             destroyed.                 They       see    a dim future                and


  14    this    City and Administration has                               failed to be                there


  15    for    them in          this    time          of    crisis.


  16            I don't want                to    take more          time      on     this       issue


  17    because we          have       so many that                are    going to          testify on


  18    the    other       issues       on       the bills          that we         have.            I'm


  19    going to          open    this       up       to    Chair    Cohen          if he       has    any


  20    questions          for    the Administration                      on    the       loans       and


  21    grants       and as       the       Commissioner             of Business                of


  22    Consumer Affairs.


  23           CO-CHAIR COHEN:                    Thank you Mark.                   I will be


  24    brief;       I'm going to                let       the bill       sponsors          I think


  25    focus       on    their bills.                 So,    I'm just          going to             say,
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   2    it's    good       to    see    you       Commissioner                Salas       and


   3    Commissioner             Bishop.


   4           GREG       BISHOP:           Good       to    see       you.


   5           CO-CHAIR          COHEN:           And       you    know,          I appreciate            the


   6    collaboration.                 Consumer             Affairs,          we've       had    regular


   7    briefings          together          and       I appreciate                the    transparency


   8    and    us    being       able       to    work       together.              The    one       in   your


   9    testimony,          you       don't       object          to    1916.           I understand


  10    that    the       agency       is    taking          action          on    their       own    but    you


  11    don't       have    any       objection             to    it    do    you?


  12           LORELEI          SALAS:           The    question             is    addressed         to    me


  13    right,       Chair       Cohen?


  14           CO-CHAIR          COHEN:           Yes,       yes.


  15           LORELEI          SALAS:        Yes,          so    I think          that    what      I did


  16    testify       to    is       that    the       bill       implicates             you    know,       many


  17    more    agencies             than    the       Department             of    Consumer          Worker


  18    Protection,             right.           And    so,       it    is    a logical


  19    conversation             for    the       Law       Department             to    really


  20    understand          how       this       would       effect          the    other       agencies.


  21    I would       say       one    thing,          that       operationally,                we    had


  22    timed       our    license          expiration             dates          and    renewal


  23    expiration          dates       so       that       there       would be          staggered


  24    deadlines,          right.


  25
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   2           As    you   can       imagine,              operationally                it    could be          a


   3    challenge          to    not       only have             to       process       70,000          licenses


   4    at    once,    which          could          just       add       to    waiting       times       for


   5    license       applicants                or    renewal             applicants.


   6           CO-CHAIR          COHEN:              But    as       related          specifically             to    a


   7    sidewalk       cafe,          you       don't       have          any    objection          to    that


   8    legislation?


   9           LORELEI          SALAS:           Oh,       I'm       sorry.           So,    with       respect


  10    to    the    consent          fees,          waiver          for       the    year    generate


  11    through       December             2020.           So,       as    you       know,    we    work


  12    collaboratively                   to    arrive          at    a waiver          of    the       consent


  13    fees    for    the       March          installing period.                          These       consent


  14    fees    are    part          of    contractual                agreements             entered          into


  15    with    the    city,          right.              The    agency          doesn't          have    its


  16    own    discretion             to       act    without             involving          other


  17    stakeholders             that          are    you       know,          part    of    or    involved


  18    in    these    contracts,                right.


  19           And    I would             just       say    also          that       obviously          this


  20    would have          an       impact          on    revenue             streams,       so    it's


  21    something          to    just          take       into       consideration.


  22           CO-CHAIR          COHEN:              Can    you       tell       us    what       the    status


  23    is?     Have       you       refunded             everybody who                has    paid       so    far


  24    or    are    you    still          processing?                    What       percentage          of    the


  25
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   1
                      INTERNATIONAL                   INTERGROUP                RELATIONS                          67

   2    sidewalk          cafe       license          holders          didn't          pay?           Can    you


   3    just    give       us    a little             run       down       on    that?


   4           LORELEI          SALAS:           I can          tell       you       that       we    are    still


   5    processing          the       refunds,             right.           We're          in    the       middle


   6    of    that.        Our       finance          division             will       be    sending          out


   7    checks       to    those          who    had       already          sent       their          consent


   8    fees    within          the       next       two    to    three          weeks.


   9           As    to   the        percentage,                I'm not          so    clear          on    that


  10    and    I'm not          sure       Steve       or       Mike       have       access          to    that


  11    information             but       if    we    don't       have          it    right          now,    I'd be


  12    happy to          send       it    to    you       once       we    get       it    from the


  13    office.


  14           STEVEN      EDINONY:                  So,    Chair          Cohen,          I appreciate


  15    the    question.              I think          for       us,       it's       a multistep


  16    process.           The       first       of    which          involves             our       licensing


  17    team identifying                   those       records             that       need       refunds         and


  18    then    once       we    have          that    in       order,          working          to       have   the


  19    checks       distributed.


  20           So,    I think             our    internal             analysis             is    that       over


  21    the    next       two    to       three       weeks       we       will       have       that


  22    completed.


  23           CO-CHAIR          COHEN:              Did    everybody who                   is       entitled       to


  24    refund will             have       gotten          it    in    three          weeks          or    less?


  25
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   2           STEVEN       EDINONY:          That's,           right       now    our      analysis


   3    is    that    that    will       be    the       case,       yes.        We're      happy       to


   4    continue       to    update       you       if    that       timeline          changes         but


   5    that    is    what    we    believe.


   6           CO-CHAIR       COHEN:           I appreciate                that    and      again,          do


   7    you    have    any    idea       of    the       percentage          of    people         who,


   8    licenses       actually paid?


   9           LORELEI       SALAS:           I don't         have     that       right      now.           I


  10    think that          when    we    take       some       of    the    estimates            we    were


  11    talking       about,       about       $300,000          in    total       fees      paid,          but


  12    I don't       know what          that       represents.              So,       we'll      have          to


  13    come    back    to    you    with       an       answer       on    that.


  14           CO-CHAIR       COHEN:          That        sounds       like       a relatively


  15    small    percentage,             that's          great.        Chair       Gjonaj,         like          I


  16    said,    I'm    going       to    come       back.           I think       I'll      let       our


  17    colleagues,          the    bill       sponsors          ask       questions         and       then


  18    I can    come       back    if    I have          more.


  19           STEPHANIE          JONES:        Okay,         Chair,        did    you      want       to


  20    ask    any more       questions             or    you    want       me    to    call      on    the


  21    Council       Members?


  22           CHAIRPERSON          GJONAJ:          No,        thank       you    Stephanie.


  23    Thank    you,       Chair    Cohen.              We   have     a slew          of   questions


  24    that    our    colleagues             can    ask.


  25
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   2           STEPHANIE          JONES:          Okay,        thank       you.           Okay,       so    I


   3    will    now       call    on    Council             Members       in    the       order       they


   4    have    used       the    Zoom       raise          hand    function.              If    you       would


   5    like    to    ask    a question                and    you    have       not       yet    used       that


   6    function,          please       raise          it    now.        Council          Members,


   7    please       keep    your       questions             to    five       minutes.


   8           The    Sergeant          at   Arms       will        keep       a timer          and we'll


   9    let    you    know when          the       time       is    up.        You    should begin


  10    once    I have       called          on    you.        Okay,       so    first,          we'll


  11    hear    from       Council       Member             Rivera       followed by             Council


  12    Member       Lander.           Council          Member       Rivera?


  13           MODERATOR:              Time.


  14           COUNCIL       MEMBER RIVERA:                    Thank       you       so    much.           Thank


  15    you    to    the    Commissioners,                   all    of    you    and       everyone


  16    here.        I just       wanted          to    follow       up    on    a couple             of


  17    numbers       that       were    kind          of    discussed.              I guess          the


  18    first       one    is,    you    have          some    numbers          here       for    the       SBS


  19    the    Business          Continuity             Loan       Fund,       Commissioner


  20    Bishop       and    the    Employee             Retention          Grant          Program.           You


  21    have    8,000       loans,       I think             you    said,       170       have    been


  22    approved.           How many people                   actually          qualified?                 And


  23    I'm asking          because          I heard          from       some    of       my


  24    constituents             that    they were             turned          down,       so    I'm


  25    trying       to    understand versus                   how many          apply,          how many
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   2    qualified          and    then       of    course    the       number          you    included


   3    in    your    testimony which                is    170    loans.


   4           GREG    BISHOP:              Right,    so    far.           So,    we   had        8,000


   5    applications             which       represents          the       demand       for       a


   6    program that,             that       far    weighed       the       funding          for       the


   7    loan    program.           So,       it's    a two       step       process.              So,    we


   8    go    through       the    approval          process          to    make       sure       that


   9    they have          all    of    their       documentation                etc.,       and       then


  10    we    send    it    over       to    the    lender       to    actually make                   the


  11    loan.        That's       the       underwriting          process          and       so,       the


  12    loan    is    a traditional                loan.      So —


  13           COUNCIL      MEMBER RIVERA:                  I'm       so    sorry,       I just


  14    don't    have       a lot       of    time    and     I just         wonder,          do       you


  15    have    the    number          of    how many people                qualified             or    not


  16    really?


  17           GREG    BISHOP:              Yes,    yes,    we    do.        Jackie          do    you


  18    have    the    —


  19           JACKIE      MALLON:            So    far    174.


  20           COUNCIL      MEMBER RIVERA:                  174       out    of    8,000?


  21           JACKIE      MALLON:            By    the    lender,          that's       what          you're


  22    asking       right?        Yeah.


  23           COUNCIL      MEMBER RIVERA:                  Okay,          I just      want        to    move


  24    on.     How many          small       business       owners          have       contacted


  25    you    about       inability          to    pay    rent       and    since       the       city's
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   2    applications             are       closed,       where       are    you       referring             them


   3    to?


   4           GREG       BISHOP:           So,   we     can       get   back        to    you       on    the


   5    terms    of       the    number          of    businesses          that       we    referred             to


   6    our    legal       services.              But    Council          Member,          I was          going


   7    to    tell    you,       so    [INAUDIBLE             1:16:36]          for       example          can


   8    use    our    commercial             lease       assistance             to    get       a free


   9    attorney.           We've          been       partnering with                other       law       firms


  10    who    are    providing             pro       bono    legal       services          to       help       our


  11    businesses          negotiate             with       their       landlords.


  12           COUNCIL       MEMBER RIVERA:                    Okay.        So,       you       are


  13    referring          them where?                 Sorry.


  14           GREG       BISHOP:           To    attorney's.              So,       right       now,       if


  15    anyone       needs       assistance             with       their    landlords,                we    have


  16    the    commercial             lease       assistance             program,          so    we       are


  17    referring          them       to    pro       bono    legal       attorney's.                 We'll


  18    help    them       review          their       lease,       help    them          negotiate


  19    with    their       landlord.                 It's    helpful       to       have       an


  20    attorney          during       this       time,       to    have    that          conversation


  21    with    the       landlord.


  22           But    we're          also    advising          small       landlords             because          a


  23    number       of    the       mortgage          companies          are    issuing


  24    forbearance.                 So,    if    a small          landlord has             a mortgage,


  25    they too          can    call       their       mortgage          companies,             most
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   2    banks       have    allowed          a 90-day             for       forbearance,             which


   3    that    information             could          actually,             that       relief       can      be


   4    passed       onto       the    small          business          owner.


   5           COUNCIL      MEMBER RIVERA:                        Okay,          have    you    heard         from


   6    business          owners       regarding personal                         liability          concerns


   7    either       prior       to    or    during             COVID-19,          and    if    so,       how


   8    would       you    assist       them?


   9           GREG   BISHOP:           We        have          not,   but        again,       we   would


  10    connect       them to          our       attorney          network.              That       is    one      of


  11    the    services          that       we    provide          in       general       for       legal


  12    assistance,             especially             around          contracts          and       leases.


  13    So,    that       would be          if    someone          contacted             us    and       they


  14    can    do    so    either       through             311    or       nyc.gov/covidl9biz                     we


  15    can    connect          them to          an    attorney             at    no    cost.


  16           COUNCIL      MEMBER RIVERA:                        What      is     your       position          on


  17    our    bill       Intro.       1932?


  18           GREG   BISHOP:               So,       Intro.       1932,          we    are,    sorry,          so


  19    1932    is    the       COVID       related,             I'm    sorry.


  20           COUNCIL      MEMBER RIVERA:                        Yeah,          it's    on    personal


  21    liability.


  22           GREG   BISHOP:           Yeah,              so    I think we             you    know,      would


  23    love    to    talk       to    you       some       more       about       that.        The       Law


  24    Department          would       love          to    look       at    some       additional


  25    details,          but    in    general,             anything             that    we    can       do   to
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   2    provide          some    relief          to    small       business             is    things             that


   3    we    would       take       a look       at.


   4          COUNCIL           MEMBER RIVERA:                    So,    you       don't       have          a


   5    position          at    this       time       but    your       game       to    engage          in


   6    conversation             and       figure          something          out?


   7           GREG       BISHOP:          Absolutely.                  There's          some          legal


   8    questions          around          that,       so    we    want       to    make          sure       we    do


   9    it    right       in    terms       of    the       concept,          but       the       Law


  10    Department             would       love       to    take       some    time          to    review.


  11          COUNCIL           MEMBER RIVERA:                    Okay,       and       then       I just


  12    want,       in    the    wake       of    the       city       shutting          down          its       loan


  13    and    grant       programs,             do    you       think    the       city          still          has


  14    a role       to    financially                support          businesses,


  15    particularly             those       owned by             or    employing             undocumented


  16    New    Yorkers          and    thus       cannot          apply       for       federal


  17    programs?


  18           GREG       BISHOP:          So,        and    I've       mentioned             this       and       I


  19    mentioned          this       in    my    testimony.


  20          MODERATOR:               Time       expired.


  21           GREG       BISHOP:          The     private             sector,       we       need       to      work


  22    with    the       private          sector          but    we've       done       it       in    the       past


  23    to    help       create       a philanthropic                   pathway          to       get    dollars


  24    in    the    private          sector          that       doesn't       have          the


  25    restrictions             of    either          federal          dollars          or       city
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   1
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   2    dollars          to   be     able    to    help          on    those       vulnerable,                which


   3    is    our    undocumented                entrepreneurs.                    And    that       is


   4    something             that    we    are    very much                interested          in


   5    pursuing          and we're          working             with       you    on    how we       can          do


   6    that    officially.


   7           COUNCIL          MEMBER RIVERA:                   Thank        you.        I have          a


   8    couple       more       questions          but       thank          you    for    the    time,             Mr.


   9    Chair.


  10           STEPHANIE             JONES:        Thank         you        Council       Member.


  11    Next,       we'll       hear       from    Council             Member       Lander       followed


  12    by    Council         Member        Powers.              Council          Member       Lander?


  13           MODERATOR:              Clock.


  14           COUNCIL          MEMBER LANDER:                   Thanks        very much.                 I'm


  15    going       to    follow up          in    the       later          part    of    my    time          on


  16    Council          Member       Rivera's          question             but    I guess          I just


  17    want    to       start       from    like,          what       we    can    do    on    the       PPE.


  18    Because          I spent       a bunch          of       yesterday          in    advance             to


  19    this    hearing            talking        to    the       small       business,          a bunch


  20    of    small       business          owners          in    my    district          and    not          a one


  21    has    either          gotten,       but       in    one       case       a person       got          but


  22    just    can't         use     the    PPP       because          of    the       eight    week


  23    restriction.


  24           So,       they      have     zero       federal          relief,          nothing.             They


  25    are    closed,          they       got    no    revenue.              Their       employees                are
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   1
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   2    getting unemployment                      insurance,          but    they have


   3    absolutely nothing to                      cover       rent    and their             own    debt


   4    and their          supplier          leases,       nothing.           And       so,    they're


   5    terrified they are                   not       going to be          able    to make          their


   6    rent payments.                 They can't          keep       leasing the machines


   7    from their          suppliers             and    so,    unless       we    can make          the


   8    PPP work and to me,                      the    eight week issue                seems       like


   9    the    one    that       is most,          like,       that    doesn't          even       cost


  10    the    federal          government             anything to          let people             have


  11    until       the    end of       the       year    to    rehire       and use          75


  12    percent       of    the money             for payroll          and all          of    these


  13    other       things       are    important.              And    I'm signing on                to


  14    all    of    these bills             and       I support       them all          and       I thank


  15    their       sponsors.           But       if we    can't       get    federal          dollars


  16    to    cover       the    loss       of    revenue,       I just       don't          see what


  17    else    is    going to work to                   keep    there being             just mass


  18    business          shutdowns          of perfectly viable businesses.


  19           So,    do you          share       that    analysis          and if       so,    what


  20    are    going to          do    to    change       that?


  21           GREG BISHOP:              Absolutely.              So,       there's          actually


  22    four things.              Three          things    related to             PPP    and one


  23    I'll    jump       in    really quickly because                      I see       the       time    is


  24    ticking.           But    you       are    absolutely right                and       I've been


  25    working with the New York Federal                               Delegation.                 They
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             COMMITTEE ON CULTURAL AFFAIRS,                            LIBRARIES AND
   1
                      INTERNATIONAL             INTERGROUP RELATIONS                                     76

   2    share       the    same    concerns          that       you have          and they are


   3    advocating and they are working                               right       now negotiating


   4    in    the    next    stimulus          package.              There       needs       to be       a


   5    change       in    terms    of    the    timing.


   6          Remember when              the    PPP was         launched,              no   one        knew


   7    how long this             pandemic       that       sort       of paused,                would


   8    occur.        And    I think you             know,       this       hurts       cities          that


   9    have paused business                   operations.                 So,    we    need to push


  10    as    delegation          and they have been                   doing       it       to    change


  11    that time.           We    need to       change          the percentage.                       Only


  12    25 percent          of    the    PPP    can be          used       for    every other


  13    expense       and you hit          the       nail       on    the    head,          for New


  14    York City business,                we    think based on                   the       ratio,       they


  15    can borrow two             and a half          time          at payroll.                 It    should


  16    be    a lower percentage                that       is    required          for payroll


  17    and then          they could use             the    rest       for       rent.


  18          And then           three,    to make          sure,          ensure       and


  19    absolutely ensure                that    our       smallest,             most vulnerable


  20    businesses          have    access.           We    are       also       asking          for


  21    another       tweak.        We    got    the       tweak in          the       second round


  22    where banks,             small    community banks                   and CDFI's                had a


  23    $60    billion       allocation.              We    are       now going to                advocate


  24    that only CDFI's                have    an    allocation             that       they could


  25    work with and they can                   operate             in.     Technical
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   1
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   2    assistance             is    so    important             and it       take    about          a week


   3    or    two    to    get       a small business                   in    terms       of    the


   4    technical          assistance                to    apply.


   5          And the           last      thing that              I would          say that we         have


   6    not    talked about                is    our       insurance          industry.              Our


   7    insurance          industry is                sitting on             about    $800       billion


   8    of    reserves.              They have             hid behind the             cloak of,            you


   9    know this          is       not    a covered pandemic,                      but    I say that


  10    we    should allow the                   congress          to    come       up with a path.


  11    Not    necessarily bankrupt                         the     industry but have                  some


  12    type    of percentage                   or    allocation,             so    that way the


  13    businesses             that have business                    interruption               insurance,


  14    these       are businesses                   that have been                around       for    20,    30


  15    years       that have paid their premiums                                  every month and


  16    now in       the most             needed time,              insurance         companies            are


  17    hiding behind the veil.


  18           COUNCIL MEMBER LANDER:                             It's       even worse         than


  19    that,       one    of       the businesses                I talked to             yesterday,


  20    talked about                the    fact       that       they are          still       getting


  21    their       insurance bill.                       So,    like,       not    only are          they


  22    not    getting their                insurance,             the       are being expected


  23    to    continue          to pay their                insurance.              It's       really


  24    outrageous.                 So,    I just,          you    know,       to me,          it's    like,


  25    I'm open          to    other       things          that     could matter               at    scale
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   2    but    if we       don't       change       PPP    so    it    could work          for       our


   3    small businesses,                   I just,       I don't       know what,             all


   4    these       things       we're       talking about            are     good but          I don't


   5    think they are                going to be          enough to          save       a lot       of


   6    them.


   7           I'm a little             less    worried about                the percentages


   8    just because             of people          reopen       and then          they have


   9    revenue       coming          in,    then    they could use                the    PPP    to pay


  10    the wages          of    their workers             and use       the       revenue       that's


  11    coming       in    to pay back the back rent.                             But    I hear       you,


  12    to me,       it's       really that —


  13           GREG BISHOP:                 And —


  14           COUNCIL MEMBER LANDER:                       Let me,          just because my


  15    time    is    running out.                 I just       do want       to underline


  16    what Council Member Rivera                         just       spoke       about because


  17    I'm going to work hard and pray that we pass                                           all


  18    these bills,             we    get    PPP    fixed and at             least       like       a lot


  19    of    our    small businesses                can benefit             from that.


  20    That's       a big,       big       leap    of    faith but          no    one    is    coming


  21    to help       our       immigrant          entrepreneurs,             our       street


  22    vendors,          like    a whole          set    of people          that       there's       no


  23    way they're             going to be          eligible          for    PPP.


  24           So,   we     got       to build a program at                   the       city level


  25    and that might                need public          debt.        You       know,    it might
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   1
                      INTERNATIONAL             INTERGROUP             RELATIONS                       79

   2    need    other       but    I don't          think we          can    like       hope       someone


   3    else    will    ride       to    the    rescue          for    those       benefits.           No


   4    one    else    is    going       to    come       to    their       rescue.


   5           MODERATOR:              Time    expired.


   6           COUNCIL      MEMBER LANDER:                    And     I just       would       really


   7    reinforce       what       Council          Member          Rivera       said    about       our


   8    need to       stand       up    a program that                does       that.


   9           GREG    BISHOP:          And we           agree       and we've       worked with


  10    the    private       sector       before          and we       will       look       forward       to


  11    working       with    the       private          sector       to    address          this


  12    particular          population.              So,       thank       you    very much          and


  13    I'm happy       to    work with             you       and    Council       Member          Rivera


  14    to    make    sure    that       we    get       it    right.


  15           COUNCIL      MEMBER LANDER:                     Thank       you.


  16           STEPHANIE          JONES:        Thank          you.        Chair    Cohen?


  17           CO-CHAIR       COHEN:           I just          want    to    pipe       up    for    one


  18    second.        You    know       to    be    respectful             of    the    clock,       but


  19    you    don't    have       to    be    slavish          to    it.        I thought


  20    Council       Member       Rivera       might          have    gotten       cut       off.     So,


  21    I'm    just    asking          people       to    be    respectful          of       the    clock,


  22    that's       all.     Thank       you.


  23           STEPHANIE          JONES:        Thank          you    Chair.        Next,          we'll


  24    hear    from    Council          Member          Powers,       followed by             Council


  25    Member       Yeger.        Council          Member          Powers?
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   1
                      INTERNATIONAL                INTERGROUP             RELATIONS                          80

   2           COUNCIL       MEMBER          POWERS:              Thank       you    and       thank       you


   3    to    the    Chair's          for    allowing             us    the    time       here       and    to


   4    get    into       questions.              I had          a couple       of       questions,


   5    one,    I just       have       to    echo          on    what    Council             Member


   6    Lander       said,       which       is    that          those    programs             that      are


   7    put    in    place       while       are       really          still    great          programs


   8    that    are       helping       businesses                still       need       so    much more


   9    changes       to    be    able       to    make          them    actually             executable


  10    at    the    city    level.           But       I know we             all    agree          on   that,


  11    so    I'm    going       to    go    to    questions.


  12           But    first       I want          to   add        this,       for    the       City


  13    programs          that    were       put       in    place,       understandably                   there


  14    was    a misunderstanding                      of    how       their    might          be    a lack


  15    of    clarity       of    how       long       this       would       last       and    so


  16    resources          were       limited but                can    you    give       us    any      data


  17    on    the    types       of    businesses.                 Like,       in    terms          of   the


  18    loans       that    went       out    and       the       grants       that       went       out.        Do


  19    you    have       a breakdown             of    what       types       of    businesses


  20    receive       those?           Meaning          what       sector       or       what       area


  21    receive       those       grants          and       loans?


  22           GREG   BISHOP:               Yeah,      so        they vary.              So    far,      a loan


  23    program you          know,          the    top       recipients             of    the       loans


  24    were    accommodation                in    food          services,          so    restaurants


  25    etc.,       and    then       followed by what                   we    describe             in   the
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   1
                     INTERNATIONAL             INTERGROUP RELATIONS                                 81

   2    mixed codes          as    professional            scientific             and technical


   3    services       but    that's       like    your         architects,


   4    architectural             firm,    traffic         designers          and then


   5    followed by beauty                salons,       dry cleaners               etc.      and they


   6    have    retail.           Then    it   goes     down      all    the way to you


   7    know wholesale             trade,      healthcare,             transportation               and


   8    manufacturing.


   9           For   our     grant program,             it      skewed a little bit


  10    differently          simply because             of      the    size       standard that


  11    we    applied.        So,    you       saw a lot         of professional               and


  12    technical       services          again,      architectural                firms      and


  13    retail,      then hair           salons,      barber          shops,       nail      salons.


  14    Then you had your healthcare                         and then         you had arts


  15    and entertainment.                 Then    you had accommodations,                          so


  16    food,    restaurants,             coffee      shops.           So,    it's       a


  17    widespread and             I think you          know one         of       the    reasons


  18    why we wanted to             limit      the     employee         count was            to make


  19    sure    that we       limited to          our very micro businesses.


  20    But    again,      first     come       first      serve       for    as    you      said


  21    with the       federal program,               it     doesn't         really help with


  22    our    small businesses,               which       is    why the          things      that       I


  23    mentioned with Council Member                           Lander       in    terms      of    the


  24    fixes    for    the       PPP,    I think will            address          the    fact      that


  25
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   1
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   2    our    small          businesses             got       left       out    of    the       first          round


   3    of    the    PPP.


   4           COUNCIL         MEMBER           POWERS:              Okay,       and    if       you       have       any


   5    info       you    can       send    to       us    on    that       breakdown,                it    would


   6    be    helpful          just       for    us       to    have       an    understanding                   of


   7    it.


   8           GREG       BISHOP:           Yeah,         we     can.


   9           COUNCIL         MEMBER           POWERS:              On   the     number          of   bills


  10    that       are    related          to    — and          this       is    for    SBS       or       others,


  11    so    bills       that       related          to       commercial             tenants          and


  12    harassment             liability,             evictions             and       things          like       that.


  13    Do    you    have       any       data       related          to,       one    of    the       concerns


  14    is    obviously,             I've       talked          to    the       owners       who       are


  15    holding          on    to    their       lives          and       they    are       fearful             of


  16    having       to       put    all    their          savings          into       it    and


  17    conversely             I've       heard       from       folks          who    are       you       know,          we


  18    are    relying          on    in    terms          of    tax       revenue          here       in       the


  19    city.        About          their       concerns             with what          impact             it    may


  20    be    to    the       city    on    property             tax       and    their          ability             to


  21    pay.        Do    you       have    any       data       on       commercial             rent


  22    payments          for       the    month          of    March       or    April          at    this


  23    point?           Basically,             in    the       coronavirus,                is    there          any


  24    data       available          to    us       about       how many,             like       sort          of


  25    percent,          like,       who       is    paying          and how many                commercial
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   2    rent tenants          are    not    able       to pay the          rent    at    this


   3    point?


   4           GREG BISHOP:          No,    we     do       not have       that    information


   5    currently.           I know the          Brooklyn          Chamber    did a quick


   6    survey of         their members           of businesses             in Brooklyn and


   7    there    seems       to be    about       I think 30          percent were             not


   8    able    to pay the          rent    and only about half                   of    them have


   9    been able         to work with their                 landlords.           But what we


  10    have,    in    everything that we                   have    done,    we've       sent       out


  11    guidance       to    so many different businesses.                             We've    told


  12    businesses          to be proactive,                contact       their    landlord


  13    and use       our    legal    services          to have       that    conversation.


  14           So,   we     can provide          you    information          about how many


  15    referrals         we've made        to    our       legal    services,          so    you


  16    can    get    an understanding of how many businesses                                  —


  17           COUNCIL MEMBER POWERS:                       Yeah,   well my point here


  18    is    like    I talked to          a restaurant             owner    last       night who


  19    was    wonderful       and was       talking about his                you       know,       his


  20    difficulty right             now    some       concerns       of    course       on


  21    liability and being able                   to pay.           I've    heard


  22    anecdotally          some    commercial             landlords       saying they


  23    have    collected in          the    80,       90    percentile       and others


  24    are    collecting       in    the    50,       maybe       even    a lower point             a


  25    concern       that    legislation would impact                      that       and then
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   2    we would be          having an             inability to                collect       on


   3    property taxes             for       a number          of    these       folks.           So,    I am


   4    trying to monitor what                      impact people                to    the     city's


   5    revenue       and also          to       those    owners          as   well.         And     some


   6    are    trying to          do    the       right       thing by their              tenants.


   7    I've    heard       some       that have          not       even been          communicated


   8    or have       not had positive                   communication                from their


   9    landlord.


  10           I just want             to    ask one more                question       since        there


  11    is    so many topics                on    this.        On    the       topic    of


  12    surcharges          on    restaurants             and deliveries                and apps             and


  13    things       like    that.           I did not hear,                   I have     to      admit,       I


  14    did not hear             the    exact position                   of    the Administration


  15    on    those bills          but       I did want             to    ask a question                of


  16    whether       they thought                those       had apply during this


  17    period.        Whether          there       should be             a surcharge put                on


  18    at    the moment where                   restaurants             are    closed and only


  19    open    for    takeout          or were          in    support          of    or had


  20    thoughts       on    that beyond that period of                               time.


  21    Meaning,       this       particular point                   and time          seems       unique


  22    to    the    restaurant             and hospitality industry relative


  23    to    the    non-coronavirus                period of             time       and whether


  24    there was       a distinction                drawn between                   those     two      areas


  25    when    it    comes       to    those bills.
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   2           GREG    BISHOP:             And     so,    we    and    you       know,    we       work


   3    closely with             the       Hospitality Alliance,                   Ed    Drew[SP?],


   4    I saw him          in    this       hearing.           You    know       the    rest       of    the


   5    industry       has       already          thin    margins          and    so,    we're          very


   6    supportive          of       any    efforts       to    limit       their       expenses.


   7    Especially          during          this       emergency period.


   8           So,    we    are       supportive          of    that.        I think          it


   9    requires       a broader                conversation          after       this    period but


  10    certainly we             want       to    be    supportive          of    anything          that


  11    can    help    reduce             the    cost    of    our    restaurants.


  12    Primarily because                   our    restaurants             right       now,    they       are


  13    operating          on    just       take       out.     So,    in    some       cases       that


  14    might    not       be    enough          revenue       for    them to          actually


  15    operate       but       some       of    them    are    just       operating          just       to


  16    be    a resource             to    the    community,          so    we    are    very


  17    supportive          of       that.


  18           COUNCIL          MEMBER          POWERS:        Thank       you    and    I think


  19    I'll    end    there.              Thanks,       Chair.


  20           STEPHANIE             JONES:        Thanks       Council          Member.           Next,


  21    we'll    hear       from          Council       Member       Yeger       followed by


  22    Council       Member          Koslowitz.              Council       Member       Yeger?


  23           COUNCIL          MEMBER YEGER:                 Thank    you       Mr.    Chairman.


  24    Thank    you       very much             Mr.    Chairman.           Commissioner,                it's


  25    good to       see       you       again    and    I'm going          to    be    easy
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   2    because       I'm not       asking any questions.                 I'm simply


   3    going to make          a few       statements       and you       can    sit back


   4    and relax.


   5           I appreciate          the work that          SBS   is    doing        for    small


   6    businesses.           I do    think that          the   city can        do more,


   7    not necessarily             from within          your   department but              I'm


   8    going to use my             free    time    at    the microphone             today to


   9    make    a few points          that    I've been making over                   the       last


  10    days.


  11           The    city is       continuing       its    standard process                of


  12    issuing       summonses       for    example       to   sanitation.           So,       that


  13    hasn't       really laid off,          sanitation          employees          are


  14    going around writing                summonses       on businesses,             on


  15    homeowners.           The    city is       still    doing what          it    can       to


  16    suck the       life    out    of New Yorkers            and get     the       cash and


  17    I get that because we                are    facing tough times                but       I


  18    also think that             the    city can       and   should do more.


  19           For    example,       last    real property tax payments                      were


  20    done    on April       I",    so    that's       going to be       July       1".


  21    There    are people who have                not been       able    to make          the


  22    April    1st   payment.           They may not be          able    to make          the


  23    July    1st    and a lot      of    that particularly when                   it    comes


  24    to    real property owners             that       are   one     and two       family


  25    owners,       relies    on    rental       income.        The    city has          an
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   2    obligation          to help          tenants          of    small businesses             to


   3    alleviate       their          rental burden but                at    the    same       time,


   4    it    can't be       one       direction.              The    city must use             the


   5    resources       that          it has       to    alleviate          the burdens          on


   6    those       that have          to pay the bills,                the    landlords            who


   7    have    to    give       the money to             the       city.


   8           If    tenants          can't pay rent               and landlords           can't pay


   9    property taxes,                the    city gets             hurt but    if    the       city


  10    can    figure       out       a way to          alleviate       that burden             a


  11    little bit          on    landlords             and one       easy way to          do    it


  12    right now is             to    give    them a little breathing                      room.


  13    For    the    city to          tell    them look,             you may not have been


  14    able    to make          your April             1st   payment,       the    grace period


  15    was    14    days    ago,       interest          is       accumulating,       we       are


  16    waiving that.


  17           Right    now,          the Mayor          and the       City Council             can


  18    make    that    announcement,                   well       not me,    but    the Mayor


  19    and the       Council          can make          that       announcement       that


  20    interest payments                for       interest          debt being accrued on


  21    payments       that were             due    on April          1st   will be waived.


  22    Interest payments                due       on payments          that    cannot be made


  23    by July       1st   will be waived and a commitment                            to New


  24    Yorkers       that       real property taxes                   will    not    go up         this


  25    year when we             adopt       the budget.              Not    that    the    rate
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   2    won't       change because                that's       always          the    trick we play


   3    with New Yorkers.                    We    don't       change          the    rate,    but


   4    everybody gets                a higher bill.                 That       the property tax


   5    itself will             stay,       whether       that means             grieving effect


   6    evaluations             are    rolling them back down,                         we    have    to    do


   7    something to             release          the pressure             on    those pipes,


   8    otherwise             they are       going to burst.


   9           The       focus   on     the private             sector          for    relief       and


  10    the    unwillingness                of    the    city to          do    its    part    is


  11    wrong.           And    I think that             the    city and the                Council,


  12    the Administration                   and the       Council             can make       those


  13    commitments.              And the          reality is,             that       tenants       who


  14    can't pay rent                today and tenants                   who    can't pay rent


  15    on May          I",    may never,          ever be          able       to    recover       the


  16    loss       of    revenue       to    come       current.           And we       need to       do


  17    things          that will       fix that.              Which brings             me    to


  18    Introduction             1932.


  19           I spoke         yesterday about                 another          introduction          and


  20    seems       I'm going to             repeat myself                in    some    regard.


  21    It's       important          for us       to    come       up with ways             to help


  22    tenants,          it's    necessary.              It's       also       important          for us


  23    to    do    it    legally and             for us       to    do    it


  24    constitutionally.


  25
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   2           Intro.         1932    and        I think and without                      speaking          for


   3    the    cooperation             Council,             I think one             of    the    reasons


   4    that       the    city is       not       ready to          [INAUDIBLE             1:36:24]             on


   5    it,    is    because          the    city doesn't want                      to    come before


   6    the    Council          and    say this             bill    as       it    is    written       is


   7    unconstitutional.                    Except          it    is.        The violation                of


   8    Article          1 Section          10    is    constitutional.                    The       city


   9    cannot       retroactively adjust,                         amend a contract                   that


  10    was    entered into by two parties                               at       arm's    length.              You


  11    can't do          it,      illegal.            We    can    think we             can    do    it


  12    because we            always        think we          can       do    things       that       are


  13    illegal          and unconstitutional but                            its    not    lawful          for


  14    us    to    do    it.       Emergency or              not,       and this          is    the       real


  15    epitome          of   an    emergency.               There       has       been    no    emergency


  16    like       this,      not     just       in    the    last       50       year but probably


  17    in    the    last       100    years          since       the    stock market                crash of


  18    the    early          19— nearly 20 th century,                       but we        have      an


  19    obligation            to    actually be              honest with New Yorker.


  20    This       feels      unconstitutional.                     We       don't have          a legal


  21    authority to               go backwards              into       a contract             that was


  22    entered into               five,     six,       seven,          three       years       ago,       one


  23    year       ago,       16 months          ago    and amended retroactively to


  24    remove       a provision.                 I want          to make          one more point


  25    Mr.    Chair.           I know my time                is    about          to wrap up          and
